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  In the Matter of

  Plaintiffs: THE AARON H. FLECK REVOCABLE TRUST, through its Trustees,
  Aaron H. Fleck and Barbara G. Fleck, THE BARBARA G. FLECK REVOCABLE
  TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, AARON
  FLECK, and BARBARA G. FLECK, on behalf of themselves and all other
  similarly situated
  v.
  Defendants: FIRST WESTERN TRUST BANK, CHARLES BANTIS, and
  ANDREW GODFREY

  United States District Court, District of Colorado Civil Action No.: 2021-cv-01073-
  CAN-CPG


                       Expert Opinions Report prepared by
             Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR

  Opinions expressed are supported by the underlying data and analyses available
  to me in the course of preparing this report. I hold these opinions to a reasonable
  degree of probability.

  Should I receive additional information related to the areas of this case where I am
  providing an opinion, I may supplement my opinions as appropriate based on a
  review of the information.

  Report Date: May 15, 2023




                               Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
                                                 4600 South Syracuse Street, Suite 900
                                                              Denver, Colorado 80237
                                                303.229.5517 direct | 303.253.8835 fax


                                                                            Ex. A
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  Richard B. Podoll, Attorney
  Podoll & Podoll, P.C.
  5619 DTC Parkway, Suite 1100
  Greenwood Village, Colorado 80111

  Delivered via Email to: Rich@Podoll.net

  Re: In the Matter of:
  Plaintiffs: THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H.
  Fleck and Barbara G. Fleck, THE BARBARA G. FLECK REVOCABLE TRUST, through
  its Trustees, Aaron H. Fleck and Barbara G. Fleck, AARON FLECK, and BARBARA G.
  FLECK, on behalf of themselves and all other similarly situated
         v.
  Defendants: FIRST WESTERN TRUST BANK, CHARLES BANTIS, and ANDREW
  GODFREY.

  United States District Court, For the District of Colorado: Case No. 2021CV01073-CMA-
  CPG

  Dear Counselor:

  On behalf of your clients, the Plaintiffs: Aaron H. Fleck Revocable Trust (“Aaron Fleck
  Trust”), Barbara G. Fleck Revocable Trust (“Barbara Fleck Trust”) (collectively the
  “Trusts”), and Aaron H. Fleck and Barbara G. Fleck (collectively the “Flecks”) you asked
  me to provide independent forensic accounting and consulting services concerning the
  above captioned matter.
  To this end, I have analyzed the underlying data produced including those related to the
     •   Breach of Fiduciary Duty,
     •   Fraudulent Inducement,
     •   Fraudulent Concealment/Non-Disclosure, and
     •   Breach of Contract
  Opinions expressed are supported by the underlying data and analyses. I hold these
  opinions to a reasonable degree of probability.
  Should I receive additional information related to the areas of this case where I am
  providing an opinion, I may supplement my opinion as appropriate based on a review of
  the information. I also reserve any and all rights to review and provide a rebuttal report.
  Attached to this report are my qualifications and a listing of the cases that I have testified
  in for the preceding four years as Appendices B and C. I understand that any work
  performed as an expert, as well as any other information disclosed to me, may be subject


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  to the rules of discovery as appropriate for expert witnesses. My opinions and analysis
  cannot be used for any purpose other than that stated in this report.
  This opinion report contains 66 pages, including this transmittal letter.


  Respectfully,


  MASTEN VALUATION, LLC



  _________________________________________
  Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
  Master of Science in Accounting
  Certified Public Accountant
  Accredited in Business Valuation
  Certified in Financial Forensics
  Certified Valuation Analyst
  Master Analyst in Financial Forensics
  Accredited in Business Appraisal Review




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                                          1.      Introduction
  1.      This report is based on my ongoing analysis relating to the claims and damages
          suffered by the Plaintiffs. My updated certification, qualifications, and listing of
          recent testimony are provided in Appendices A, B, and C to this report.
  2.      The following conclusions and opinions are based on my skills, knowledge,
          education, experience, and training. The services provided by Masten Valuation in
          this report are in conformity with the AICPA published Statement of Standards for
          Forensic Services No. 1 (“SSFS”). SSFS defines forensic as “used in, or suitable
          to, courts of law or public debate.” “Forensic accounting services generally involve
          the application of specialized knowledge and investigative skills by a member to
          collect, analyze, and evaluate certain evidential matter and to interpret and
          communicate findings” (“Forensic Services”). The services provided and the
          analysis summarized herein are founded in Forensic Services.
        1.1 Procedures Performed
  3.      In preparing this report and rendering my opinions, I performed the following
          procedures:
                •   Reviewed and analyzed the documents produced in this case, including the
                    underlying investment statements and documentation for the express
                    purpose of rendering opinions regarding the damages claimed by the
                    Plaintiffs.
                •   Performed independent research.
                •   Analyzed the available records, financial data, and other relevant
                    information in light of the factual situation and the data provided.
                •   Summarized my findings, conclusions, and opinions in this report.
        1.2 Documents Reviewed
  4.      I reviewed approximately 100 files spanning 2,000+ pages of documentation produced
          in this case. 1 These documents can be summarized as:
                •   Various court filings including the May 14, 2021, First Amended Complaint;
                •   The expert reports of Robert Reidy, and Joseph R. Rulison;
                •   Various Trust Account Statements; and
                •   Other documents related to this matter.




  1
      A listing of these documents is presented at Appendix D, attached to this Opinion Report.

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                               2.      Summary of Opinions

  5.    Based on my analysis as set forth in this report, I have the following opinions. All
        terms are defined herein. For convenience, a summary of my damage opinions
        including estimated prejudgment interest is presented at Table 1 2 on the following
        page.
  6.    Opinion 1 Failure to Follow Instructions: Unharvested Tax-Losses The failure
        of First Western Trust Bank (“FWTB”) to follow instructions resulted in the Plaintiffs
        being deprived of approximately $128,284.18 in unharvested tax-losses.
  7.    Opinion 2 Failure to Follow Instructions: Loss of Tax Shield The estimated
        foregone tax shield of $36,471 represents the potential reduction of the Plaintiffs'
        income taxes had FWTB followed the Plaintiffs' instructions to harvest tax losses in
        2018. The tax shield could have been carried forward in subsequent years to offset
        tax liabilities on future gains.
  8.    Opinion 3 Failure to Follow Instructions: Point-in-Time Loss of Equity Value
        as of January 3, 2019 FWTB’s failure to harvest the Plaintiffs’ losses as of
        December 3, 2018, caused Plaintiffs to lose an estimated $105,678.95 (Aaron Fleck
        Trust $67,459.41 + Barbara Fleck Trust $38,219.54) of equity value as of January
        3, 2019.
  9.    Opinion 4 Failure to Follow Instructions: Point-in-Time Loss of Equity Value
        as of February 6, 2019 FWTB’s failure to harvest the Plaintiffs’ losses as of
        December 3, 2018, caused Plaintiffs to lose an estimated $116,945.99 (Aaron Fleck
        Trust $74,609.98 + Barbara Fleck Trust $42,336.02) of equity value as of February
        6, 2019.
  10. Opinion 5 Failure to Follow Instructions: Point-in-Time Loss of Equity Value
      as of May 13, 2019 FWTB’s failure to harvest the Plaintiffs’ losses as of December
      3, 2018, caused Plaintiffs to lose an estimated $122,781.95 (Aaron Fleck Trust
      $78,520.59 + Barbara Fleck Trust $44,261.35) of equity value as of May 13, 2019.
  11. Opinion 6 Shortcoming of Portfolio Performance The Trust Accounts performed
      lower than expected, and lower than the overall market returns during the investment
      period. The Plaintiffs claim that the lower performance is a result of FWTB’s failure
      to properly manage the investments, including harvesting the losses as directed,
      which caused the Plaintiffs’ investments to earn returns lower than the market
      indices and the stated expectations set forth by the parties. This resulted in an
      additional reduction in value to the Plaintiffs’ Trust Accounts Portfolios between
      $139,232.44 and $280,615.56 than if the Trust Account Portfolios had performed as

  2
     Statutory prejudgment interest of 8% per annum has been estimated based on the damages dollar
  amounts identified and is calculated through an estimated trial date of November 15, 2023 in accordance
  with C.R.S. § 5-12-102 - Statutory Interest. Prejudgment interest is provided for the convenience of the
  trier of fact and final calculations will be required.

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      expected based on market indices and the stated expectations at the time the
      Plaintiffs closed their accounts in May 2019.
  12. Opinion 7 Fees Incurred FWTB charged the Plaintiffs $54,983.12 in fees (Aaron
      Fleck Trust $27,640.73 + Barbara Fleck Trust $27342.39) from May 8, 2018, through
      May 2019.




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                   Table 1: Summary of Damages and Estimated Prejudgment Interest
                THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
                                First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG

                                                            Damages Summary
                   Prejudgment Interest Calculated at 8% Compounded Annually to Estimated Date of Trial November 15, 2023
          [1]                              [2]                            [3]            [4]         [5]           [6]             [7]               [8]            [9]
                                                                      Unharvested                 Range of                                     Prejudgment       Indicated
                                                                     Eligible Equity             Damages for                       Actual     Interest at 8%   Damages plus
      Element of                                                      Losses as of Implied Tax     Portfolio     Date of         Damages      Compounded       Prejudgment
       Damages                         Description                      12/3/2018    Shield Loss Performance    Damages           Amount          Annually1       Interest
  Failure to Follow Instructions
  Opinion 1
                      Failure to follow directive given by
  Unharvested         Plaintiffs to harvest eligible equity losses   $ (128,284.18)
  Eligible Equity     based on Plaintiffs' review of 11/30/2018                                                 12/3/2018
  Losses at 12/3/2018 Portfolio Statements. Directive given on
                       12/2/2018, next business day is 12/3/2018
  Opinion 2

  Loss of Tax Shield
  on Unharvested      Implied Tax Shield Loss on unharvested
                                                                                      $ 36,471                  12/3/2018                                      $   36,471.00
  Eligible Equity     eligible equity losses at December 3, 2018
  Losses at 12/3/2018

  Opinion 3
                       Loss Equities: Loss of Equity Value as of
                       January 3, 2019 from reinvestment of
  Lost Equity @        proceeds (plus interest less foregone                                                    1/3/2019     $ 105,678.95     $    48,073.96   $ 153,752.90
  1/3/19 on            dividends) from harvesting losses in
  reinvestment of      December 2018. This is a point-in-time
  harvested losses     category of damages for failure to follow
                       instructions, separate from the tax-shield
                       losses.
  Opinion 4

                       Loss Equities: Loss of Equity Value as of
                       February 6, 2019 from reinvestment of                                                    2/6/2019     $ 116,945.99     $    51,983.17   $ 168,929.16
  Lost Increased
                       proceeds (plus interest less foregone
  Equity @ 2/6/19 on
                       dividends) from harvesting losses in
  reinvestment of
                       December 2018. This is a point-in-time
  harvested losses
                       category of damages for failure to follow
                       instructions, separate from the tax-shield
                       losses.
  Opinion 5
                      Loss Equities: Loss of Equity Value as of
                      May 13, 2019 from reinvestment of
  Lost Increased      proceeds (plus interest less foregone
  Equity @ 5/13/19 on dividends) from harvesting losses in
                                                                                                                5/13/2019    $ 122,781.95     $    51,020.89   $ 173,802.84
  reinvestment of     December 2018. This is a point-in-time
  harvested losses    category of damages for failure to follow
                      instructions, separate from the tax-shield
                      losses.
  Portfolio Shortfall & Fees
  Opinion 6
                                                                                           AFT   $ 37,022.29
  Shortcomings of
                       The Trust Account portfolios fell short of                          AFT   $ 107,863.02                    139,232.44        57,856.74   $ 197,089.18
  Portfolio                                                                                                     5/13/2019
                       the expected annual performance.                                    BFT   $ 102,210.15                    280,615.56       116,607.17   $ 397,222.73
  Performance
                                                                                           BFT   $ 172,752.54
  Opinion 7
  FWTB Fees            Investment Management and Portfolio
  Charged on Trust     Fees Charged by First Western Trust Bank                   Aaron H. Fleck Trust Account         [2]
                                                                                                                             $    27,640.73        12,087.22   $   39,727.95
  Portfolios           to the Trust Accounts between May 2018                   Barbara G. Fleck Trust Account Various       $    27,342.39   $    11,958.26   $   39,300.65
  Totals               and May 2019                                                                                          $    54,983.12   $    24,045.48   $   79,028.60
  Summary
                              Total of Opinions - Lower Range                                                                $ 353,468.51     $ 132,923.11     $ 486,391.62
                              Total of Opinions - Upper Range                                                                $ 494,851.63     $ 191,673.54     $ 686,525.17

  Footnotes:
  [1] Statutory prejudgment interest of 8% per annum has been estimated based on the damages dollar amounts identified and is calculated through an estimated trial date
  of November 15, 2023 in accordance with C.R.S. § 5-12-102 - Statutory Interest. Prejudgment interest is provided for the convenience of the trier of fact and final
  calculations will be required.
  [2] See Schedule 6 for the detail supporting the various dates of fees charged to the Trust Accounts and the corresponding prejudgment interest.




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                      3.      Analysis and Basis for Conclusions
  13. In preparing this report, I assumed the Plaintiffs’ will prevail on any or all of their
      claims against the Defendants, which include:
                •   Breach of Fiduciary Duty,
                •   Fraudulent Inducement,
                •   Fraudulent Concealment/Non-Disclosure, and
                •   Breach of Contract
  14. The Schedules attached at Appendix E to this report and the footnotes therein
      are an integral part of my analysis and should be reviewed in conjunction with
      the written basis for each of my opinions to fully understand my methodology
      and calculations.
  3.1 Summary of Pertinent Material Facts and Background
  15. The following is a summary of the relevant facts pertaining to my analysis that I have
      gathered from interviews, pleadings 3, and various documents provided.
  16. In 2018 Aaron and Barbara Fleck chose FWTB to manage the securities assets in
      their Revocable Trusts. Aaron and Barbara were the co-trustees of the Aaron H
      Fleck Revocable Trust and the Barbara G. Fleck Revocable Trust.
  17. In February 2018, Aaron and Barbara Fleck were presented with an Investment
      Policy Statement which provided that the Flecks sought an annual rate of return of
      6.48%, with annual income of $500,000. The overall investment objective was
      investment for total return.
  18. FWTB’s expert, Robert Reidy, acknowledged that Aaron Fleck had been an
      investment advisor whose market strategy was to create concentrated equity
      portfolios to achieve above-market returns. Mr. Reidy further notes that John
      Sawyer, First Western’s Chief Investment Officer testified that selecting equities to
      achieve above-market returns is not “how we manage” our accounts.
  19. There is nothing in the record to suggest that in their meetings prior to managing the
      Fleck’s $8 million dollar portfolios, FWTB ever communicated that based upon their
      risk-averse style of investing, the goals of $500,000 income and 6.4% total return
      were unattainable.
  20. In hiring FWTB to manage their trust assets, the Flecks clearly communicated their
      goals and in the Investment Policy Statement drafted by FWTB, it agreed to use its
      skill and expertise to achieve those goals. While both parties knew that severe
      market fluctuations could on a short-term basis affect performance of the portfolios,


  3
      Pertinent Material Facts and Background primarily from the First Amended Complaint filed May 14, 2021.

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           the Flecks reasonably expected that FWTB would invest their trust assets in a
           manner reasonably calculated to achieve the agreed-upon investment objectives.
   21. FWTB’s expert Robert Reidy further stated 4 that FWTB maintained its risk-averse
       investments despite continuing discussions with Mr. Fleck regarding investments
       designed to achieve greater returns than the market. Mr. Reidy opines that the
       diversified and risk averse investments were as agreed in the Investment Policy
       Statement. However, this is not what the Flecks communicated, nor what the
       Investment Policy Statement provided. The goals of $500,000 in income and 6.4%
       annual overall portfolio growth were challenging with a conservative, preservation of
       capital, risk averse approach.
   22. On or about March 1, 2018, the Plaintiffs sold a single-family residence at a reported
       capital gain of $2,928,501 [per Plaintiffs’ IRS 2018 Tax Year Transcript].
   23. On May 8, 2018, the Plaintiffs executed an Investment Policy Statement with FWTB
       which included an Investment Services Custody Agreement (collectively the “IPS”).
                 •   The IPS gave FWTB authority over The Barbara G. Fleck Revocable Trust
                     Account and The Aaron R. Fleck Revocable Trust Account. The Executive
                     IPS Summary stated:
                         i. Type of Account                $8,000,000 Revocable Trust
                         ii. Total Investment Assets       $8,000,000
                        iii. Investment Time Horizon 10+ years
                        iv. L.T. Inflation Assumption      3%
                        v. Fed. Tax Rate                   39.6%
                        vi. State Tax Rate                 5%
                       vii. LT Cap Gains Rate              20%/23.8%
                       viii. Cash Flow Objective           $500,000 per year
                        ix. Risk Tolerance                 Stable growth and low level of income;
                                                           steady growth expected.
                        x. LT Portfolio Alloc.             Moderate
                        xi. Expected LT Return             6.48%
   24. On May 18, 2018, the Plaintiffs deposited $4 million in the Aaron Fleck Trust, and
       $4 million in the Barbara Fleck Trust (collectively the “Trust Accounts”). FWTB was
       given full discretion to invest the assets to achieve income generation and total
       return. To achieve a total portfolio return of 6.48%, the majority of the portfolio would
       have to be invested in equities. In the beginning, FWTB did invest approximately
       64% in equities, although the investments were conservative, mostly investing in

   4
       P. 13, paragraph 47, Reidy March 24, 2022 Report.

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           equity funds and in exchange traded funds. Approximately 9.8% of the portfolio was
           invested in common stock, and the investments in common stock were cautious and
           conservative with the great majority of the investments not exceeding one quarter of
           one percent in any one stock.
   25. The fixed income selections were equally conservative, providing a return of roughly
       3% over the year in which FWTB managed the assets. 3% of 35% of $8 million is
       $84,000, which would not meet the $500,000 stated goal in the IPS.
   26. In his deposition, Mr. Fleck stated that in late November or early December of 2018
       that he met with Charlie Bantis, Andy Godfrey, and others at FWTB, discussing
       among other issues, Mr. Fleck’s continued desire for FWTB to harvest the short-
       term losses in the Trust Accounts since he had a potential $5 million gain from the
       sale of his residence.
   27. In Mr. Fleck’s deposition, he stated he did not recall the exact date in November of
       the meeting with FWTB. However, upon review of the monthly statements, it is
       apparent that he was looking at the October 2018 portfolio statements of the Trust
       Accounts, given the ranges of losses he described in his deposition. The October
       2018 statements would likely not have been issued ON October 31st, so reasonably
       speaking, Mr. Fleck received these statements in the first few weeks of November.
       Thanksgiving fell on November 22nd in 2018, the third, full week of the month, so the
       meeting was likely the last week of November 2018.
   28. Given these facts, and Mr. Fleck’s references to a level of losses that would have
       been reflected on the October 2018 statements, the directive to harvest the losses
       for tax purposes would have been late November 2018. As such, I have assumed
       a liquidation date of December 3, 2018, which would have been the likely business
       date that the sale of assets in the portfolios with losses should have taken place,
       had FWTB followed Mr. Fleck’s directive.
                 •   Masten Valuation Note: Tax-loss harvesting is the timely selling of
                     securities at a loss to offset the amount of capital gains tax owed from selling
                     other assets at a gain. 5 To maximize the tax-loss harvesting, only the
                     securities that have lost value would be sold. After 30 days, to avoid IRS
                     Wash Sale Rules, the same or similar stock can be repurchased.
                 •   The Expert Report of Robert Reidy, March 24, 2022, pages 8-9 explains,
                     “There is even a name for the rise in stock prices in January. It is called the
                     “January effect.” Investopedia.com defines it as “the tendency for stock
                     prices to rise in the first month of the year following a year-end sell-off for
                     tax purposes.” [Emphasis added]




   5
       Investopedia Tax-Loss Harvesting.

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             •   Tax-loss harvesting i.e. Mr. Reidy’s “year-end sell-off for tax purposes”
                 should be done should be done early enough in a given year to take
                 advantage of the following year’s “January effect.”
   29. On Monday, December 3, 2018, FWTB did not harvest the eligible tax losses.
   30. In January 2019 FWTB acknowledged the tax losses were not harvested.
   31. In February 2019 FWTB realigned the investments in the Trust Accounts by selling
       individual common stocks and reinvesting in pooled equities.
   32. By May 13, 2019, the majority of the Trust Account Portfolio assets were liquidated
       and transferred to Pershing, LLC.
   3.2 Background and Foundation for Analysis
   33. In general, disputes may arise from a breach of fiduciary duty, breach of contract,
       fraud, or other incidents that result in one party suffering compensatory, indirect,
       economic, and other monetary damages allegedly due to the actions or inactions of
       another party.
   34. Every situation is governed by the facts, circumstances, and documentation that are
       available to support the proposed economic damages calculations. I have outlined
       the relevant facts of this case and the assumptions on which I am relying in preparing
       my analysis in order to present relevant and reliable information for the purpose of
       assisting in the resolution of this matter.
   35. I tied the specific information, including the IPS, Trust Account Statements, and other
       relevant evidence, to the application of my analytical procedures and the resulting
       calculations of economic damages are included herein.
   36. The concept of economic damages is straight-forward, and it is a “but for” concept.
       Economic damages represent the loss of economic benefit a party would have
       realized “but for” the actions of another.
   37. I have calculated prejudgment interest on applicable opinions for the convenience
       of the trier of fact, and final calculations will be required.
   38. I am not giving opinions as to liability in this matter. Please see Table 1 or Appendix
       E, Summary Damages Schedule of this report for a summary of the economic
       damages. The following paragraphs present the basis for my opinions.
   3.3 Opinion 1 Failure to Follow Instructions: Unharvested Tax-Losses
   39. The failure of First Western Trust Bank (“FWTB”) to follow instructions resulted in
       the Plaintiffs being deprived of approximately $128,284.18 in unharvested tax-
       losses.




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         Basis for Opinion 1
   40. As described in Section 3.1 Summary of Material Facts and Background, FWTB
       failed to harvest the Plaintiffs’ tax losses as requested. The tax losses should have
       been harvested by December 3, 2018.
   41. In November 2018 the following equities were purchased that preclude these
       equities from being eligible for sale/harvested for tax losses due to IRS Wash Sale 6
       tax rules:
               •   CAUSWAY INT VAL,
               •   DFA TAX MANAGED US SMALL CAP,
               •   ISHARES RUSS MIDCAP VAL,
               •   ISHARES RUSS 2000 ETF, and
               •   JPMORGAN CHASE & CO ALERIAN ML ETN, and
               •   OPPENHEIMER DEV MKT,
               •   VANGUARD INDEX FDS S&P 500 ETF.
   42. In addition, Boeing stock had a small unrealized loss as of November 30, 2018, in
       each account, but based on the December 3, 2018, share price, would have had a
       slight gain of $166.64. Since there was no loss to harvest, this stock was excluded
       from the estimate of unharvested losses analysis since it was no longer suitable for
       tax-loss harvesting.
   43. The background of this matter indicates that the Plaintiffs requested FWTB to
       harvest tax-losses from the Aaron Fleck Trust and Barbara Fleck Trust prior to
       Sunday, December 2, 2018.
               •   The first trading day available for harvesting the tax losses in the month is
                   December 3, 2018.
   44. Schedule 1, 7a, and 7b present the analysis and support for the $128,284.18 of tax
       losses FWTB failed to harvest on December 3, 2018.
   3.4 Opinion 2 Failure to Follow Instructions: Loss of Tax Shield
   45. The estimated foregone tax shield of $36,471 represents the potential reduction of
       the Plaintiffs' income taxes had FWTB followed the Plaintiffs' instructions to harvest
       tax losses in 2018. The tax shield could have been carried forward to subsequent
       years to offset the tax liability on future gains.



   6
     IRS Pub 550 Wash Sale Rule Summary: A loss cannot be deducted when someone sells or trades stock
   or securities at a loss and within 30 days before or after the sale they, their your spouse or a corporation
   they control buys substantially identical stock or securities.


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        Basis for Opinion 2
   46. As discussed in Opinion 1, FWTB failed to harvest $128,284.18 of tax losses in the
       Trust Accounts as of December 3, 2018.
   47. On April 22, 2019, the Plaintiffs’ tax preparer, Brittany Dreher, CPA, provided the
       Plaintiffs with their expected marginal tax rates for not harvesting capital losses in
       2018 [Bates FWTB0000773].
   48. I have relied upon Ms. Dreher’s contemporaneous assessment of the applicable tax
       rate, as she is the tax preparer for the Plaintiffs, and is in the best position to
       understand the interrelated nature of other activity on the Plaintiffs’ tax returns, both
       for the year of 2018 and for the subsequent years for carryover purposes at that
       point in time.
   49. Schedule 2 presents Ms. Dreher’s indicated capital gains tax rate of 28.43% that
       would be applicable. This schedule also illustrates the determination of the
       estimated foregone tax shield of $36,471 caused by FWTB not following instructions
       to harvest tax losses.
       3.5 Opinion 3 Failure to Follow Instructions: Point-in-Time Loss of Equity Value
           as of January 3, 2019.
   50. FWTB’s failure to harvest the Plaintiffs’ losses as of December 3, 2018, caused
       Plaintiffs to lose an estimated $105,678.95 (Aaron Fleck Trust $67,459.41 + Barbara
       Fleck Trust $38,219.54) of equity value as of January 3, 2019.

         Basis for Opinion 3
   51. As discussed in the basis for Opinion 1 and described in Section 3.1 Summary of
       Material Facts and Background, FWTB failed to follow the Plaintiffs’ instructions
       to Harvest Tax Losses in 2018.
   52. As discussed in Opinion 1 and illustrated in Schedule 1, FWTB should have sold
       certain equities for a loss on December 3, 2018, totaling $1,137,393.12 in proceeds
       (the “Loss Equities”).
   53. Had FWTB sold the Loss Equities in the Trust Accounts and kept the proceeds
       available for reinvestment in the same securities after 30 days, the 30 days that the
       proceeds were held could have yielded interest. I have estimated that the interest
       that could have been earned on the Loss Equities amount would be the same yield
       as the Trust Accounts earned on Cash Equivalents (2.23%) in the month of
       December 2018. 7 Over 30 days, a 2.23% yield would earn about 0.1833% in interest
       income based on a 365-day year. The total anticipated interest earned over the
       30-day period is estimated to be $2,084.73. See Schedule 3 for details by account.




   7
       See Schedule 6a for a Summary of the Trust Account activity and yields during the relevant periods.

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   54. The Trust Accounts received dividends on certain stocks in December 2018; these
       investments were not enrolled in a dividend reinvestment program (“DRIP”) 8. If
       FWTB had followed the Plaintiffs’ instructions to harvest the tax-losses, certain
       dividends would not have been received and reinvested. To account for these
       foregone dividends, I subtracted the foregone dividend amounts from the estimated
       Proceeds from the Loss Equities before calculating the amount available to earn
       interest and to be reinvested in the Loss Equites after 30 days.
   55. See Schedules 3 and 3a for a summary of the dividends forgone totaling
       $10,290.17.
   56. After the 30-day waiting period, the amount available for repurchasing the Loss
       Equities on January 3, 2019, would have been $1,129,187.68 which would have
       resulted in increased number of shares over the shares held and sold on December
       3, 2018, for most of the Loss Equities due to the change in share prices. This would
       have garnered an increase of $105,678.95 in total value as of January 3, 2019 for
       the Trust Accounts as illustrated on Schedule 3.
       3.6 Opinion 4 Failure to Follow Instructions: Point-in-Time Loss of Equity Value
           as of February 6, 2019.
   57. FWTB’s failure to harvest the Plaintiffs’ losses as of December 3, 2018, caused
       Plaintiffs to lose an estimated $116,945.99 (Aaron Fleck Trust $74,609.98 + Barbara
       Fleck Trust $42,336.02) of equity value as of February 6, 2019.

         Basis for Opinion 4
   58. As discussed in the basis for Opinions 1 and 3 and described in Section 3.1
       Summary of Material Facts and Background, FWTB failed to follow the Plaintiffs’
       instructions to Harvest Tax Losses in 2018 which resulted in a loss of account value
       for the Trusts.
   59. Schedule 3 illustrates the additional shares/account value as of February 6, 2019,
       had FWTB harvested the tax-losses as the Plaintiffs instructed.
   60. In February 2019, FWTB repositioned the Trust Accounts to primarily Fixed Income
       and Equity Funds. FWTB liquidated stocks and certain investments starting
       February 6, 2019. 9
   61. As of February 6, 2019, Trust Account Portfolios had experienced the “January
       Effect” and increased in value (the “January Appreciation”). As of February 6, 2019,
       had FWTB followed the Plaintiffs’ instructions to harvest the tax losses and
       reinvested on January 3, 2019 the Trust Accounts would have had a higher value of



   8
     A dividend reinvestment plan (DRIP or DRP) is a plan offered by a company to shareholders that it allows
   them to automatically reinvest their cash dividends in additional shares of the company on the dividend
   payment date.
   9
     Trust Accounts statements for 02/1/19 – 02/28/19.

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        $116,945.99. See Schedule 3 for an illustration of the Trust Accounts’ increase in
        value had FWTB followed the Plaintiffs’ instructions.
    3.7 Opinion 5 Failure to Follow Instructions: Point-in-Time Loss of Equity Value
        as of May 13, 2019
   62. FWTB’s failure to harvest the Plaintiffs’ losses as of December 3, 2018, caused
       Plaintiffs to lose an estimated $122,781.95 (Aaron Fleck Trust $78,520.59 + Barbara
       Fleck Trust $44,261.35) of equity value as of May 13, 2019.
          Basis for Opinion 5
   63. As discussed in the basis for Opinions 1, 3, and 4, and described in Section 3.1
       Summary of Material Facts and Background, FWTB failed to follow the Plaintiffs’
       instructions to Harvest Tax Losses in 2018 which resulted in a loss of account value
       for the Trusts.
   64. Schedule 4 illustrates the additional shares/account value as of May 13, 2019, had
       FWTB harvested the tax-losses as the Plaintiffs instructed.
   65. On February 11, 2019, FWTB realigned the Trust Accounts to increase investments
       in the Pooled Equity Funds. Schedule 4a presents the February 11, 2019
       realignment purchases made by FWTB, along with the weighting (proportion) of the
       realignment purchase.
   66. As described in Opinion 3 above, had FWTB followed the Plaintiffs’ instructions by
       harvesting losses in December 2018 and then reinvesting the proceeds in January
       2019, there would have been an additional step-increase in value in those January
       reinvested stocks due to the overall increase between January 3, 2019, and
       February 8, 2019 (“February Appreciation”). This February Appreciation would have
       increased the amounts invested on the realignment date (February 8, 2019), thereby
       increasing the purchasing power in the Trust Account Portfolios at that point.
   67. The weighting of the February 11, 2019, Portfolio repurchases 10 was used to prorate
       the reallocation of the non-retained securities proceeds 11 ($40,954.44) that would
       have been achieved had the harvesting of losses taken place in December 2018.
       See Schedule 4 for an illustration of these transactions and the resulting total Point-
       in-Time appreciation as of February 11, 2019, equaling $116,945.99.
   68. In April 2019, the Trust Accounts received dividends. Had FWTB followed the
       Plaintiffs instructions, the additional equity would have earned additional dividends
       in April 2019.



   10
      As discussed above, and illustrated in Schedule 4a, the Trust Account Portfolio managers sold all
   positions in common stock on February 8, 2019 and reinvested those proceeds on February 11, 2019 to
   three Pooled Equity Funds, Parnassus Core Equity Inst., Touchstone Sands Capital Inst., and Clearbridge
   Small Cap Growth.
   11
      The proceeds from the non-retained harvest securities liquidated on February 8, 2019 was $40,954.44.

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   69. The Trust Accounts were closed in May 2019, and the marketable securities were
       transferred to Pershing, LLC on May 8, 2019.
   70. Had FWTB followed the Plaintiffs’ instructions to harvest the 2018 tax-losses, the
       Plaintiffs would have had approximately $122,781.95 more equity as of May 13,
       2019.
    3.8 Opinion 6 Shortcoming of Portfolio Performance
   71. The Trust Accounts performed lower than expected, and lower than the overall
       market returns during the investment period. The Plaintiffs claim that the lower
       performance is a result of FWTB’s failure to properly manage the investments,
       including harvesting the losses as directed, which caused the Plaintiffs’ investments
       to earn returns lower than the market indices and the stated expectations set forth
       by the parties. This resulted in an additional reduction in value to the Plaintiffs’ Trust
       Accounts Portfolios between $139,232.44 and $280,615.56 than if the Trust Account
       Portfolios had performed as expected based on market indices and the stated
       expectations at the time the Plaintiffs closed their accounts in May 2019.
          Basis for Opinion 6
   72. The Plaintiffs had reasonable expectations regarding the returns that would be
       achieved on their monies deposited with FWTB for investment based on discussions
       with FWTB and the FWTB provided IPS that was signed by the parties on May 8,
       2018. These discussions, meetings and agreements as memorialized by the IPS set
       forth reasonable expectations that were achievable in the May 2018- May 2019
       investment period, as demonstrated by the S&P 500 actual performance of 5.4%
       over this same time frame. Mr. Reidy also believes that the S&P 500 12 is a
       reasonable benchmark.
   73. Paragraph v. (page 5) of the IPS dated 2/27/2018 [noted by FWTB as “Received
       5/14/2018”] contains a table for “ASSET CLASS HOLDING RANGES” for the
       strategic asset allocation policy developed for the Fleck Trusts with a “Moderate”
       asset allocation. The table presents minimum, target, and maximum percentages
       for nine asset classes as follows:




   12
     Mr. Reidy’s March 24, 2022 report references and illustrates examples using the S&P 500 approximately
   17 times; he references the S&P 500 6 additional times in his April 14, 2022 report.

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                      Table 2: IPS Page 5 Holding Limits and Ranges
                               Fleck 02/27/2018 IPS Paragraph v. Table
                        Holding Limits and Ranges: Moderate
                        Asset Class              Min%     Target% Max%
                        US Large Cap Equities         0%      13%       28%
                        US Mid Cap Equities           0%        4%      14%
                        US Small Cap Equities         0%        6%      16%
                        International Equities        2%      12%       22%
                        Emerging Markets              0%        3%      13%
                        High Yield Bonds              0%        4%      14%
                        Fixed Income                 39%      49%       59%
                        Alternatives                  0%        8%      18%
                        Cash and Equivalents          0%        1%      20%
                                                     41%     100%      204%

   74. The Target allocation is:
             •   46% Equities, Emerging Markets, and Alternatives,
             •   53% Fixed Income, and
             •   1% Cash and Equivalents.

        As illustrated at Table 4, the actual average asset allocation for the Trust Account
        Portfolios between May 2018 and May 2019 was:
            •    50.38% Equities,
            •    47.22% Fixed Income, and
            •    2.04% Cash and Equivalents.

   75. Paragraph vii. (pages 5-6) of the IPS contains a table for “EXPECTED RETURN
       RANGE” based on the historic long-term total return for each asset class, “adjusted
       to incorporate First Western’s capital market assumptions by taking into account
       various factors including the economic environment and valuations. Actual
       performance will vary from these assumed rates…the portfolio return will also be
       reduced by the deduction of …fees…”
                         Table 3: IPS Page 6 Expected Return Range
                                          Year 1    Year 3   Year 5   Year 10 Year 20
                    95th Percentile        20.4      13.9     12.1     10.2     9.0
                    Expected Value         5.6        5.9      6.0      5.9     5.9
                    5th Percentile         -5.7      -1.2      0.3      2.0     3.2

   76. The IPS continues that, “…calculated returns in the above table are based on
       historic asset class returns combined with First Western’s capital market
       assumptions. The table gives a nominal range of expected portfolio returns over


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         various times. The ‘potential return’ number is an approximate midpoint of the wider
         range of expected returns for a given time period.” “Based on historical returns and
         First Western’s 10-year capital market assumptions the nominal 13 10-year expected
         annual returns of your portfolio, net of fees but before any applicable taxes, is
         approximately 6.48%” [emphasis added]. 14
   77. The statement that the 10-year expected annual nominal returns net of fees implies
       that the performance of the Fleck’s portfolio at the 10-year mark would be higher
       than the “Expected Value” illustrated in the table of 5.9%, because the 5.9% is based
       on nominal – before fees, not after fees. The fees associated with the Fleck’s
       accounts were 0.6857%, therefore the stated return expectation of 6.48% net of fees
       would need to be 7.17% before fees in order to achieve the FWTB stated returns
       based on historical returns and their own capital market assumptions for the Trust
       Account Portfolios.
   78. The 7.17% nominal rate falls between the “95th Percentile” of 10.2% and above the
       “Expected Value” of 5.9%, at approximately the 65th percentile, indicating a
       performance at approximately 21% higher than the expected value returns in the
       10th year.
   79. The Plaintiffs were at the end of Year 1 when they moved their investments from
       FWTB. In that year, the FWTB IPS indicates returns with 5.6% as the midpoint.
   80. The table below presents the actual weighting of asset classes and yields from the
       Fleck Trust Accounts under management by FWTB from May 2018 to May 2019.
       As can be seen, the Equities average yield was approximately 1.75%.




   13
       The nominal rate of return is the amount of money generated by an investment before factoring in
   expenses such as taxes, investment fees, and inflation.
   14
      In order to achieve this 6.48% rate of return, net of fees but before applicable taxes, with the given asset
   allocation to fixed income and cash asset classes of the Trust Account Portfolios (47.22% and 2.4%,
   respectively as illustrated at Table 4 on the following page), yields, management fees, and the required rate
   of return in Year 10 on the 50.38% of Equities would have to be 11.17%. This is calculated mathematically
   by taking the Target Return less weighted return of Fixed Income, less weighted return of Cash, plus the
   percent for management fees, all divided by the percent of Equities held.

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                      Table 4: Trust Accounts Asset Weighting and Yields
                                     Fleck Trust Account Performance 5/18 - 5/19
   Account                                                                         Weight of      Average   Weighted
    Name                  Asset Class                    Avg Balance               Portfolio       Yield     Yield
 AHF Trust    Cash and Equivalents             $            101,223.32                   2.53%      2.04%
 BHF Trust    Cash and Equivalents                           91,293.82                   2.30%      2.04%
               Total                                             $ 192,517.14            2.40%      2.04%      0.049%
 AHF Trust    Fixed Income/Pooled Income Funds $          1,866,220.11                  46.34%      3.18%
 BHF Trust    Fixed Income/Pooled Income Funds            1,916,625.82                  48.17%      3.12%
               Total                                             $ 3,782,845.96         47.22%      3.15%      1.487%
 AHF Trust    Equities                         $          2,061,492.85                  51.13%      1.72%
 BHF Trust    Equities                                    1,974,829.82                  49.53%      1.78%
               Total                                             $ 4,036,323.06         50.38%      1.75%      0.881%
              Total Portfolio Yield            $                   8,011,686.16        100.00%                 2.417%

   81. The rate of expected returns on Portfolio assets has been discussed at length in
       depositions by the parties and in the parties’ corresponding expert reports. The
       parties and their experts have discussed various expectations for the portfolios, with
       the two most discussed and illustrated positions for returns being the S&P 500 15,
       which experienced a 5.40% 16 return during the investment period and the stated
       6.48% IPS expected return 17 on the Portfolio assets.
   82. Given the performance of the portfolio from May 2018 to May 2019, which was
       3.66% before fees and 2.972% percent after paying fees, the Trust Account
       Portfolios fell well below both the S&P 500 return of 5.4% achieved in the same
       investment period and the IPS target returns of 5.6% and 6.48%.
   83. Schedule 5 presents the Plaintiffs’ equity value transferred to Pershing LLC in May
       2019.
               •   The Plaintiffs received a total of $8,237,784.44 after FWTB managed the
                   Trust Accounts for approximately one year with a net return of 2.972%.
               •   Had the Trust Account Portfolios earned the S&P 500 returns of 5.4% for
                   the same period, before subtracting management fees, the Plaintiffs would
                   have received $8,432,000.00 or $139,232.44 more on the date of transfer.
               •   Had the Trust Accounts earned the IPS target return of 6.48% after fees,
                   the Plaintiffs would have received $8,518,400.00 or $280,615.56 more.



   15
      Mr. Reidy’s March 24, 2022 report references and illustrates examples using the S&P 500 approximately
   17 times and the 6.48% twice. He references the S&P 500 6 additional times in his April 14, 2022, report,
   and the 6.48% once. Mr. Rulison references and discusses a range of expectations from 5-6%, as does
   Mr. Fleck in his deposition testimony.
   16
      At close, 2,712.97 on May 18, 2018 (the opening date of the Portfolios), and 2,859.53 on May 17, 2019
   = 5.4%
   17
      IPS page 2.

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   3.9 Opinion 7 Fees Incurred
   84. FWTB charged the Plaintiffs $54,983.12 in fees (Aaron Fleck Trust $27,640.73 +
       Barbara Fleck Trust $27342.39) from May 8, 2018, through May 2019.
          Basis for Opinion 7
   85. As discussed in the basis for Opinions 1, 2, 3, 4, and 5, and described in Section
       3.1 Summary of Material Facts and Background, FWTB failed to follow the
       Plaintiffs’ instructions to harvest tax losses in 2018 which resulted in a loss of a tax
       shield and equity value for the Trust Account Portfolios.
   86. From May 8, 2018, through May 9, 2019, FWTB charged the Plaintiffs’ $54,983.12
       in fees as summarized in Schedule 7. A summary of all Trust Accounts’ activity is
       provided in Schedules 7a and 7b.




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                                       Other Matters
   This report may be used only in connection with the matter defined above and is not intended
   for, and may not be used for, other purposes or by anyone not directly identified in this
   matter. It is based solely upon the information received to date, which is believed to be
   accurate and reliable. To the extent that additional information becomes available, revisions
   to this report may be appropriate. It is possible that additional relevant information will be
   identified after the issuance of this report making it appropriate to supplement this report.

   I may supplement or modify the opinions upon which I expect to testify, add to the bases
   and reasons for my opinions and supplement the schedules that I may use at trial, for any
   of the following reasons: in rebuttal, in response to new information, in response to discovery
   responses, including depositions and other damages expert opinions.

   I may use some or all of the documents referenced or contained in this report as
   demonstratives at trial. In addition, I may develop additional schedules based on my
   opinions and analysis to summarize my opinions or illustrate concepts for use during trial.
   Further, I may comment on and use any of the materials or documents, including that which
   other experts may provide to rebut any testimony of other experts.

   My certification, qualifications, and additional information are included as Appendices A, B,
   and C in this report. This includes my current resume, a listing of all cases for which I have
   given sworn testimony in the previous four years, all articles, lectures and presentations that
   I have authored and published in the previous ten years, a listing of all certifications and
   designations that I currently maintain, as well as other professional activities that I engage
   in, including but not limited to continuing education, which support my career as an expert
   in the area of business valuation, forensic accounting, damage and lost profits
   determinations, and related financial analysis matters.

   My hourly rate is $400 per hour, and staff and analyst rates range from $160 to $225 per
   hour. Deposition charges are a minimum of eight hours based on my then prevailing hourly
   rate on a portal-to-portal basis. Professional time expended on this matter is approximately
   94 hours to date.




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     APPENDIX A: EXPERT REPRESENTATIONS AND CERTIFICATION

         I certify that, to the best of my knowledge and belief:

     1. The statements of fact contained in this report are true and correct. However, I have
        relied, without independent verification, on the accuracy, completeness, and fairness of
        all financial and other information in this case.

     2. The reported analyses, opinions, and conclusions are limited only by the stated general
        assumptions and limiting conditions, and are my personal, unbiased professional
        analyses, opinions, and conclusions.

     3. I did not perform a site visit in the preparation of this report.

     4. I have no present or prospective interest in the matter at hand that is the subject of this
        report, and I have no personal interest or bias with respect to the parties involved.

     5. My compensation is not contingent on any action or event resulting from the analyses,
        opinions, or conclusions in, or the use of this report.

     6. The National Association of Certified Valuators and Analysts and the American Institute
        of Certified Public Accountants have a mandatory recertification program. The designated
        individual who participated in this assignment is in compliance with their requirements.

     7. My analyses, opinions, and conclusions were developed, and this report has been
        prepared, in conformity with The Code of Professional Conduct of the American Institute
        of Certified Public Accountants and the Professional Standards of the National Association
        of Certified Valuators and Analysts.

     8. No one other than professional staff working under the direct supervision of the
        undersigned provided significant assistance to the individual signing this report.




     _______________________________
     Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
     Date: May 15, 2023




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                            APPENDIX B: ANALYST QUALIFICATIONS

I, Lari B. Masten, state the following:

   1.      I am a Certified Public Accountant in the State of Colorado and the Managing Director of Masten
           Valuation, LLC.
   2.      I earned my Master of Science in Accounting degree from Texas Tech University.
   3.      I have practiced as a Certified Public Accountant in both Texas and Colorado, providing services
           in the following areas:
              a. Audit and taxation in a variety of industries, including manufacturing and distribution,
                  engineering, real estate development and management, healthcare, retail and food
                  services, and telecommunications.
              b. Beginning in 2000, I have focused my practice primarily on forensic accounting, business
                  valuation, and litigation support services.
   4.      In addition to my CPA license, I hold five specialty designations in the areas of financial
           forensics, business valuation, and business appraisal review. To earn these designations, the
           following must be accomplished before the designations are granted to an individual: completing
           relevant coursework, passing examinations, providing proof of experience, and, where
           applicable, preparation of case study reports graded by the organizations. Continued and
           ongoing coursework are also requirements of all six designations.
              a. ABV - Accredited in Business Valuation – issued by the American Institute of Certified
                  Public Accountants
              b. CFF – Certified in Financial Forensics – issued by the American Institute of Certified Public
                  Accountants
              c. CVA - Certified Valuation Analyst – issued by the National Association of Certified
                  Valuators and Analysts
              d. MAFF - Master Analyst in Financial Forensics– issued by the National Association of
                  Certified Valuators and Analysts
              e. ABAR – Accredited in Business Appraisal Review – issued by the Institute of Business
                  Appraisers
   5.      I speak at conferences, before professional organizations, as well as teach business valuation
           and financial forensic courses on a regular basis. I average in excess of 200 hours of live
           instruction and presentation hours for continuing professional education on an annual basis.
           Typical attendees are Certified Public Accountants, credentialed business valuation and
           financial forensic professionals, and attorneys.
   6.      Attached herein at Appendix B is a true and correct copy of my resume, which contains
           additional information pertaining to my qualifications.
   7.      Masten Valuation has been retained in this matter by Podoll & Podoll, P.C. to assist as an expert,
           providing consulting, accounting, valuation and/or litigation support services at their direction.
   8.      The information and documentation produced in this matter, and the analyses on which I rely in
           my findings, are of the type and nature that I and other financial forensic and valuation experts
           normally rely.
   9.      The materials I reviewed and relied upon in preparing this report can be found at Appendix D
           to this report.




                                                                  Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
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                          discover your worth

   Masten Valuation, LLC
   4600 South Syracuse Street, Suite 900
   Denver, Colorado 80237

   303.229.5517 tel | 303.253.8835 fax
   lari@mastenvaluation.com                                            Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
   www.mastenvaluation.com                                                                    Masters of Science in Accounting
                                                                                                     Certified Public Accountant
                                                                                               Accredited in Business Valuation
                                                                                                 Certified in Financial Forensics
                                                                                                      Certified Valuation Analyst
                                                                                          Master Analyst in Financial Forensics
                                                                                       Accredited in Business Appraisal Review

Ms. Masten’s valuation and practice consulting experience began in the mid-1990s. She is the founder and managing
director of Masten Valuation, LLC and National Business Advisors, LLC. These entities offer comprehensive business
valuation, forensic accounting, fraud investigation and litigation support services for business transactions, shareholder
disputes, damages, lost profits, marital dissolution, financial record reconstruction, financial reporting, and tax compliance.
She has performed these services for businesses across the US in a variety of industries including exploration and
production of natural resources, manufacturing and distribution processes, restaurants and food service, healthcare and life
sciences, personal/professional services, construction, real estate development and management, and agriculture-related
service sectors.
Lari has extensive experience in valuation and business consulting and is well respected by her peers throughout the
professional valuation community. She earned a Master of Science in Accounting degree from Texas Tech University and
is a licensed CPA. She holds the following six specialized designations: Accredited in Business Valuation (ABV) and
Certified in Financial Forensics (CFF) through the American Institute of Certified Public Accountants, Certified Valuation
Analyst (CVA) and Master Analyst in Financial Forensics (MAFF) from the National Association of Certified Valuators and
Analysts, and Accredited in Business Appraisal Review (ABAR) through the Institute of Business Appraisers.
 Lari has been qualified as an expert witness in both federal and state district courts and her expert witness testimony has
been for cases that have involved business valuation, damages, lost profits, insolvency, loss of business value due to
shareholder derivative actions, class actions, environmental remediation, non-performance on distributorship agreements,
wrongful conveyance of lease assignments, fraudulent inducement, marital dissolution, and related matters. She has also
served as an expert on valuation matters in FRE 702/Daubert challenge hearings, providing testimony on the work
performed by other experts as to relevance, reliability, use of sufficient data, use of appropriate methods, and the proper
application of valuation models.
She is currently serving as Chairman of the editorial board for The Value Examiner, a contributing member of the editorial
boards of the Journal of Business Valuation and Economic Loss Analysis and the Journal of Forensic Accounting Research,
a member of the Litigation and Forensics Board for NACVA and is an officer of the Colorado NACVA State Chapter. Ms.
Masten is also an adjunct professor at the University of Denver, teaching a masters’ level capstone course in the valuation
of privately held businesses.
Lari has written numerous articles relevant to her areas of expertise. She has been an invited guest speaker for various
organizations and conferences on topics salient to the organization’s focus that have covered valuation standards
compliance, business valuation fundamentals and advanced topics, litigation, estate planning/wealth retention, marital
dissolution, and business valuation case analysis.

                                                                       Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
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Ms. Masten is an instructor for the National Association of Certified Valuators and Analysts (NACVA) and the European
Association of Certified Valuators and Analysts (EACVA) Global Training & Development Teams for the CVA designation;
the training is presented throughout the US and in Europe approximately 20 weeks per year. She is also an instructor and
development team member for the preparation course that provides the foundation for the Master Analyst in Financial
Forensics (MAFF) designation. Ms. Masten has received numerous awards over the years, including the NACVA Instructor
of Exceptional Distinction honor for each of the past seventeen years (2005 – 2022). In addition, Lari is the recipient of the
Institute of Business Appraisers (IBA) 2011 Best Accredited in Business Appraisal Review Report Award as well as the
2015-2016 NACVA Circle of Light Award, which is the highest distinction awarded to NACVA instructors. Of the many
hundreds of instructors NACVA has had since 1991, the 2015-2016 Circle of Light Award was only the 18th granted. In
2016 Lari Masten was recognized as one of eighteen Industry Titans: Business Valuation and Financial Forensic Masters
by the NACVA.
    MASTEN CREDENTIALS AND EDUCATION
    Master of Science in Accounting (MSA), Texas Tech University
    Bachelor of Science, Texas Tech University
    Certified Public Accountant (CPA) licensed in Colorado and Texas
    Accredited in Business Valuation (ABV)
    Certified in Financial Forensics (CFF)
    Certified Valuation Analyst (CVA)
    Master Analyst in Financial Forensics (MAFF)
    Accredited in Business Appraisal Review (ABAR)

These licenses and credentials require ongoing continuing education in business valuation, taxation, financial planning, and
other finance and management related areas on a yearly basis, with a minimum of 40 hrs per year required to maintain
professional certifications. Ms. Masten averages over 200 hours of continuing education per year, in part to fulfill certification
requirements, but in excess of the minimum requirements in order to increase professional expertise knowledge.

    Federal & Colorado Court Rule 26(a)(2)(B) information with respect to Qualification of the Witness:

        Qualified as an expert witness in Federal and State District courts
        Testimony:
           o WILLIAM R. WILLIS, as an individual and derivatively as a Shareholder of W.C. STRIEGEL, INC., a
                Colorado Corporation, v. Defendants: W.C. STRIEGEL, INC., a Colorado Corporation; LARRY STRIEGEL,
                an individual; TERI WILCZEK, an individual; DEVEN STRIEGEL, an individual; KRIS ERIK STRIEGEL, an
                individual; and RANDY STRIEGEL, an individual, Ferguson Schindler Law Firm, P.C. as attorneys for the
                Plaintiff, 9th District Court, Rio Blanco County, State of Colorado, Judge John Neiley Case No.
                2019CV30032, Civil Theft, Special Damages, General Damages, Restitution, Economic Damages, and
                Consequential Damages. Trial dates November 14 – 23, 2022. Masten testimony dates: November 17,
                18, and 22, 2022.
           o Richard Lang v. Defendants and Cross Claimants: Timothy Flaherty, Timothy Kneen, Carl Vertuca, and
                PdC, LLC, And Third Party Plaintiff: Riviera Country Club S. de R.L. de C.V. (“RCC”) v. Cross Claim
                Defendant: Michael Joseph Roberts, Sr. And Third-Party Defendants: Michael J. Roberts LLC, and
                Sandstone Ventures LLC, Podoll & Podoll, P.C. as attorneys for the Third-Party Defendants, District Court,
                City and County of Denver: Case No. 2015CV31828, Judge Marie Avery Moses, Damages from Diminution
                in Value, Forensic Accounting, and Calculation of Damages – April 22, 2022.
           o James L Parks Elk Creek LLC, et al. v. William H. Wheeler, et al. District Court, Rio Blanco County,
                Colorado, Case No. 2017CV30015, Jury Trial; Matt Ferguson (The Matthew C Ferguson Law firm) and
                Timothy Atkinson (Ireland Stapleton) as attorneys for Plaintiff; Kris J Kostolansky (Lewis Roca Rothgerber
                Christie LLP) for Defendants (Plaintiffs: Breach of Protective Covenants and Fiduciary Duty, Real Estate
                Developer Assessments/Offsets, Forensic Accounting, Records Reconstruction, Damages – October 12 –
                29, 2020).




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     o   In the Matter of the Estate of William J. Young, IV, District Court, El Paso County, Colorado, Case No.
         2012PR0177, Judge Robin Chittum, (Robert Podoll, Attorney), relief from Fraud in a Probate Proceeding,
         7/22/19.
     o   In Re the Marriage of Noelle Westcott and Wayne Westcott, 21st Judicial District Court, Mesa County,
         Colorado, Case No.: 16DR30241, Judge Gurley, Courtroom 11, 11/7/2018 - 11/8/2018 (James W. Giese
         Attorney; for Respondent; business valuation, four companies, oil & gas field services – directional
         drilling).
     o   MINDY GANZE, Plaintiff vs. PEAK 7, LLC, BILL WALLACE, Defendants, District Court of Summit County,
         State of Colorado Case No.: 2018CV030119, Judge Mark D. Thompson, Chief Judge, 5th Judicial District
         8/15/2018.
     o   FLORIDEL, LLC, JOHN MCDONNELL JR., RAM K. REDDY, M.D., STEVE RUFF, and EDWARD
         HOWIE; Claimants, v. DELL TACO LLC and DELL TACO RESTAURANTS, INC.; Respondents;
         AMERICAN ARBITRATION ASSOCIATION, Orange County (California) Regional Office, Arbitration No.
         01-14-0001-9403; DEMAND FOR ARBITRATION AND FOR DAMAGE. 1/4/2016 - 1/8/2016.
     o   MARIAN G. KERNER, and RAMONA J. LOPEZ, on behalf of themselves and all others similarly situated;
         Plaintiffs, vs. CITY AND COUNTY OF DENVER, a municipal corporation; Defendant United States 10th
         District Court for the District of Colorado related to Civil Action Case No. 11-cv-00256-MSK-KMT.
         PADILLA & PADILLA, PLLC; Kenneth A. Padilla for Plaintiffs; September 23-24, 2015; Judge Marcia S.
         Krieger. (Provided Rule 702 Hearing opinions regarding Plaintiffs’ and Respondent’s Expert Witness
         Opinions – Class Action Lawsuit).
     o   PATRICIA SPITZMILLER, et al., Plaintiffs, vs. BUFFALO BASIN LIMITED PARTNERSHIP, et al.,
         Defendants, District Court, Garfield County, Colorado (Breach of Contract and Unjust Enrichment) related
         to Case No. 2012cv146. 2014 (Greenberg Traurig; Jeffrey M. Lippa (DEN) & Jonathan Bell (BOS); May
         19 – 21, 2014; Judge Daniel Brett Petre).
     o   NAYCO MEDICAL, INC., f/k/a BIOPACE, INC.; and GLEN NAYLOR v. BIOTRONIK, INC., Arbitration
         Service of Portland Oregon, ASP No. 130318 (Breach of Contract, Economic Damages). 2013.
     o   GORSUCH, LTD. et al. v. WELLS FARGO NATIONAL BANK ASSOCIATION, American Arbitration
         Association, Case No.: 77 148 Y 00017 12 SIM, Matt Ferguson and Podoll & Podoll as attorneys for the
         Plaintiffs (lender liability - damages and lost profits – October 2012).
     o   GATEWAY PROPERTIES LLC vs. BLUESTEIN SURGICAL ARTS PC et al) Case: 2007CV648 &
         2009CV1075 (Consolidated), Division 5, District Court, Boulder County; Patton Boggs, LLP. Jeffrey
         Cohen and Christa Rock as attorneys (damages and lost profits of an oral and maxillofacial surgical
         practice – November 2011).
     o   Circle Corporation D/B/A Empire Irrigation v. Inline Plastics, Inc., Weld County District Court Case No.
         08CV222, Judge Maes, Podoll & Podoll as attorneys (damages and lost profits related to non-
         performance on exclusive distributorship agreement – October 2010).
     o   Colorado Coffee Bean, LLC, et. al v. Peaberry Coffee, Inc. et. al. Denver District Court Room # 215, Case
         No. 2006CV004514, Judge William Douglas Robbins Jr., Podoll & Podoll as attorneys, (ten individual
         franchisee damage models, retail – September 2007).
     o   In-re the Marriage of Pearson, District Court Case No. 2004 DR 101 Div: R, Summit County, Colorado,
         Judge Ruckreigle, Carlson & Carlson as attorneys (DNR Kennels, services).
     o   In-re Twin Landfill Corporation V. The Board of County Commissioners of the County of Summit, District
         Court Case No. 03-CV-325, Summit County, Colorado, Judge Ruckreigle, Holland & Hart as attorneys -
         Timothy Rastello (Damages).
     o   Marriage of Buchner, Denver District Court, Case No. 01 DR 1791, Judge Joseph E Meyer III,
         Courtrooms 15B/21. Leslie Hanson, attorney for Respondent, Jordan M. Fox, attorney for Petitioner
         (Automotive Counseling & Publishing Company).
     o   In-re the Marriage of Mueller, District Court Case No. 2003 DR 93, Div: L, Summit County, Colorado.
         David Tyler Law Firm, LLC (Corr-Wood Mfg, wholesale and retail).



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   Deposition:
      o Gil Gerstein v. Robins Kaplan, LLP, and Sanders Law Firm, LLC.; Plaintiff's Attorney: Anthony Viorst,
          Esquire, The Viorst Law Offices, PC; District Court, Arapahoe County, Colorado: Case No. 2020CV31398,
          Business Valuation (fulfillment services); Legal Malpractice, January 19, 2022.
      o The George Williams Limited Liability Limited Partnership, v. Kathryn Porter and BOKF, NA, a National
          Association, doing business as Colorado State Bank and Trust, Richard B. Podoll, Attorney: Podoll &
          Podoll, Denver District Court, City and County of Denver, Colorado: Case No. 19CV3366130020, Division
          1, Forensic Accounting, Damages, Breach of Fiduciary Duty, Breach of Contract, and Breach of Covenant
          of Good Faith and Fair Dealing, December 22, 2021.
      o ANDREW “JACK” SORDONI, individually and if necessary, derivatively as a member of Sooner Mineral
          Investments, LLC, v. CONNER & WINTERS, LLP, a domestic limited liability partnership, JARED D.
          GIDDENS, an individual, and J. DILLON CURRAN, an individual; Jared Boyer and Rodney Hunsinger, HB
          Law Partners, PLLC, as attorneys for Plaintiff; District Court, Oklahoma County, Oklahoma, Case No. CJ-
          2016-5985, Forensic Accounting, Damages, Diverted Business Opportunities, Malpractice – September
          2021.
      o James L Parks Elk Creek LLC, et al. v. William H. Wheeler, et al. District Court, Rio Blanco County,
          Colorado, Case No. 2017CV30015; Matt Ferguson as attorney (Plaintiffs: Breach of Protective Covenants
          and Fiduciary Duty, Real Estate Developer Assessments/Offsets, Forensic Accounting, Damages –
          August 2019).
      o In the Matter of the Estate of William J. Young, IV; District Court, El Paso County, State of Colorado,
          Case No. 2012PR177; Attorneys for Starlette S. Young, Podoll & Podoll, P.C. (Damages – February
          2019).
      o Dos Rios Partners LP, a Texas Limited Partnership, et al. (Plaintiffs) v. Casey Hutto and NBH Capital
          Finance, a division of NBH Bank, NA (Defendants); District Court, City and County of Denver, Case No.
          2016CV31478, (Plaintiffs - Jeffrey Cohen Attorney - May 2018).
      o In Re: Marriage of Heju Jemison, Petitioner and Steven Jemison, Respondent; Case 15DR30149 and
          JAG Case No. 2015-04425 District Court, City and County of Denver, Colorado; Robinson Waters and
          O’Dorisio, James B. Lapin attorney (Business Valuation and Asset Tracing – August 2016).
      o Patrician Spitzmiller, et al. v. Buffalo Basin Limited Partnership, et al., Case: 2014cv146 District Court
          Garfield County; Greenberg Traurig, LLP Jeffrey M. Lippa as attorney (Breach of Contract and Unjust
          Enrichment - May 2014).
      o GATEWAY PROPERTIES LLC vs. BLUESTEIN SURGICAL ARTS PC et al) Case: 2007CV648 &
          2009CV1075 (Consolidated), Division 5, District Court, Boulder County; Patton Boggs, LLP. Jeffrey
          Cohen and Christa Rock as attorneys (damages and lost profits of an oral and maxillofacial surgical
          practice – March 2011).
      o Circle Corporation D/B/A Empire Irrigation v. Inline Plastics, Inc., Weld County District Court Case No.
          08CV222, Judge Maes, Podoll & Podoll as attorneys (damages and lost profits related to non-
          performance on exclusive distributorship agreement - July 2010).
      o Amy J. Straily et. al. v. UBS Financial Inc., Case No. 2007cv00884 (U.S.D.C. Colorado) Judge Blackburn,
          Robert
      o W. Biederman as attorney, (Class Action Tort, Property – Other Fraud – April 2009).
      o Burning Rock Energy, LLC v. Pinnacle Gas Resources, Inc., et al., Civil No. 06C0047J (U.S.D.C. Wyo).
          Judge Alan Johnson, Hirst & Applegate as attorneys (Diversity – Other Contract, recoverable damages –
          sale of lease blockage due to wrongful conveyance of lease assignments - 2007).
      o Colorado Coffee Bean, LLC, et. al v. Peaberry Coffee, Inc. et. al. Denver District Court Case No.
          06CV4514, Podoll & Podoll as attorneys (Damages – ten franchisees, Retail - 2007)
      o Health Care Management Partners, Ltd., et. al. v. Stephen Briscoe et. al., City and County of Denver
          District Court, Case No. 05 CV 1889 Courtroom 6 (DC, Colorado), Podoll & Podoll as attorneys
          (Damages lease default on five tenants – nursing homes; Insolvency – five nursing homes - 2007).



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   Declarations
      o Robert R. Wolford v. Andrew A. Mueller and Hockersmith & Mueller, P.C.; Andrew A. Mueller, Jon T.
          Hoistad and Karp Neu Hanlon, P.C.; District Court, Garfield County, State of Colorado, Case No.
          2019CV30020; John Palmeri of Gordon and Rees as attorney, professional malpractice.
      o ONE CLEVELAND FINANCE, LLC v. BR T&C CORPORATE CENTER M, LLC, et al., United States
          District Court, District of Colorado, Civil Action No. 11-cv-01438-RBJ-KLM (Damages, Breach of Contract
          - 2012).
   Pending
      o Old Gringo Boots, Inc. as Plaintiff/Counter-Defendant v. Buster SJE, Inc. D/B/A Spectra Property Services
          as Defendant/Counter-Plaintiff, Ross A. Vitek, Esq, Brian Brisco, Esq of Vitek Lange PLLC, Attorney for
          Plaintiff/Counter-Defendant, Tarrant County, Texas Cause No. 048-333206-22, 48th Judicial District,
          Negligence, Breach of Contract, Quiet Title, Lost Profits and Consequential Damages.
      o THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck;
          et al. v. FIRST WESTERN TRUST BANK, CHARLES BANTIS, and ANDREW GODFREY, Richard B.
          Podoll, Attorney, Podoll & Podoll, P.C., United States District Court, District of Colorado Civil Action No.:
          21-cv-01073-CAN-CPG, Breach of Fiduciary Duty, Fraudulent Inducement, Fraudulent Concealment/
          Nondisclosure, Breach of Contract.
      o WANDA BERTOIA and WPB HOSPITALITY, LLC v. BRETT PAYTON, et al.; Richard B. Podoll, Attorney,
          Podoll & Podoll, P.C., District Court, City and County of Denver, State of Colorado, Case No.: 19CV33523,
          Breach of Contract, Fraud, Omission and Fraudulent Transfer.
      o Dakin Lerner Sloss v. Gabrielle Gatta Sloss; Kim D. Cannon, Attorney for Defendant, Davis & Cannon, LLP;
          Ninth Judicial District Court, Teton County, Wyoming, Civil No. 18691, Valuation Methodology.
      o IRM Marriage of Shuler Rivetti; James B. Lapin, Attorney, Case No. 2022DR30575, 18th Judicial District,
          Douglas County, Colorado, Business Valuation.
      o Sheryl Fitzgerald; Charlene Ibanez v. Sno-White Linen & Uniform Rental, Inc.; Charles M. McAllister: Colin
          Moriarty, Attorney, Underhill Law, P.C., Attorney for Plaintiffs, District Court, El Paso County, Colorado,
          Case No. 2022CV32049, forensic accounting, economic damages.
      o Plantsnap, Inc. v. Eric Ralls, et al. v. Third Party Plaintiff DEJ Partners, LLC v. Third Party Defendants,
          Earthsnap, Inc.; Digital Earth Media, Inc.; and Metaversal Knowledge, Inc.; Robert A. Kitsmiller, Attorney,
          Podoll & Podoll, P.C. Attorney for Third Party Defendants, District Court, San Miguel County, Telluride,
          Colorado, Division 3, Case Number 2021CV30005 (Colorado Organized Crime Control Act, C.R.S. §18-
          17-104, Fraudulent Transfer, Fraudulent Inducement, Breach of Contract, Specific Performance).
      o Karlie Walter v. Daniel Walter; Monique Ojeda, Attorney, Jackson & Ojeda, LLC, Attorney for Defendant,
          District Court for the First Judicial District, State of Wyoming, County of Laramie, Docket No. 2021-DR-1-
          137, business valuation.
      o RYAN SCHEELER, an individual; AGR GROUP, LLC, a Nebraska Limited Liability Company; AGR INC., a
          Colorado corporation; and TOTAL UTILITY CONTRACTING OF MINNESOTA, INC., a Minnesota
          corporation (Plaintiffs) v. CANOPY HOLDINGS, LLC, d/b/a CANOPY HOLDINGS OF COLORADO, LLC,
          a Virginia Limited Liability Company; MATT HIRSCHBIEL, an individual; CANOPY HOLDINGS OF
          NEBRASKA, a Nebraska Limited Liability Company, (Defendants) v. TIMOTHY DAY, an individual (Third
          Party Defendant); Colin E. Moriarty, Attorney, Underhill Law, P.C. Attorney for Plaintiff, United States
          District Court for the District of Colorado, Civil Action No.: 1:22-cv-02417-DDD-NRN, business valuation.
      o Gil Gerstein, Plaintiff v. Adam Gerstein, Co-Trustee of the Leonard Gerstein and Offra Gielan Gerstein
          Revocable Trust, dated May 1, 1997, Defendant; Aaron Mohamed, Brereton Law Office as Attorney for
          Plaintiff, Superior Court of the State of California in and for the County of Santa Cruz, Case No. 21PR00757
          (Consolidated with Case No. 21PR00322), Removal of Trustee, and Financial Elder Abuse.
      o Jontra Holdings Pty Ltd, an Australian registered company, Brisbane Angels Nominees Pty Ltd, an
          Australian registered company, Associated Construction Equipment Pty Ltd, an Australian registered
          company, Plaintiffs vs. Gas Sensing Technology Corp, a Wyoming corporation (dba “WellDog”) Defendant;



                                                                Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
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           Bob Comer, Norton Rose Fulbright as Attorney for Plaintiffs, District Court, Second Judicial District, Laramie
           Wyoming, Civil Action No. 34112, Breach of Notes.
       o   FIRST-CITIZENS BANK & TRUST COMPANY, a North Carolina Chartered commercial bank v. LEATHEM
           STEARN, an individual; UTE MESA, LLC, a Colorado limited liability company; and UTE MESA LOT 1,
           LLC, a Colorado limited liability company, And Plaintiff-Intervenor: STEWART TITLE GUARANTY
           COMPANY, a Texas corporation, v. Defendants: FIRST-CITIZENS BANK & TRUST COMPANY, a North
           Carolina Chartered commercial bank; LEATHEM STEARN, an individual; UTE MESA, LLC, a Colorado
           limited liability company; and UTE MESA LOT 1, LLC, a Colorado limited liability company. District Court,
           Pitkin County, State of Colorado: Case No. 2010CV177; Podoll & Podoll, P.C. as attorneys for Defendant
           Leathem Stearn; Intentional Interference with Contract, Intentional Interference with Prospective Business
           Advantage, Abuse of Process, Spurious Document Claim – C.R.S. §38-35-109(3), Slander of Title, and
           Accounting.
       o   Richard Lang v. Defendants and Cross Claimants: Timothy Flaherty, Timothy Kneen, Carl Vertuca, and
           PdC, LLC, And Third Party Plaintiff: Riviera Country Club S. de R.L. de C.V. (“RCC”) v. Cross Claim
           Defendant: Michael Joseph Roberts, Sr. And Third-Party Defendants: Michael J. Roberts LLC, and
           Sandstone Ventures LLC, Podoll & Podoll, P.C. as attorneys for the Third-Party Defendants, District Court,
           City and County of Denver: Case No. 2015CV31828, Damages from Diminution in Value.
       o   Good Earth Landscaping and Maintenance, LLC v. Rio Crandall (an Individual); Matthew Ferguson and
           Michelle Schindler, The Matthew C. Ferguson Law Firm P.C. as attorney’s for Plaintiff, District Court, Pitkin
           County, Colorado, Case No. 2018-CV-30021.
       o   People v. Cochran, District Court Arapahoe County, Colorado, Case No. 18CR1008.
       o   Dala S. Winders v. Sborov et al. Superior Court of the State of California, County of Alameda, Case No.
           RG18919149.
       o   IT Portfolio, Inc., Plaintiff v. NER Data Corporation, NER Data Products, Inc., Stephen F. Oatway, and
           Atlantic Technology Integrators, LLC, Defendants; District Court, City and County of Denver, Civil Action
           No.:1:15-cv-00179-WYD-NYW, Rob Podoll, Attorney.
       o   VAISALA INC. v. SAMPLE & BAILEY, CERTIFIED PUBLIC ACCOUNTANTS, PC, District Court Larimer
           County, Colorado (Malpractice) related to Case No. 2012cv568 (Professional Malpractice Damages),
           2012.

   Mediation/Cases Settled pre-trial
      o The George Williams Limited Liability Limited Partnership v. Kathryn Porter and BOKF, NA, a National
          Association, doing business as Colorado State Bank and Trust, Denver District Court, City and County of
          Denver, Colorado, Case No. 19CV33661. Settled January 18, 2023.
      o Robert R. Wolford v. Andrew A. Mueller and Hockersmith & Mueller, P.C.; Andrew A. Mueller, Jon T.
          Hoistad and Karp Neu Hanlon, P.C.; District Court, Garfield County, State of Colorado, Case No.
          2019CV30020; John Palmeri of Gordon and Rees as attorney, professional malpractice. Settled January
          3, 2023.
      o ANDREW “JACK” SORDONI, individually and if necessary, derivatively as a member of Sooner Mineral
          Investments, LLC, v. CONNER & WINTERS, LLP, a domestic limited liability partnership, JARED D.
          GIDDENS, an individual, and J. DILLON CURRAN, an individual; Jared Boyer and Rodney Hunsinger, HB
          Law Partners, PLLC, as attorneys for Plaintiff; District Court, Oklahoma County, Oklahoma, Case No. CJ-
          2016-5985, Professional Malpractice.
      o BAMBU FRANCHISING, LLC, a Colorado limited liability company, v. TRUONG TRUNG, individually and
          d/b/a KUTEA; and ICT, a Colorado limited liability company; Dustin Priebe, Foley & Mansfield, PLLP as
          Attorney for Plaintiff, District Court, County of Jefferson, State of Colorado, 100 Jefferson County Parkway,
          Golden, Colorado 80401: Case No. 2021CV031054, Division 4, Breach of Contract, and Misappropriation
          of Trade Secrets.




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     o   STORY CONSTRUCTION CO, an Iowa corporation, v. JBS USA FOOD COMPANY, a Delaware
         corporation; Swift Pork Company, a Delaware corporation; Aaron A. Boschee, Achieve Law Group, LLC
         Attorney for Defendants, District Court, Weld County, Colorado, Case No. 2020-CV-030066.
     o   NICK LEPETSOS v. FIRST AMERICAN BANCORP, a Colorado Corporation; FIRST AMERICAN STATE
         BANK, A Colorado State Chartered bank; JOHN (“JAY”) R. DAVIDSON, an individual, and DOES I and II,
         District Court, Arapahoe County, Colorado, Division 21, Case No. 2020-CV-30341.
     o   Catalyst Marketing LLC v. Amanda Gregory, Denver County District Court, Case No. 2020-CV-32434,
         Courtroom 275, Thomas Arckey and Todd Johnson Attorneys, Arckey & Associates, LLC.
     o   Kewei Liu v. Friends Foods, Inc., Yang He, and Chiew Han Chiou, District Court, Eagle County, Colorado,
         Case No. 2019CV30232; Colin Moriarty of Underhill Law as attorney.
     o   Jamie S. Dahlgren vs. Eric W. Dahlgren, District Court of Oklahoma County, Case No. FD-2018-1585.
     o   Whole Hemp Company, LLC (Claimant and Counterclaim Respondent) v. Farooq Ghauri (Respondent and
         Counterclaim Claimant) JAG Case 16-1585A.
     o   Cook et al. v. Robl et al., District Court, Arapahoe County Colorado, Case No. 2017CV032417; (Plaintiffs
         - Joanne P. Underhill and Colin E. Moriarty Attorneys Underhill Law, P.C.).
     o   In re: The Marriage of Edgar Bruce Bell and Sandra Jo Bell, District Court, Adams County, Colorado,
         Case Number: 16 DR 30404, Michael J. Grills Attorney; 2017.
     o   Robert B. Fisher, Carla L. Fisher, Bradley G. Rhodes, and James D. Schwartz, derivatively and on behalf
         of Tails Holdco, Inc., a Delaware corporation; Robert B. Fisher, individually, Carla L. Fisher, individually,
         Bradley G. Rhodes, individually, and James D. Schwartz, individually, “Plaintiffs” v. Gail A. Liniger, David
         L. Liniger, Bruce Benham, RE/MAX Holdings, Inc., a Delaware corporation, and Tails Holdco, Inc., a
         Delaware corporation, “Defendants” and Tails Holdco, Inc., a Delaware Corporation, “Nominal
         Defendant”; Denver District Court, Denver County, Colorado, Case No. 2016CV030786; (Defense - Peter
         J. Korneffel, Jr., Attorney BRYAN CAVE LLP and Darryl Raines, Attorney Morrison Foerster).
     o   In Re: The Marriage of Heju Jemison, Petitioner and Steven Jemison, Respondent; Case 15DR30149
         and JAG Case No. 2015-04425, District Court, City and County of Denver, Colorado; Robinson Waters
         and O’Dorisio, James B. Lapin, Juli Lapin, Cheryl Smith attorney; 2017.
     o   Lisa Daniel-Johnson et al. (Plaintiffs) v. Aaron Lessen, MD, HCA HealthOne, LLC d/b/a Swedish Medical
         Center et al. (Defendants); Case No. 2016CV031577, District Court, City and County of Denver,
         Colorado; Fennemore Craig, P.C., Laura M. Wassmuth Attorney; 2016.
     o   Leanne Marie McClain-Rellstab, Plaintiff, vs. Douglas Martin Rellstab, Defendant. In the District Court of
         the Ninth Judicial District in and for Sublette County, Wyoming: Judge Marvin L. Tyler, Civil Case No.
         8368. 2016
     o   ESTATE of MAX BARBER, opinions related to the valuation of Max Gill and Grill. 2015 & 2016
     o   In Re: The Marriage of Noni McKinley, Petitioner and Samuel McKinley, Respondent; Case
         2015DR30837, Arapahoe County Court, Colorado; Robert Kitsmiller as attorney (Marital Asset Tracing);
         2016.
     o   DANA TATUM; Plaintiff, v. BLAZIER, CHRISTENSEN, BIGELOW & VIRR, PC; Defendant District Court:
         Travis County, Texas, 261st Judicial District, Cause No. D-1-GN-13-003438, (Breach of Fiduciary Duty)
         March 2016.
     o   DIAA YASSIN; Plaintiff, v. MOHAMMAD NSIRAT, individually and NOUR INVESTMENT
         CORPORATION, a dissolved Tennessee Corporation; Defendants DISTRICT COURT, CITY AND
         COUNTY OF ARAPAHOE, COLORADO, Arapahoe County Justice Center, (Breach of Fiduciary Duty,
         Misrepresentation and Concealment, Breach of Contract, Civil Theft, Unjust Enrichment, Conversion,
         Constructive Trust, Alter Ego, and Misrepresentations under the Colorado/Tennessee Securities Acts.)
         Case No.: 15 CV 30114. 2015 Settled December 2015.
     o   Perzow v. MD Insider, Inc., JAY W. CALVERT, an individual, CALVERT ENTERPRISES, INC., a
         California Corporation, and DOES 1-100; Orange County Superior Court (Fraud and Breach of Fiduciary
         Duty) Case No.30-2014-00708448-CU-NP-CJC. 2015



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     o   SANDRA BROWN v. RANDOLPH C. ROBINSON, Douglas County, District Court (Economic Damages)
         related to Case 2013cv643. 2014
     o   ZEKE COFFEE, INC. AND DARREN SPREEUW, Plaintiffs, vs. PAPPAS-ALSTAD PARTNERSHIP, et al,
         Defendants Civil Action Case No. 09CV11786 Consolidated with Case No. 13CV32293, District Court,
         City and County of Denver, Colorado (Malicious Prosecution Claim Damages Calculation). 2013
     o   ALPHA SLEEP DIAGNOSTIC CENTERS LLC v. MOYE WHITE LLP et al., Denver District Court,
         Colorado, Civil Action No. 12-cv-3214 (Damages relating to Malpractice). 2013
     o   In Re the Marriage of LEO J. LACASCIA, Jr. v. PATRICIA A. LACASCIA, District Court, Douglas County
         Colorado, Case No. 12 DR 155; JAG Case No. 12-1053J. (Business Valuation). 2013
     o   ONE CLEVELAND FINANCE, LLC v. BR T&C CORPORATE CENTER M, LLC, et al., United States
         District Court, District of Colorado, Civil Action No. 11-cv-01438-RBJ-KLM (Damages, Breach of
         Contract). 2013
     o   QFW HOLDINGS, INC. & DAVID LIDVALL v. FAMILY RESTAURANTS INC., et al., Denver County
         District Court, Colorado, Civil Action No. 12-cv-990 (Breach of Contract). 2013
     o   Heartland Bank v. Lee Engbar, et al; District Court, Denver County, Colorado, Case 11-CV-6789; Dec
         2012
     o   Kay Kayser Meyring v. Spicer Ranches, Ltd and Coy Meyring; District Court, Jackson County, Colorado,
         Case No. 2011CV11; June 2012
     o   Michael Flynn Agency, Inc. v. Security Financial Planning, Inc. and Guy Simone and Mindy Spoor; District
         Court, Jefferson County, Colorado, Case No. 11CV4298; May 2012
     o   In-re marriage of DeJulio, Summit County District Court, Case No. 11DR05, (DeJulio Custom Homes);
         2011
     o   Hooking Family Trust, LLC et.al. v. Frary Counterclaim Plaintiff v. McGrath et.al., Circuit Court, Seventh
         Judicial Circuit for Volusia County, Florida, Case No. 2010-30514-CICI Division 32 (internet-based
         marketing and software, shareholder derivative ROI Rocket.Com, LLC); 2011
     o   In-re Maxine Hopkins, Denver County Probate Court, SOLEM, MACK & STEINHOFF, P.C. as attorneys
         (Protecto-Wrap Corp, Sale, Eldercare, Retail); 2010
     o   In-re marriage of Zinanti, Douglas County District Court (Closely held business –Cherry Creek Collision,
         Inc.); 2010
     o   Health Care Management Partners, Ltd., et. al. v. Stephen Briscoe et. al., City and County of Denver
         District Court, Case No. 05 CV 1889, Courtroom 6 (DC, Colorado), Podoll & Podoll as attorneys; 2010
     o   Burning Rock Energy, LLC v. Pinnacle Gas Resources, Inc., et al., Civil No. 06C0047J (U.S.D.C. Wyo).
         Judge Johnson, Hirst & Applegate & Philip D. Barber, PC as attorneys.; 2009
     o   In- re marriage of Williams – The Spa at Beaver Run, LLC, Summit County District Court, CASE NO.
         2007 DR 21 Division R, rebuttal expert, Carlson & Carlson as attorneys (Services); 2009
     o   In-re VanLoan, District Court, Summit County, neutral expert for Carlson & Carlson and DeJong &
         Associates as attorneys (Excavation)
     o   Randy Schmudlach v. Ray Zorens, Design Electrical Contractors, Inc., and Centennial Sierra, LLC, Case
         No. 2005 CV 4567, District Court, Arapahoe, Colorado, Podoll & Podoll as attorneys (Services)
     o   JBB Land COMPANY and Cheryle L. Land v. Melody Homes, Inc., et al., Case No. 06 CV 333, Adams
         County District Court, Podoll & Podoll as attorneys (damages/remediation - environmental)
     o   Laura’s Mountain Bakery v. Texaco et al., Denver District Court, Gablehouse & Epel, LLC as attorneys
         (damages – environmental, retail)
     o   IRS – Estate of Phillip J. Spano Jr. (eleven closely held business entities)
     o   IRS – Estate of Edward Gordon (three closely held business entities with five sub-entities)
     o   IRS – Estate of Katherine W. Schomp (closely held RLLP with sub-entities)




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    Statement of Compensation and Fee Schedule
        o FEE RATES are as follows:
              a. CURRENT HOURLY RATES: $400 per hour for principals engaged for litigation and consulting
                  engagements; $160 to $275 for staff and senior analysts.
              b. ADDITIONAL EXPENSES: We will invoice for additional expenses incurred including personal
                  and real property appraisals relative to the engagement, agreed upon travel, fee-based
                  computer/research & other data, overnight shipping, postage, conference call charges, lodging
                  and miscellaneous expenses at cost.
              c. PAYMENT TERMS: All fees and expenses billed are due and payable upon receipt of invoice,
                  unless a written extension has been agreed to and provided by us.
              d. Any deposition or testimony is billed at our then prevailing deposition and testimony hourly rate,
                  with a minimum rate equal to eight hours, and will be bill on a portal-to-portal basis. Any
                  deposition or testimony time in excess of eight hours is billed in four-hour increments. Travel
                  expenses will be added to deposition rates where applicable.

PROFESSIONAL EXPERIENCE AND COMPETENCE
Provide business valuation, litigation support, business and financial consulting, acquisition analysis, income/loss
projections, financial projections, financial and estate planning, commercial damages/contract disputes determinations
and forensic accounting services to a diverse clientele.
    • Elected Member and Chairman (2022-2023), National Association of Certified Valuators and Analysts
         (NACVA), Litigation and Forensic Board 2020 - 2023
    • Elected Member, and Past Chairman, NACVA Education Quality Assurance Board 2010 – present
    • Elected Member, and Past Chairman, NACVA Executive Advisory Board 2007 - 2014
    • Elected Member, and Past Chairman, NACVA Valuation Credentialing Board 2004 – 2007
    • Instructor, International Training & Development Team for European Association of Certified Valuators and
         Analysts (EACVA)
    • Instructor, National Training & Development Team for National Association of Certified Valuators and Analysts
         (NACVA)
    • Instructor, National Training & Development Team leading to the attainment of the NACVA’s Master Analyst in
         Financial Forensics (MAFF) credential
    • Member, Appraisal Foundation Business Valuation Resource Panel 2014 - present
    • Member, Working Group for Company Specific Risk Premium Guidance White Paper, Appraisal Foundation,
         January 2020 – present
    • Member, ABV Exam Grading Task Force, AICPA, 2008 - 2010
    • Officer, Colorado State Chapter of NACVA
    • Member, Mentor Support Group, NACVA
    • Member, Institute of Business Appraisers (IBA)
    • Applicant, American Society of Appraisers (ASA)
    • Member, Appraisal Issues Task Force (AITF)
    • Member, American Academy of Economic and Financial Experts (AAEFE)
    • Member, National Association of Forensic Economics (NAFE)
    • Member, American Institute of Certified Professional Accountants (AICPA)
    • Editorial Board Chair, The Value Examiner
    • Contributing Editorial Advisor, National Litigation Consultants’ Review (NLCR)
    • Editorial Board Member, Journal of Business Valuation and Economic Loss Analysis (JBVELA)
    • Editorial Board Member, Journal of Forensic Accounting Research (JFAR)
    • Member, Colorado Society of CPAs Federal Tax Forum
    • Volunteer, Denver KUSA Channel 9 News Tax Line 9
    • Adjunct Professor, Business Valuation University of Denver




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TEACHING EXPERIENCE
Instructor and development team member, NACVA’s National Training and Development Team, which is responsible
for teaching the week-long training course required by NACVA in order to obtain NACVA’s credential. Other courses
taught and developed include Business Valuation Industry Standards and Advanced Topics; 2004 - present.

Instructor and developer of course materials for the Internal Revenue Service (IRS), Association of Certified Valuators
and Analysts (ACVA), and European Association of Certified Valuators and Analysts (EACVA), responsible for
developing and teaching international business valuation fundamentals, theory and techniques for the week-long
training course required by the IRS, ACVA, and EACVA in order to obtain NACVA, ACVA, and EACVA’s valuation
credentials. These courses have been taught to members of the Internal Revenue Service, Candidates in India,
employees of KPMG, EY, Deloitte, and a variety of other international companies such as Baker Tilly, BASF SE, and
Luxembourg Investment Solutions, SA covering more than 20 European countries.

Instructor and development team member, Master Analyst in Financial Forensics (MAFF) National Training and
Development Team for Bankruptcy, Insolvency, and Restructuring Specialty, and Forensic Accounting Academy. The
Instructor Team is responsible for developing and teaching the week-long training courses required by NACVA in order
to obtain the MAFF credential; 2012 – present.

Instructor and development team member, Certified in Financial Forensics (CFF) National Training and Development
Team, which is responsible for teaching the week-long training course required by AICPA in order to obtain the AICPA’s
Certified in Financial Forensics (CFF) credential; 2010 – present.

Adjunct Professor at the University of Denver, responsible for teaching the Masters’ level Business Valuation program.

Presents educational seminars and lectures across the country to professional and community interest groups on
topics relating to business valuation, litigation support, wealth retention, estate planning, relevant tax topics and other
issues germane to target audience.

PUBLICATIONS AND PAPERS
   • Co-Author, “Empirical Investigation of Alternative Measures of Central Tendency,” Accepted to be Published
      by the American Accounting Association – Journal of Forensic Accounting Research, 2020. 2021 Best
      Research Paper of the Year Award winner.
   • Author, “Business Valuation Considerations – Living with COVID-19,” Published by LinkedIn Corporation,
      March 25, 2020.
   • Author, “7 Mistakes to Avoid and Lessons to Learn in Litigation,” The Value Examiner, November/December
      2015.
   • Co-Author, “The Cost of Equity and the Fama-French Three-Factor Model,” The Value Examiner, July/August
      2014.
   • Author, Feature Article, “Fraud and Forensics Goulash,” National Litigation Consultants’ Review, Vol. 9, Issue
      2, August 2009
   • Author, BV for the Litigation Practitioner, “Additional Consulting Services for Tough Times,” National Litigation
      Consultants’ Review, Vol. 8, Issue 12, May 2009
   • Author, Practice Management, “Opinion or Expertise? Types of Expert Testimony,” National Litigation
      Consultants’ Review, Vol. 8, Issue 3, August 2008
   • Author, BV for the Litigation Practitioner, “Commercial Liability and Captive Insurance: How Does the Choice
      Affect Value?” National Litigation Consultants’ Review, Vol.8, Issue 1, June 2008.
   • Author, Practice Management, “Automation is a Must,” National Litigation Consultants’ Review, Vol.7, Issue 6,
      November 2007.
   • Author, Book Review, “Financial Valuation Applications and Models – 2nd Edition,” National Litigation
      Consultants’ Review, March 2007.
   • Author, “Non-Productive Does Not Necessarily Mean Non-Operating: a study of business assets,” I Solemnly
      Swear, National Litigation Consultants’ Review, January 2007.


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   •   Author, “Intellectual Property Damage Characteristics,” National Litigation Consultants’ Review, November
       2006.
   •   Author, “Why Net Asset Value Approach May Not Be Appropriate for Valuing Multi-Tiered Entities,” Business
       Valuation Update, October 2006.
   •   Co-Author, “A Methodology for Valuing Tiered Entities,” Journal of Business Valuation and Economic Loss
       Analysis, September 2006.
   •   Author, “So You Are an Expert - Do You Do What Experts Do?” National Litigation Consultants’ Review,
       August 2006.
   •   Co-Author, “Valuation, Economic Damages, and Causative Factors,” Business Valuation for the Litigation
       Consultant column, National Litigation Consultants’ Review, June 2006.
   •   Discussant: “The Use of Hindsight in Commercial Damage Analysis,” Tyler J. Bowles, Western Economic
       Association International Annual Conference; San Diego, CA, June 30, 2006.
   •   Co-Author & Presenter, “Tiered Entity Valuation Made Easy,” Academic Track, NACVA 13th Annual
       Consultants’ Conference, June 2006.
   •   Author, “Last Minute, Last Chance to Help a Case?” I Solemnly Swear column, National Litigation
       Consultants’ Review, January 2006.
   •   Author, “The Door Into Catastrophe: Katrina, Insurance, and Business Interruption Claims,” Feature Article,
       National Litigation Consultants’ Review, November 2005.
   •   Author, “The Neutral Expert Balancing Act: Client Service Issues/Fostering Trust,” Practice Tips, National
       Litigation Consultants’ Review, August 2005.
   •   Author and Presenter, “How to Value Control and Minority Interests in Pass Through Entities,” CO/WY
       NACVA, Emerging Issues In Valuation Conference, July 21, 2005
   •   Author and Presenter, “Report Writing for Marital Dissolution Valuations: Issues, Challenges, and Content,”
       CO/WY NACVA Annual Marital Dissolution Conference, September 22, 2004
   •   Author, “How To Excel During Cross-Examination: Techniques For Experts That Work,” Product Review,
       National Litigation Consultants’ Review, October 2003.
   •   Author and Presenter, “Valuing Professional Practices for Marital Dissolution in Colorado,” CO/WY NACVA
       annual Marital Dissolution Forum September 2003.
   •   Author, “Finding the Numbers: Ins and Outs of Extracting What You Need From Financial and Tax
       Documents,” Case Studies in Limited Partnership & Common Tenancy Valuations, July 2003.
   •   Presenter and Discussant: “Handling Taxes in Wrongful Termination Cases,” James D. Rodgers, Eastern
       Economic Association Annual Conference; NYC, February 2003.
   •   Discussant: “Business Valuation: The Problem with Capitalization Formula and Weighted Average Cost of
       Capital (WACC),” Mike Adhikari, Eastern Economic Association Annual Conference; NYC, February 2003.
   •   Author: "The Importance of Being Effective Educators in the Litigation Arena,” National Litigation Consultants’
       Review, June 2002.

ORGANIZATIONS AND HONORS

Awards and Honors:
   August 2021 American Accounting Association, Forensic Accounting Section, Research Paper Award for
       Empirical Investigation of Alternative Measures of Central Tendency.
   Instructor of Exceptional Distinction - 2006, 2007, 2008, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2016,
       2017, 2018, 2019, 2020, 2021, and 2022 National Association of Valuators and Analysts (NACVA).
   NACVA State Chapter Honoree - 2008, 2009, 2010, 2011, 2012, 2013, 2014, 2015, 2017.
   2016 Industry Titans: Business Valuation and Financial Forensic Masters, NACVA.
   2014/2015 Circle of Light Award, NACVA, this is the highest honor NACVA bestows upon its Instructors.
       Masten is the 18th recipient of this award.
   2011 Best Accredited in Business Appraisal Review Report, Institute of Business Appraisers.
   Instructor of the Year – 2013/2014, National Association of Valuators and Analysts (NACVA).
   NACVA Outstanding Member – 2007.


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Organizations:
Adjunct Professor, School of Accounting, University of Denver 2013 - present
Member & Chairman, National Association of Certified Valuators and Analysts (NACVA) Executive Advisory Board,
     2007 – 2010; 2011 – 2014
Chairman, NACVA Education Quality Assurance Board 2010 – 2011, Member 2010 – present.
Chairman and Member, NACVA Valuation Credentialing Board 2004 – 2007
NACVA Annual Conference Planning Committee: Chair - Valuation Track 2007, 2008, 2009; Chair - Healthcare Track
     2010, 2011; National Conference Chair for 2014; Member Valuation and Litigation Tracks 2015, 2016 and 2017;
     National Conference Co-Chair 2019.
Instructor – National Training Team, National Association of Certified Valuators and Analysts 2006 - present
Contributing Editor, National Litigation Consultants’ Review
Member, ABV Exam Grading Task Force, AICPA, 2008 – 2010
Editorial Board Member and Chair The Value Examiner; Journal of Business Valuation and Economic Loss Analysis
National Association of Certified Valuators and Analysts – Colorado/Wyoming Chapter Officer & member
American Institute of Certified Public Accountants - member
Colorado Society of Certified Public Accountants – Federal Tax Committee
National Association of Forensic Economics - member
American Academy of Economic and Financial Experts – member
Pilot CPE Tester, MicroMash© CPE Courseware & PPC CPE Courses & GearUP CPE Courses
Class of 2003, 50 for Colorado, statewide leadership program sponsored by University of Colorado Boulder Leeds
     School of Business
Friends of the Denver School of Arts – Board member and Treasurer
Women’s Vision Foundation – member
Women in Leadership Community Outreach Committee – South Metro Denver Chamber of Commerce

CONTINUING PROFESSIONAL EDUCATION AND SEMINARS
Presented topic as Lecturer – most recent years
• 23 hrs, CPE, Instructor, “CVA Case Study Online Report Writing Clinic, Parts I-VII” - some days have multiple
   clinics: January 10, 24, 31, February 7, 14, 21, 28, March 7, 14, 24, 28, April 4, 11, 18, 25, 2023.
• 10 hrs CPE, Instructor, “BV Applications and Calculations of the Income, Asset, and Market Approaches,”
   Academy of Certified Valuators and Analysts – India Chapter, Webinar, April 14, 19, 22, 2023.
• 2 hrs CPE, Presenter, “SOAP for BV | Starting off Clean in Business Valuations: Standards of Value,
   Objectivity, Assumptions, Professional Standards,” American College of Business Court Judges, Webinar,
   April 20, 2023.
• 1 hr CPE, Panelist, Around the Valuation World – Current Issues and Litigation Testimony, NACVA, Webinar,
   April 17, 2023
• 2 hrs CPE, Guest-Host, “Complex Financial Litigation 2023: #2 Nuts & Bolts of Lost Profits Cases,” Financial
   Poise, Webinar, March 30, 2023.
• 2 hrs CPE, Instructor, “Industry Standards Update,” National Association of Certified Valuators and Analysts,
   Webinar, February 16, 2023.
• 4 hrs CPE, Authoring and Presenting “A Sock & a Sock or a Sock & a Shoe? How Not to be Hidebound in
   Valuation and Financial Forensics,” NACVA, NACVA and the CTI’s 2022 Business Valuation and Financial
   Litigation Conference, Park City, Utah, December 15, 2022.
• 4 hrs CPE, Authoring and Presenting “Building the Clock vs. Telling the Time: Drafting an Effective Litigation
   Report,” NACVA, NACVA and the CTI’s 2022 Business Valuation and Financial Litigation Conference, Park
   City, Utah, December 15, 2022.
• 2 hrs CPE, “Around the Valuation World,” NACVA, Morning Show from the NACVA and the CTI’s 2022
   Business Valuation and Financial Litigation Conference, Park City, Utah, December 15 and 16, 2022.
• 63 hrs, CPE Instructor, IRS Business Valuation Training Center “Application of the Income and Asset
   Approaches,” “Market Approach and Facts to Conclusions,” “Case Studies, Applying Principles and
   Techniques,” and “Approaches, Methods and Review”; January 11, 18, 28, February 25, September 26, 28,
   29, October 3, 5, 24, December 5, 6, 7, 8, 2022.


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•   55 hrs, CPE, Instructor, “CVA Case Study Online Report Writing Clinic, Parts I-VII” - some days have multiple
    clinics: January 4, 11, 18, 25, February 1, 15, 22, March 8, 15, 29, April 5, 12, 26, May 3, 10, 24, June 21,
    July 1, 5, 12, 19, 26, August 2, 9, 16, 23, 30, September 6, 13, 20, 27, October 4, 11, 18, 25, November 1,
    15, 22, 29, December 6, 2022.
•   28 hrs, CPE, Instructor, “BVTC Training Center – “Application of the Income and Asset Approaches,” “Market
    Approach and Facts to Conclusions,” “Case Studies, Applying Principles and Techniques,” and “Approaches,
    Methods and Review”: Online, November 30 – December 2, 2022.
•   28 hrs, CPE, Instructor, “BV Fundamentals, Techniques, and Theory”; “Application of the Income & Asset
    Approach”; and “The Market Approach – with Case Analysis,” European Association of Certified Valuators
    and Analysts (EACVA) International Valuation Training, Frankfurt, Germany, November 7-9, 2022.
•   2 hrs, CPE, Instructor, “Diving into Deals: Gain a Deeper Understanding of SME Transaction Databases and
    how to use them Effectively” European Association of Certified Valuators and Analysts (EACVA) International
    Conference, Vienna, Austria November 4, 2022.
•   8 hrs CPE, Instructor, “Industry Standards Update,” National Association of Certified Valuators and Analysts,
    Webinar, February 22, May 17, July 13, September 20, 2022.
•   19 hrs, CPE, Instructor, “BVTC Training Center – “Market Approach and Facts to Conclusions,” “ Case
    Studies, Applying Principles and Techniques,” and “Approaches, Methods and Review”: Online, August 24-
    25, 2022.
•   1 hr, CPE, Guest Panelist, “Hardball with Hitchner” (cost of capital, growth rates, issues valuing very small
    businesses, company specific risk, and Daubert challenges), NACVA and the CTI’s 2022 Business Valuation
    and Financial Litigation Hybrid and Virtual Super Conference, August 19, 2022, Salt Lake City, Utah.
•   2 hrs, CPE, Guest Speaker with Michael Molder and T.J. Liles-Tims, “A Sock & a Sock, or a Shoe & a Shoe?
    How not to be Hidebound in Financial Forensics”, NACVA and the CTI’s 2022 Business Valuation and
    Financial Litigation Hybrid and Virtual Super Conference, August 18, 2022, Salt Lake City, Utah.
•   2 hrs, CPE, Guest Speaker, “Navigating Professional Standards in Financial Forensics Matters”, NACVA and
    the CTI’s 2022 Business Valuation and Financial Litigation Hybrid and Virtual Super Conference, August 18,
    2022, Salt Lake City, Utah.
•   1 hr, CPE Instructor, Around the Valuation World, “Litigation and Forensic Standards for the Expert Witness”,
    online, June 20, 2022.
•   28 hrs, CPE, Instructor, “BVTC Training Center – “Application of the Income and Asset Approaches,” “Market
    Approach and Facts to Conclusions,” “Case Studies, Applying Principles and Techniques,” and “Approaches,
    Methods and Review”: Sandy, UT, June 15-17, 2022.
•   15 hrs, CPE Instructor, “Financial Litigation Clinic: Commercial Damages and Lost Profits”, Consultants
    Training Institute, online, June 6-10, 2022.
•   28 hrs, CPE, Instructor, “BVTC Training Center – “Application of the Income and Asset Approaches,” “Market
    Approach and Facts to Conclusions,” “Case Studies, Applying Principles and Techniques,” and “Approaches,
    Methods and Review”: May 18, 19, 20 (Online), 2022.
•   3 hrs, CPE Instructor, Teaching India Group, “Facts to Conclusions,” and “M&A”. March 18, 2022.
•   4 hrs, CPE Instructor/Panelist, “Examining Crosshairs of Covid-19 Pandemic: Business Valuation, Financial
    Forensics, Fraud, and the Courts,” American Accounting Association, Forensic Accounting Section, 2022
    Research Conference, March 5, 2022.
•   2 hrs CPE, Instructor, “EACVA CVA Exam Preparation,” EACVA, January 27, 2022.
•   74 hrs, CPE, Instructor, “CVA Case Study Online Report Writing Clinic, Parts I-VII” - some days have multiple
    clinics: January 5, 12, and 19; February 2, 10, 16, 23; March 2, 9, 16, 23, 30; April 6, 13, 20, 27; May 4, 11,
    25; June 1, 8, 15, and 29; July 6, 13, 20, and 27; August 3, 10, and 17, 24, 31; September 7, 14, 21, 22, and
    28,; October 5, 12, 19, and 26; November 2, 9, 16, 23, and 30; and December 7, 14, 21, and 28, 2021.
•   60 hrs, CPE, Instructor, The CVA Certification Program: “Application of the Income and Asset Approach” and
    “The Market Approach: Exploring the Pricing Component,” and “Case Analysis;” The Consultant’s Training
    Institute, September 29-30, and December 13-17 (Ft. Lauderdale, FL), 2021.
•   18 hrs CPE, Instructor, “Industry Standards Update, ”National Association of Certified Valuators and
    Analysts, Webinar, January 19, May 18, June 15, and July 20, August 17, September 21, and October 5 and
    26; November 16; and December 14, 2021.

                                                                 Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
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•   50 hrs, CPE Instructor, Internal Revenue Service Business Valuation Training Center “Application of the
    Income and Asset Approaches,” “Market Approach and Facts to Conclusions,” “ Case Studies, Applying
    Principles and Techniques,” October 12, 14, 18, 21, 25; November 1, 15, and December 7, 8, 9, 10, 2021.
•   45 hrs, CPE, Instructor, “Fundamentals, Techniques and Theory”, and “Application of the Income and Asset
    Approach”, The European Consultant’s Training Institute, Frankfurt, Germany, December 6 -10, 2021.
•   4 hrs, CPE Instructor, NACVA State Chapter Meeting “Living with COVID – Part 1: Dealing with COVID
    Anomalies in our Valuation Reports; Part 2: Dealing with COVID Anomalies in our Practices” October 28,
    2021.
•   4.5 hrs, CLE Co-Presenter with TJ Liles-Tims, “Valuing Assets in Divorce and Presentation to the Court,”
    Oklahoma Bar Association Family Law Section CLE, Oklahoma City, OK, October 22, 2021.
•   20 hrs, CPE, Instructor, The CVA Certification Program: “Application of the Income and Asset Approach” and
    “The Market Approach: Exploring the Pricing Component,” and “Case Analysis;” The Consultant’s Training
    Institute, September 29-30, 2021.
•   1 hr, CPE, Panelist, SE Chapter of Business Appraisers, “Market Forces in Business Growth Measuring
    Passive Appreciation,” September 23, 2021.
•   2 hrs, CPE, Guest Speaker, “Best Practices: Valuing Real Estate Development Companies,” NACVA and the
    CTI’s 2021 Business Valuation and Financial Litigation Hybrid Super Conference, June 25, 2021, Park City,
    Utah.
•   2 hrs, CPE, Guest Panelist, “Hardball with Hitchner”, with Roger Grabowski and Jim Hitchner, NACA and the
    CTI’s 2021 Business Valuation and Financial Litigation Hybrid Super Conference, June 25, 2021, Park City,
    Utah.
•   2 hrs CPE, Instructor, “EACVA Exam Study Best Practices,” European Association of Certified Valuators and
    Analysts, Webinar, April 15, 2021.
•   45 hrs, CPE, Instructor, “Fundamentals, Techniques and Theory”, and “Application of the Income and Asset
    Approach”, The European Consultant’s Training Institute, Berlin, Germany, March 3-9, 2021.
•   30 hrs, CPE, The CVA Certification Program: "Income and Asset Approach-Application”, The Market
    Approach”, “Case Analysis” “Afterhours Exam Study Session “and “The Valuation Process: Facts to
    Conclusion”, The Consultant’s Training Institute, February 24-26, 2021.
•   65 hrs, CPE, Instructor, “CVA Case Study Online Report Writing Clinic, Parts I-VII” - some days have multiple
    clinics: January 7, 21 & 28, February 4, 11, 18 & 25, March 3, 10, 17, 24 & 31, April 7, 14, 21 & 28, May 5,
    12, 19 & 26, June 2, 9, 23 & 30, July 7, 14 & 21, 28; August 4, 11, 18, 23; September 1, 8, 11, 15, 22, 29;
    October 6, 13, 27; November 10, 17, 24; and December 1, 8, 15, 22, 29, 2020.
•   2 hrs, CPE, Around the Valuation World Presenter, “Testing, Validating, and Supporting CSRP: Does CSRP
    create an Illusion of Precision”, NACVA, December 14, 2020.
•   18 hrs, CPE, the CVA Certification Program: “Income and Asset Approach – Application”, “Special Purpose
    Valuations”, and “Facts to Conclusions”, The Consultant’s Training Institute, December 9 and 11, 2020.
•   4 hrs CPE, Speaker, “Testing, Validating, and Supporting Company Specific Risk – Do we have a
    Philosopher’s Stone?”, NACVA and CTI’s 2020 Financial Valuation Virtual Super Conferences, November 19
    and December 10, 2020.
•   2 hrs CPE, Instructor, “Industry Standards Update,” National Association of Certified Valuators and Analysts,
    Webinar, December 1, 2020.
•   10 hrs, CPE, the CVA Certification Program: “Income and Asset Approach – Application”, The Consultant’s
    Training Institute, November 18, 2020.
•   15 hrs CPE, Instructor, “Commercial Damages and Lost Profits Workshop,” The Consultant’s Training
    Institute, November 2 – 6, 2020. Course creator and instructor.
•   2 hrs CPE, Instructor, “Industry Standards Update,” National Association of Certified Valuators and Analysts,
    Webinar, September 15, 2020.
•   10 hrs, CPE, the CVA Certification Program: “Income and Asset Approach – Application”, The Consultant’s
    Training Institute, August 26, 2020.
•   20 hrs, CPE, The CVA Certification Program: "Income and Asset Approach-Application”, The Market
    Approach”, “Case Analysis “Afterhours Exam Study Session “and “The Valuation Process: Facts to
    Conclusion”, The Consultant’s Training Institute, August 12-14, 2020.

                                                                Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
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•   2 hrs CPE, Interview, “Practice Developer INSIDER” webinar series, Interview conducted by Rod Burkert,
    August 14, 2020.
•   2 hrs CPE, Speaker, “Testing, Validating, and Supporting Company Specific Risk – Do We Have a
    Philosopher’s Stone?”, NACVA and the CTI’s 2020 Business Valuation and Financial Litigation Virtual Super
    Conference, June 18, 2020 and August 6, 2020.
•   2 hrs CPE, Instructor, “Industry Standards Update,” National Association of Certified Valuators and Analysts,
    Webinar, August 5, 2020.
•   34 hrs, CPE, The CVA Certification Program: "The Market Approach”, “Case Analysis”, “Special Purpose
    Valuations” “Afterhours Exam Study Session “and “The Valuation Process: Facts to Conclusion”, The
    Consultant’s Training Institute, July 27-30, 2020.
•   2 hrs, CPE, Panelist, “COVID-19’s Impact to the Global Economy and Market Sectors,” A worldwide virtual
    panel, July 22, 2020.
•   2 hrs CPE, Instructor, “Industry Standards Update,” National Association of Certified Valuators and Analysts,
    Webinar, June 17, 2020.
•   2 hrs CPE, Instructor, “Industry Standards Update,” National Association of Certified Valuators and Analysts,
    Webinar, June 2, 2020
•   2 hrs CPE, “COVID-19 Impacts to Business Valuation and Forensic Accounting – Considerations Affecting
    Various Valuation Purposes, Industry Sectors, and Assumptions,” Panelist, NACVA/CTI, April 29, 2020.
•   2 hrs CPE, “COVID-19 Impacts to Business Valuation and Forensic Accounting – Ex-Ante, Ex-Post and
    Defending Conclusions of Value in Court,” Panelist, NACVA/CTI, April 27, 2020.
•   2 hrs CPE, “COVID-19 BV and Forensic Accounting Considerations – Forecasting, Cash Flows, and Risk-
    How Do We Estimate These in the Midst of COVID-19?,” NACVA/CTI, April 22, 2020.
•   2 hrs CPE, “COVID-19 Impacts to Business Valuation and Forensic Accounting,” Panelist, NACVA/CTI, April
    20, 2020.
•   2 hrs, CPE Speaker, “COVID-19 Impacts to Business Valuation and Forensic Accounting”, NACVA/CTI, April
    15, 2020.
•   2 hrs, CPE, Speaker, “Virtual Town Hall Impact of Covid-19 to Global Business Valuation and Appraisal”,
    hosted by American Society of Appraisers, April 8, 2020.
•   20 hrs, CPE, The CVA Certification Program: "The Market Approach”, “Case Analysis”, “Special Purpose
    Valuations” “Afterhours Exam Study Session “and “The Valuation Process: Facts to Conclusion”, The
    Consultant’s Training Institute, March 26-27, 2020.
•   8 hrs, CPE, “MAFF Foundations of Financial Forensics Certification Workshop,” Online Learning, National
    Association of Certified Valuators and Analysts, March 23, 2020.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    January 17, 2020.
•   1 hr, “Tired of Taxes”, Consultant’s Training Institute, YouTube Live, January 8, 2020.
•   29 hrs, CPE Instructor, “CVA Case Study Online Report Writing Clinic, Parts I-VII” - some days have multiple
    clinics: January 16, 23, 30; February 5,12,26; March 5, 12,19; June 11, 18, 19; July 16 & 30; and August 6,
    13, 20, 27, 29; September 3, 17; and December 17, 2019.
•   17 hrs, CPE, Instructor, "The Market Approach”, “Case Analysis”, “Special Purpose Valuations” and “The
    Valuation Process: Facts to Conclusion”, The Consultant’s Training Institute, Ft. Lauderdale, Florida,
    December 12-13, 2019.
•   25 hrs, CPE, Instructor, “Fundamentals, Techniques and Theory”, and “Application of the Income and Asset
    Approach”, The European Consultant’s Training Institute, Berlin, Germany, December 9-11, 2019.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    December 6, 2019.
•   2 hrs, CPE, Speaker, “Crossing the Bridge to Liquidity – DLOM and DLOL”, EACVA’s 13th Business
    Valuation Conference, Berlin, Germany, December 5, 2019.
•   4 hrs, CPE, Author, “Crossing the Bridge to Liquidity – DLOM and DLOL”, for EACVA’s 13th Business
    Valuation Conference, Berlin, Germany, December 4, 2019.



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•   25 hrs, CPE, Instructor, “Application of the Income and Asset Approach”, "The Market Approach”, “Case
    Analysis”, “Special Purpose Valuations” and “The Valuation Process: Facts to Conclusion”, The Consultant’s
    Training Institute, San Diego, California, November 20-22, 2019.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    November 18, 2019.
•   25 hrs, CPE Instructor, “BV Fundamentals, Techniques, and Theory”; “Application of the Income & Asset
    Approach”; The Consultant’s Training Institute, Houston, Texas, November 11 - 13, 2019
•   25 hrs, CPE, Instructor, “Application of the Income and Asset Approach”, "The Market Approach”, “Case
    Analysis”, “Special Purpose Valuations” and “The Valuation Process: Facts to Conclusion”, The Consultant’s
    Training Institute, Philadelphia, Pennsylvania, September 25-27, 2019.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    September 23, 2019.
•   1 hr, Presenter, “Build, Buy or Franchise: Complicating Factors & Value Drivers in the Food Service Industry,
    ” NACVA CO/WY State Chapter Meeting, August 22, 2019.
•   1 hr, CPE Instructor, “NACVA University’s CVA Credentialing Program”, YouTube Live, August 21, 2019.
•   40 hrs, CPE Online Instructor, “BV Fundamentals, Techniques, and Theory”; “Application of the Income &
    Asset Approach”; and “The Market Approach – with Case Analysis”, “Special Purpose Valuations” and “The
    Valuation Process: Facts to Conclusion”, The Consultant’s Training Institute, Online Week-long webinar, July
    29 – August 2, 2019.
•   2 hrs, CPE Instructor, Industry Standards and Ethics, July 29, 2019.
•   1 hr, CPE Panelist, Hardball with Hitchner – Solid Answers to your Tough Questions, Jim Hitchner and
    Panelists, Salt Lake City, UT, June 7, 2019.
•   1 hr, CPE Instructor, Business Valuation Benchmarking Techniques—Tools and Tips on How to Support and
    Enhance Your Business Valuation, with Marc Bello, Salt Lake City, UT, June 7, 2019.
•   2 hrs, CPE Instructor, Crossing the Bridge to Liquidity – DLOM and DLOL, Salt Lake City, UT, June 7, 2019.
•   28 hrs, CPE, Instructor, “BV Fundamentals, Techniques, and Theory”; “Application of the Income & Asset
    Approach”; and “The Market Approach – with Case Analysis,” European Association of Certified Valuators
    and Analysts (EACVA) International Valuation Training, Berlin, Germany May 6-8, 2019.
•   18 hrs, CPE, Instructor, “BV Fundamentals, Techniques, and Theory”; The Consultant’s Training Institute,
    Salt Lake City, Utah January 28- Feb 1, 2019.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    December 18, 2018.
•   25 hrs, CPE, Instructor, “Application of the Income and Asset Approach”, "The Market Approach”, “Case
    Analysis”, “Special Purpose Valuations” and “The Valuation Process: Facts to Conclusion”, The Consultant’s
    Training Institute, Ft. Lauderdale, Florida, December 12-15, 2018.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    November 26, 2018.
•   25 hrs, CPE, Instructor, “Application of the Income and Asset Approach,” "The Market Approach,” “Case
    Analysis,” “Special Purpose Valuations” and “The Valuation Process: Facts to Conclusion,” The Consultant’s
    Training Institute, San Diego, California, November 14-16, 2018
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    October 11, 2018.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    September 24, 2018.
•   32 hrs, CPE, Instructor, “BV Fundamentals, Techniques, and Theory”; “Application of the Income & Asset
    Approach”; and “The Market Approach – with Case Analysis”, European Association of Certified Valuators
    and Analysts (EACVA) International Valuation Training, Frankfurt, Germany July 16 – 18, 2018.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar, July 9,
    2018.
•   25 hrs, CPE, Instructor, “Application of the Income and Asset Approach”, "The Market Approach”, “Case
    Analysis”, “Special Purpose Valuations” and “The Valuation Process: Facts to Conclusion”, The Consultant’s
    Training Institute, San Diego, California, June 20 - 22, 2018.

                                                                Lari B. Masten, MSA, CPA/ABV/CFF, CVA, MAFF, ABAR
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•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar, June
    19, 2018.
•   3 hrs, CPE Instructor, “Laws, Courts and Dispute Resolution,” The Consultants’ Training Institute Webinar
    Series on Financial Forensics, 2/8/2018.
•   38 hrs, CPE Instructor, “CVA Case Study Online Report Writing Clinic, Parts I-VI” - some days have multiple
    clinics: January 16,23,30/2018; February 6,13, 20, 27/2018; March 6,13/2018; May 8,22,29/2018; June 19,
    2018; July 10,24,31, 2018; August 7,14,21,28, 2018; September 4,11,25, 2018; October 2,9,23, 2018;
    November 6,20, 2018; December 4,11, 2018.
•   17 hrs, CPE, Instructor, "The Market Approach,” “Case Analysis,” “Special Purpose Valuations” and “The
    Valuation Process: Facts to Conclusion,” The Consultant’s Training Institute, Las Vegas, Nevada, January
    25-26, 2018.
•   2 hrs, “Industry Standards Update,” National Association of Certified Valuators and Analysts, Webinar,
    January 19, 2018.

Participant – most recent 5 years
• 1 hr CPE, “ASA Virtual Townhall Meeting – Changes in Government Structure,” ASA, Johnnie White, April
    27, 2023
• 2 hrs CPE, “The Business of Expert Witnessing: Part 1,” Expert Institute, Webinar, April 27, 2023.
• 8 hrs CPE, “Around the Valuation World,” NACVA, January 23, February 27, March 20, April 17, 2023.
• 33 hrs, CPE, NACVA and the CTI’s 2022 Business Valuation and Financial Litigation Hybrid and Virtual
    Super Conference, Park City, Utah, December 14 – 16, 2022.
• 16hrs, CPE, “International EACVA Conference,” European Association of Certified Valuators and Analysts
    (EACVA), Various presenters, Vienna, Austria November 3-4, 2022.
• 17 hrs CPE, “Around the Valuation World,” NACVA, January 24, February 27, March 21, April 18, May 23,
    June 20 (1hr presented other hour), July 18, August 15, and October 17, 2022.
• 6 hr CPE, Colorado/Wyoming State Chapter Event, September 22, 2022.
• 1 hr, CPE, “How to Dial in your Website and Get it Right – for Consulting Practices”, Hinge Marketing, online,
    September 7, 2022.
• 30 hrs, CPE, NACVA and the CTI’s 2022 Business Valuation and Financial Litigation Hybrid and Virtual
    Super Conference, Salt Lake City, Utah, August 17-19, 2022.
• 2 hr PA, ASA State Chapter Meeting, Greenwood Village, CO, May 16, 2022.
• 1 hr CPE, “SPAC Valuation Considerations,” ASA, by Steve Sprenger, online, January 20, 2022.
• 8 hrs, CPE, NACVA CO/WY State Chapter Meeting, Case Analysis, Calculation Reports, Golden, CO,
    December 2, 2021.
• 1 hr, CPE, ASA State Chapter Meeting, Corporate Governance Impact on Value, Denver, CO, November 17,
    2021.
• 4 hrs, CPE, The Accountant Lawyer Alliance “Neuroscience for Business,” presented by Dr. Mark Williams,
    October 8, 2021.
• 1 hr, CPE, ASA Denver Chapter “Key Factors in Valuing Beverage Alcohol Businesses,” presented by Derek
    Groff, September 15, 2021.
• 16 hrs CPE, “Around the Valuation World,” NACVA, January 25, February 22, March 15, April 19, May 17,
    June 14, July 19, and August 16, 2021.
• 2 hrs CPE, “Fireside Chat with Leading Valuation Experts – The Alpha”, Valutico (Austria), June 1, 2021.
• 2 hrs CPE, “The Impact of Covid-19 on the Real Estate Sector”, Vallit Advisors, May 27, 2021.
• 2 hrs CPE, “Pluris Tips and Tricks”, CTI, May 21, 2021.
• 2 hrs CPE, “S-Corp Taxation Issues: Estate of Jones” by Chris Treharne, ASA Denver Chapter Meeting, April
    28, 2021.
• 2 hrs CPE, “Collaborative Divorce in Colorado”, ASA Denver Chapter Meeting, March 9, 2021.
• 2 hrs CPE, “Commercial Damages”, ASA Denver Chapter Meeting, January 12, 2021.
• 16 hrs, CPE, NACVA and CTI’s Financial Valuation Virtual Conference, December 7-11, 2020.
• 18 hrs, CPE, NACVA and CTI’s Financial Valuation Virtual Conference, November 16-20, 2020.


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•   2 hrs CPE, “Around the Valuation World,” NACVA, November 16, 2020.
•   1 Hr CPE, “Planning and Strategies for Business Owners Contemplating a Sale”, Expert Webcast, November
    12, 2020.
•   32 hrs, CPE, NACVA and CTI’s Annual Consultants’ Conference, Virtual, November 2-6, 2020.
•   1 hr CPE, “Hardball with Hitchner - Solid Answers to Your Tough Questions,” CTI, August 7, 2020.
•   2 hrs CPE, “Angel Eyes – Valuing the Start-up Company from the Perspective of the Investors,” CTI August
    7, 2020.
•   1 hr CPE, “Keeping up with the Joneses – Jones V. Commissioner: More than just Tax Affecting,” CTI August
    7, 2020.
•   2 hrs CPE, “The Baby Boom Tsunami of Exiting Owners has Reached the Shoreline - How to Position Your
    Practice to Address the Marketplace Opportunity,” CTI, August 7, 2020.
•   2 hrs CPE, “ Vision 2020 – The Future of Our Profession and Your Role in it,” CTI August 7, 2020.
•   1 hrs CPE, “Around the Valuation World – Morning Show,” NACVA, August 6, 2020.
•   2 hrs CPE, “Beyond Your Practice in the New Decade – Your Path to a Practice that Thrives While Giving
    You a Life You Want,” CTI, August 6, 2020.
•   1 hr CPE, “Hardball with Hitchner - Solid Answers to Your Tough Questions,” CTI, August 6, 2020
•   2 hrs CPE, “Litigation Case Study – Explaining and Presenting Your Cost of Capital Estimates,” CTI, August
    6, 2020.
•   2 hrs CPE, “Solid Numbers, Cutting Edge Methodology, and Thorough Research – Are they Enough to
    Persuade the Judges?” CTI, August 4, 2020
•   2 hrs CPE, “Around the Valuation World,” NACVA, August 3, 2020.
•   2 hrs CPE, “Cloud Migration Best Practices,” CTI, August 3, 2020.
•   2 hrs CPE, “Around the Valuation World,” NACVA, July 20, 2020.
•   34 hrs, CPE, NACVA and CTI’s Annual Consultants’ Conference, Virtual, June 15-19, 2020.
•   2 hrs CPE, “Around the Valuation World,” NACVA, June 8, 2020.
•   1 hr CPE, “Maximizing Efficiency and Standardization (Post COVID-19) in a Valuation Practice,” NACVA,
    May 19, 2020.
•   2 hrs CPE, “Around the Valuation World,” NACVA, May 18, 2020.
•   1 hr CPE, “Getting Your Business Past COVID-19: Resolving Disputes through One Stop Mediation,” Expert
    Webcast, May 13, 2020.
•   2 hrs CPE, “Impact of COVID-19”, Front Range Business Group, May 7, 2020.
•   2 hrs CPE, “Valuation and COVID-19 Update: BVR Townhall and Q&A,” BVR, May 6, 2020.
•   2 hrs CPE, “COVID-19 Impacts to Business Valuation and Forensic Accounting” Part 2, NACVA April 29,
    2020.
•   2 hrs CPE, “Impact of COVID-19 to Business Interruptions and Lost Profits,” NACVA, April 28, 2020.
•   2 hrs CPE, “COVID-19 Impacts to Business Valuation and Forensic Accounting,” NACVA, April 27, 2020.
•   2 hrs CPE, “Lessons Learned From Around the World About Managing Courts in a Pandemic,” National
    Judicial College, April 23, 2020.
•   1 hr CPE, “Best Practices in Transactional Due Diligence,” Expert Webcast, April 23, 2020.
•   1 hr CPE, “Pivoting Business Models in Response to COVID-19,” BVR, April 23, 2020.
•   1 hr CPE, “Built for BV: The New Platform for Guideline Public Company Comps,” BV Resources, April 21,
    2020.
•   1 hr CPE, “Financial Triage for COVID-19,” NACVA, April 21, 2020.
•   2 hrs CPE, “Around the Valuation World,” NACVA, April 20, 2020.
•   1 hr CPE, “Coronavirus: Cost of Capital Considerations in the Current Environment,” Duff & Phelps Webinar,
    April 16, 2020.
•   1 hr CPE, “Countdown to ASC 842 compliance: Top five lessons learned from real world implementations,”
    Accounting Today Webinar, April 16, 2020.
•   1 hr CPE, “Business Valuation Roundtable, Coaching Call: Pivot – Protect – Profit,” Rod Burkert, April 16,
    2020.



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•   1 hr CPE, “The Future Isn’t What it Used to be: Managing Your Career Momentum,” John Borrowman, April
    10, 2020.
•   1 hr CPE, “Get The Most Mileage Out of LinkedIn (Part 2),” Rod Burkert, April 10, 2020.
•   1 hr CPE, “Colorado Accounting Faculty Virtual Round Table,” Colorado Society of CPAs, April 10, 2020.
•   2 hr CPE, “Impact of Coronavirus on Business Valuations,” Front Range Business Group, April 8, 2020.
•   2 hr CPE, “Extreme Uncertainty: How Valuation Experts Should Respond to Today’s Volatility and Risk,” BV
    Resources, April 7, 2020.
•   1 hr CPE, “Coronavirus Update—Impact on Valuing Private Investments on March 31, 2020,” Duff & Phelps
    Webinar, March 31, 2020.
•    2 hrs CPE, “Around the Valuation World,” NACVA, March 16, 2020.
•   2 hrs CPE, “Around the Valuation World,” NACVA, February 24, 2020.
•   2 hrs, CPE, “CRE 702 and Admission of Scientific and Non-scientific Evidence,” Judge Ed Moss; Front
    Range Business Group, February 19, 2020.
•   2 hrs CPE, “Around the Valuation World,” NACVA, January 27, 2020.
•   1 hr CPE, “SSFS No. 1 - The New Forensic Standards”, AICPA Webcast, January 14, 2020.
•   2 hrs CPE, “Year-End Economic Update”, William Vincent, Robb Stone, and Steven Warren; Front Range
    Business Group, December 18, 2019.
•   2 hrs CPE, “Around the Valuation World,” NACVA, December 16, 2019.
•   14 hrs, CPE, Participant, EACVA’s 13th Business Valuation Conference, Berlin, Germany, December 5-6,
    2019.
•   4 hrs CPE, Ethics for Accountants CO, Beacon Hill, Online, November 24, 2019.
•   4 hrs CPE, Texas Ethics, Beacon Hill, Online, November 23, 2019.
•   2 hrs, CPE, “Around the Valuation World,” NACVA, November 18, 2019.
•   8 hrs, CPE, “Michael Gregory on DLOM, Conflict Resolution, Diversity, and Managing Your Time” CO/WY
    State Chapter Meeting, Denver, CO, October 29, 2019.
•   2 hrs, CPE, “Around the Valuation World,” NACVA, October 21, 2019.
•   2 hrs, CPE, “Around the Valuation World,” NACVA, September 16, 2019.
•   3 hr, CPE NACVA CO/WY State Chapter Meeting, August 22, 2019.
•   2 hrs, CPE, “Around the Valuation World,” NACVA, August 19, 2019.
•   2 hrs, CPE, “Around the Valuation World,” NACVA, July 15, 2019.
•   2 hrs, CPE, “Around the Valuation World,” NACVA, June 17, 2019.
•   28 hrs, CPE, NACVA and CTI’s Annual Consultants’ Conference, Salt Lake City, UT, June 5-8, 2019.
•   2 hrs, CPE, “Trust Interest in Colorado Divorce,” Bridget Sullivan, Rob Levis, Linda Buckley, and Dan
    Grosdidier; Front Range Business Group, April 17, 2019.
•   2 hrs, CPE, “Allocation of Equity Value in Complex Capital Structure on the Value of Common Stock,” Kristine
    Roper, Front Range Business Group, December 19, 2018.
•   2 hrs, CPE, “Around the Valuation World,” NACVA Webinar, December 17, 2018.
•   4 hrs, CPE, “Valuing Businesses in the Construction Industry,” NACVA State Chapter Meeting, November 29,
    2018.
•   1 hr, CPE, “Cannabis Real Estate Investment Opportunities, Strategies in Valuation,” Duane Morris,
    November 1, 2018.
•   4 hrs, CPE, “Business Valuation Considerations,” NACVA State Chapter Meeting, October 25, 2018.
•   2 hrs, CPE, “Utilizing the new Deal Stats Transaction Database,” Jeremy Harkness, Front Range Business
    Group, October 17, 2018.
•   2 hrs, CPE, “Around the Valuation World,” NACVA Webinar, October 15, 2018.
•   4 hrs, CPE, “The New Duff & Phelps Cost of Capital Navigator” and “Navigating the New Tax Law: The
    impact of the 2017 Tax Cuts and Jobs Act”; NACVA State Chapter Meeting, August 23, 2018.
•   2 hrs, CPE, “Around the Valuation World,” NACVA Webinar, August 20, 2018.
•   2 hrs, CPE, “REITS Assets Tests, Checkpoint Learning,” Pilot Tester, August 20, 2018.
•   2 hrs, CPE, “The New Duff and Phelps Cost of Capital Navigator, How Does This Thing Work?”, Front Range
    Business Valuation Group, Andy Baum, August 15, 2018.

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•   1 hr, CPE, “Dealstats: Market Data Evolved,” BVR Webinar, July 11, 2018.
•   15 hrs, CPE – USPAP Course, online and exam, June 26, 2018.
•   1 hr, CPE, “Cannabis 105: Investing in Cannabis”, Amy Wolf, May 15, 2018.
•   2 hrs, CPE 2018-120: Impact of New Tax Law on BV, Jim Hitchner, May 15, 2018.
•   1 hr, CPE, “Investment, M&A, Tax and Valuation Issues in Cannabis”; Expert Webcast; May 9, 2018.
•   1 hr, CPE, Cannabis 104: Marijuana in the Workplace – What employers need to know, Lori Ocheltree, April
    17, 2018.
•   2 hrs, CPE, “TCJA – Tax Changes Impacting Divorce Valuations in Colorado”; Front Range Business
    Valuation Study Group, Denver, CO April 10, 2018.
•   1 hr, CPE, Hot Issues in Business Valuation with Jay Fishman and Jim Hitchner, March 22, 2018.
•   1 hr, CPE, Cannabis 103: Real Estate – Practical Considerations for Owners, Operators and Investors in
    Cannabis Real Property, Clint Callan, March 20, 2018.
•   1 hr, CPE Cannabis 102: Intellectual Property, Trademark and Branding, and Marketing, Vickie G. Norton,
    February 27, 2018.
•   2 hrs CPE, “Probable Effects of the Tax Cut & Jobs Act (“TCJA”) on Business Valuation,” Presented by Kevin
    Call and Gregory T. Clifton; Front Range Business Valuation Study Group, Denver, CO, February 21, 2018.
•   2 hrs, CPE, “Around the Valuation World,” NACVA Webinar, January 22, 2018.
•   1 hr, CPE The Cost of Capital Navigator, James Harrington, January 17, 2018.

 * Specific Focus Areas in Advanced Topics:
• Advanced Appraisal Issues &          • Apparel/Textile industry              • Appraisal of Small Businesses and
  Techniques                                                                     Professional Practices
• Auctioneers                          • Estate and Gift issues for Business   • Purchase Price Allocation
• Biotechnology Valuations                Valuation Experts                    • Real Estate Development,
• Business Valuations: Effective       • Farm & Ranch Estate Planning            Brokerage and Property
  Litigation Support & Expert Witness    Techniques                              Management
  Testimony                            • Financial Forensics                   • Software
• Buy/Sell Agreements                  • Franchise Structures and Analysis     • Start-up Technologies and
• Calculating Economic Damages &       • Fraud & Forensics                       Operations
  Lost Profits                         • Goodwill Impairment Analysis          • Taxation & Forensic Examinations
• Cannabis, CBDs and Hemp              • Health Care and Life Sciences and       in Divorce
• Commercial and Residential             related technologies                  • Tiered Entities
  Construction                         • Intellectual Property Issues          • Valuation issues in Bankruptcy
• Derivative Instruments               • Insurance and Risk Management         • Valuation Issues in Family-Owned
• Developing Discount and              • Litigation Support Services             Businesses
  Capitalization Rates                 • Manufacturing Operations              • Value Enhancement Pattern
• Distribution Systems                 • Mystery Shopping Services -             Recognition for Detecting Financial
• Divorce Forensic Accounting            Worldwide                               Statement Irregularities
• Electrical Contractors               • Natural Resources - Oil, Gas,         • Valuing Service Businesses
• Employment/Personal                    Mineral, & Precious Metal             • Valuing Technology Companies
  Injury/Discrimination cases -        • Patent and Copyright Valuation
  damages                                issues
• Executive Compensation and           • Physician Practice Valuation
  Influence on Value                   • Professional Practice Valuations




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                                          APPENDIX C: MASTEN TESTIMONY
                                                (a more complete listing is provided at Appendix B above)

                                                     Lari B. Masten, MSA, CPA/ABV/CFF, CPVA, CVA, MAFF, ABAR
                                                         Federal and Colorado Rules of Civil Procedure, Rule 26
                                                                  List of Cases Testified In Deposition or
                                                           Trial In The Preceding Four Years as of May 5, 2023
   Name of Case                                                   Engagement          Dates     Court and Case Number           Retained by      Deposition Testimony
   WILLIAM R. WILLIS, as an individual and
   derivatively as a Shareholder of W.C. STRIEGEL,
   INC., a Colorado Corporation
   v.                                                       Investigation of Civil
   Defendants: W.C. STRIEGEL, INC., a Colorado           Theft, Special Damages,
   Corporation; LARRY STRIEGEL, an individual; TERI           General Damages,                                             Plaintiff's Attorney:
   WILCZEK, an individual; DEVEN STRIEGEL, an              Restitution, Economic                District Court, Rio Blanco Michelle Schindler;
   individual; KRIS ERIK STRIEGEL, an individual; and            Damages, and       11/17, 18, County, State of Colorado, Ferguson Schindler
   RANDY STRIEGEL, an individual                         Consequential Damages and 22/2022 Case No. 2019CV30032                   Law Firm          No         Yes
   Plaintiff: Richard Lang                                                                                                   Cross Claim and
   v.                                                                                                                           Third-party
   Defendants and Cross Claimants: Timothy Flaherty,                                                                            Defendants'
   Timothy Kneen, Carl Vertuca, and PdC, LLC (“PdC”),                                                                       Attorneys: Richard
   And Third Party Plaintiff: Riviera Country Club S. de                                                                   B. Podoll, Attorney,
   R.L. de C.V. (“RCC”)                                                                        Denver District Court, City Robert A. Kitsmiller,
   v.                                                                                            and County of Denver,            Attorney
   Cross Claim Defendant: Michael Joseph Roberts,                                                  Colorado: Case No.       Jacqueline E. Hill,
   Sr. And Third-Party Defendants: Michael J. Roberts Forensic Accounting,                            2015CV31828,          Attorney: Podoll &
   LLC, and Sandstone Ventures LLC                        Calculation of Damages 4/22/2022             Division 409                Podoll           No         Yes
                                                                                                                           Plaintiff's Attorney:
                                                                                                District Court, Arapahoe     Anthony Viorst,
   Gil Gerstein v. Robins Kaplan, LLP, and Sanders Law       Business Valuation,                 County, Colorado: Case Esquire, The Viorst
   Firm, LLC.                                                fulfillment services   1/19/2022       No. 2020CV31398           Law Offices, PC       Yes
   The George Williams Limited Liability Limited            Forensic Accounting,
   Partnership,                                              Damages, Breach of                Denver District Court, City
   v.                                                    Fiduciary Duty, Breach of               and County of Denver, Plaintiff's Attorney:
   Kathryn Porter and BOKF, NA, a National                Contract, and Breach of                  Colorado: Case No.       Richard B. Podoll,
   Association, doing business as Colorado State Bank Covenant of Good Faith                        19CV3366130020,         Attorney: Podoll &
   and Trust                                                   and Fair Dealing    12/22/2021            Division 1                Podoll           Yes
   ANDREW “JACK” SORDONI, individually and if
   necessary, derivatively as a member of Sooner
   Mineral Investments, LLC, v. CONNER & WINTERS,           Forensic Accounting,
   LLP, a domestic limited liability partnership, JARED      Damages, Diverted                  District Court, Oklahoma Plaintiff's Attorney,
   D. GIDDENS, an individual, and J. DILLON CURRAN, Business Opportunities,                     County, Oklahoma, Case Jared Boyer, HB Law
   an individual                                                  Malpractice       9/13/2021       No. CJ-2016-5985          Partners, PLLC        Yes
                                                            Forensic Accounting,
                                                             Breach of Contract,                                           Plaintiff's Attorney:
                                                          Breach of Implied Duty                                           Matthew Ferguson,
                                                           of Good Faith and Fair                                              Attorney: The
                                                              Dealing, Breach of   10/21/2020, District Court, Rio Blanco       Matthew C.
   James L Parks Elk Creek LLC, et al. v. William H.         Fiduciary Duty, and   10/22/2020 County, Colorado, Case Ferguson Law Firm
   Wheeler, et al.                                             Injunctive Relief    8/28/2019       No. 2017CV30015                 P.C.            Yes        Yes
                                                                                                                           Plaintiff's Attorney:
                                                                                                                            Richard B. Podoll,
                                                               Fraud, Breach of    2/25/2019 & El Paso County, Colorado, Attorney: Podoll &
   In the Matter of the Estate of William J. Young, IV Fiduciary Duty Damages 7/22/2019           Case No.: 2012PR177              Podoll           Yes        Yes
                                                                                                   21st Judicial District
                                                         Business valuation, four                 Court, Mesa County,          Respondent's
                                                            companies, oil & gas                  Colorado, Case No.:      Attorney: James W.
   In Re the Marriage of Noelle Westcott and Wayne              field services –   11/7/2018 - 16DR30241, Judge Gurley, Giese Attorney; for
   Westcott                                                  directional drilling   11/8/2018         Courtroom 11              Respondent          No         Yes
                                                                                                District Court of Summit
                                                           Testimony on market                 County, State of Colorado
                                                           approach comparative                 Case No.: 2018CV030119, Plaintiff's Attorney:
                                                          analysis and estimation              Judge Mark D. Thompson, Robert Kitsmiller,
   MINDY GANZE, Plaintiff vs. PEAK 7, LLC, BILL               of value/appraisal                Chief Judge, 5th Judicial Attorney: Podoll &
   WALLACE, Defendants                                            techniques.       8/15/2018             District               Podoll LLC         No         Yes




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        APPENDIX D: SUMMARY OF REPORT INFORMATION AND DATA
                             SOURCES
   In the development of this report, I utilized:

         •    The Pitkin County website: qPublic.net.,
         •    SeekingAlpha.com,
         •    https://finance.yahoo.com/,
         •    Investing.com, and
         •    Other miscellaneous research.

   I reviewed approximately 100+ files spanning 2,000+ pages of documentation produced in
   this case. These documents can be summarized as:
        •    Various court filings including the May 14, 2021, First Amended Complaint;
        •    The expert reports of Robert Reidy, and Joseph R. Rulison;
        •    Various Trust Account Statements; and
        •    Other documents related to this matter.
   I was provided the documents and files listed below:

   18-12-01 Trust Account Statements.pdf                                Fleck Revocable Trust 12 31 18 5 15 19.pdf
   20-08-05 Rulison Report.pdf                                          Fleck Taxes 2018.pdf
   20-12-11 Confidential Mediation Statement.pdf                        Fleck v. FWTB 12 11 220 Mediation Statement.pdf
   20-12-11 Non-Confidential Mediation Statement.pdf                    Fleck_007103.pdf
   2018 05_2018 12 Realized Gains Losses AFBF                           FLECKAARONHandBARBARAG2020.pdf
   Stmt_FWTB_0002658.pdf                                                FWTB_0000001.pdf
   2018       12        Unrealized       GainsLosses       AFBF         FWTB_0000010.pdf
   Stmt_FWTB_0002664.pdf                                                FWTB_0000024.pdf
   2018 Fleck Draft Tax Return.pdf                                      FWTB_0000041.pdf
   2018     Portfolio    Appraisal     Est    of     Unharvested        FWTB_0000055.pdf
   Loses_FWTB_0001103.xlsx                                              FWTB_0000068.pdf
   2019 0501 Dreher CPA Email on Calculating Losses for                 FWTB_0000082.pdf
   Aaron_FWTB_0000773.pdf                                               FWTB_0000085.pdf
   2019       1040        CLEANER          VERSION76         pgs        FWTB_0000098.pdf
   FLECKAARONHandBARBARAG.pdf                                           FWTB_0000103.pdf
   20220324 Defs' Expert Report of Robert Reidy.pdf                     FWTB_0000112.pdf
   20220414 Defs' Rebuttal Expert Report of Robert Reidy.pdf            FWTB_0000130.pdf
   22-03-24 Rulison Report.pdf                                          FWTB_0000140.pdf
   22-08-04 LT Skip Netzorg.docx                                        FWTB_0000155.pdf
   A Fleck Revocable Trust Income and Expenses 12 31 18 5 15            FWTB_0000170.pdf
   19.pdf                                                               FWTB_0000184.pdf
   Barker Est of Unharvested Tax Losses                                 FWTB_0000193.pdf
   Ex 1 to Confidential Mediation Statement.pdf                         FWTB_0000207.pdf
   Ex A to Non-Confidential Mediation Statement - Fleck IPS.pdf         FWTB_0000226.pdf
   Ex B to Non-Confidential Mediation Statement - Revocable Trust       FWTB_0000240.pdf
   Investment Svcs Agreements.pdf                                       FWTB_0000254.pdf
   Ex C to Non-Confidential Mediation Statement - Sep 10, 2020          FWTB_0000268.pdf
   Response Ltr from FWTB.pdf                                           FWTB_0000271.pdf
   Ex D to Non-Confidential Mediation Statement - Checks to             FWTB_0000285.pdf
   Aspen Self Storage.pdf                                               FWTB_0000290.pdf
   Ex F to Non-Confidential Mediation Statement - Rulison               FWTB_0000300.pdf
   Report.pdf                                                           FWTB_0000319.pdf
   Ex G to Non-Confidential Mediation Statement - Aug 20, 2020          FWTB_0000330.pdf
   Demand Ltr to FWTB.pdf                                               FWTB_0000346.pdf
   Ex H to Non-Confidential Mediation Statement - Sep 29, 2020          FWTB_0000362.pdf
   Ltr to FWTB.pdf                                                      FWTB_0000611.pdf
   Fleck 2019 Taxes Pt 1.pdf                                            FWTB_0000624.pdf



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   FWTB_0000642.xlsx                                            FWTB_0002658_Realized Gains Losses Dec 2018.pdf
   FWTB_0000643.xlsx                                            FWTB_0002664.pdf
   FWTB_0000645.pdf                                             FWTB_0003963.pdf
   FWTB_0000654.pdf                                             FWTB_0003963_Commissions.pdf
   FWTB_0000772.pdf                                             FWTB_0003970.xlsx
   FWTB_0000773.pdf                                             FWTB_0005557.pdf
   FWTB_0000782.pdf                                             FWTB_0005570.xlsx
   FWTB_0000785.pdf                                             FWTB_0007440.pdf
   FWTB_0000941.pdf                                             FWTB_0007468.pdf
   FWTB_0001102.pdf                                             FWTB_0008115.pdf
   FWTB_0001103.xlsx                                            FWTB_0008232.pdf
   FWTB_0001105.pdf                                             Letter to Rich Podoll [w-exhibits].pdf
   FWTB_0001114.pdf                                             X       2017     0810       StanJudy     Kiser   SlidePreso
   FWTB_0001819.pdf                                             Pitch_FWTB_0008232.pdf
   FWTB_0002126.xlsx                                            X     2018     0622      Smith      and Sterrett SlidePreso
   FWTB_0002126_Barker_Summary of Losses at Dec 2018.xlsx       Pitch_FWTB_0008115.pdf
   FWTB_0002658.pdf




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                                APPENDIX E: SCHEDULES

   Plaintiffs: THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck
   and Barbara G. Fleck, THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees,
   Aaron H. Fleck and Barbara G. Fleck, AARON FLECK, and BARBARA G. FLECK, on behalf of
                           themselves and all other similarly situated
                                               v.
    Defendants: FIRST WESTERN TRUST BANK, CHARLES BANTIS, and ANDREW GODFREY

    United States District Court, District of Colorado Civil Action No.: 2021-cv-01073-CAN-CPG

                                                                                        Page
   Schedule                                   Title                                    Length    Page
   Summary    Summary of Damages and Estimated Prejudgment Interest                      1        49
      1       Tax-Loss Harvest as of December 3, 2018                                    1        50
      2       Potential Tax Shield as of December 3, 2018                                1        51
      3       Potential Tax-Loss Harvest - Loss of Equity Value as of February 6, 2019   1        52
     3a       Foregone Dividends for Potential Tax-Loss Harvest - Loss of Equity         1        53
              Value as of February 6, 2019
     4        Potential Tax-Loss Harvest - Loss of Equity Value as of May 13, 2019       2        54
     4a       February 11, 2019 Reallocation Purchases                                   1        56
     5        Value of Equities Transferred on May 8, 2019, to Pershing LLC              2        57
     6        First Western Trust Bank Fees Charged to Trust Accounts                    1        59
     6a       Summary of Trust Account Activity from May 2018 through June 2019          1        60
     6b       Trust Account Performance by Asset Class From May 2018 through May         2        61
     7a       Informational Schedule - Aaron H. Fleck Trust Account                      2        63
     7b       Informational Schedule - Barbara G. Fleck Trust Account                    2        65




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                                                                       Masten Valuation Summary Damage Schedule

                      THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
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                                                                 Damages Summary
                        Prejudgment Interest Calculated at 8% Compounded Annually to Estimated Date of Trial November 15, 2023
         [1]                                [2]                               [3]              [4]           [5]           [6]              [7]               [8]              [9]
                                                                          Unharvested                     Range of                                      Prejudgment          Indicated
                                                                         Eligible Equity                 Damages for                                   Interest at 8%      Damages plus
                                                                          Losses as of     Implied Tax     Portfolio     Date of      Actual Damages   Compounded          Prejudgment
Element of Damages                      Description                         12/3/2018      Shield Loss   Performance    Damages           Amount         Annually1            Interest
Failure to Follow Instructions
Opinion 1
                     Failure to follow directive given by Plaintiffs to
Unharvested Eligible harvest eligible equity losses based on            $   (128,284.18)
Equity Losses at     Plaintiffs' review of 11/30/2018 Portfolio                                                         12/3/2018
12/3/2018            Statements. Directive given on 12/2/2018, next
                     business day is 12/3/2018
Opinion 2

Loss of Tax Shield
on Unharvested        Implied Tax Shield Loss on unharvested
                                                                                           $   36,471                   12/3/2018                                        $     36,471.00
Eligible Equity       eligible equity losses at December 3, 2018
Losses at 12/3/2018

Opinion 3
                     Loss Equities: Loss of Equity Value as of
                     January 3, 2019 from reinvestment of
                     proceeds (plus interest less foregone                                                              1/3/2019      $   105,678.95   $     48,073.96   $    153,752.90
Lost Equity @ 1/3/19
                     dividends) from harvesting losses in
on reinvestment of
                     December 2018. This is a point-in-time
harvested losses
                     category of damages for failure to follow
                     instructions, separate from the tax-shield
                     losses.
Opinion 4

                      Loss Equities: Loss of Equity Value as of
                      February 6, 2019 from reinvestment of                                                             2/6/2019      $   116,945.99   $     51,983.17   $    168,929.16
Lost Increased
                      proceeds (plus interest less foregone
Equity @ 2/6/19 on
                      dividends) from harvesting losses in
reinvestment of
                      December 2018. This is a point-in-time
harvested losses
                      category of damages for failure to follow
                      instructions, separate from the tax-shield
                      losses.
Opinion 5
                      Loss Equities: Loss of Equity Value as of May
                      13, 2019 from reinvestment of proceeds (plus
Lost Increased        interest less foregone dividends) from
Equity @ 5/13/19 on
                      harvesting losses in December 2018. This is a                                                     5/13/2019     $   122,781.95   $     51,020.89   $   173,802.84
reinvestment of
harvested losses      point-in-time category of damages for failure
                      to follow instructions, separate from the tax-
                      shield losses.
Portfolio Shortfall & Fees
Opinion 6
                                                                                                  AFT    $ 37,022.29
Shortcomings of
                      The Trust Account portfolios fell short of the                              AFT    $ 107,863.02                     139,232.44         57,856.74   $   197,089.18
Portfolio                                                                                                               5/13/2019
                      expected annual performance.                                                BFT    $ 102,210.15                     280,615.56        116,607.17   $   397,222.73
Performance
                                                                                                  BFT    $ 172,752.54
Opinion 7
                    Investment Management and Portfolio Fees
FWTB Fees Charged
                    Charged by First Western Trust Bank to the                          Aaron H. Fleck Trust Account                  $    27,640.73         12,087.22   $     39,727.95
on Trust Portfolios
                    Trust Accounts between May 2018 and May                            Barbara G. Fleck Trust Account   Various [2]   $    27,342.39   $     11,958.26   $     39,300.65
Totals
                    2019                                                                                                              $    54,983.12   $     24,045.48   $     79,028.60
Summary
                                 Total of Opinions - Lower Range                                                                      $   353,468.51   $    132,923.11   $   486,391.62
                                 Total of Opinions - Upper Range                                                                      $   494,851.63   $    191,673.54   $   686,525.17
Footnotes:

[1] Statutory prejudgment interest of 8% per annum has been estimated based on the damages dollar amounts identified and is calculated through an estimated trial date of November
15, 2023 in accordance with C.R.S. § 5-12-102 - Statutory Interest. Prejudgment interest is provided for the convenience of the trier of fact and final calculations will be required.
[2] See Schedule 6 for the detail supporting the various dates of fees charged to the Trust Accounts and the corresponding prejudgment interest.




                  Damage Schedules                                                                                                                         Page 49 of 66
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                   A           B                              C                                 D               E               F              G               H                 I
           1                                                                                Schedule 1
                       THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
                                       First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
           2
           3                                                          Tax-Loss Harvest as of December 3, 20181
           4
                                                                                          Shares as of     12/3/2018      12/3/2018        Avg Unit                       Potential Tax-
                                                                                                                    2                2                                                 3
           5    Trust     Investment                    Description                        12/3/2018       Shr Price     Market Value       Cost           Total Cost     Loss Harvest
          6     AFT                   ANHEUSER BUSCH                                            120. shrs $     76.41    $     9,168.60    $ 92.10     $     11,052.00 $        (1,883.40)
          7     AFT                   BLACKROCK                                                  21. shrs      435.83          9,152.43     521.15           10,944.15          (1,791.72)
          8     AFT                   CELGENE                                                   145. shrs       73.65         10,679.25      77.60           11,252.00            (572.75)
          9     AFT                   EBAY                                                      300. shrs       30.19          9,055.50      37.56           11,268.00          (2,212.50)
          10    AFT                   HALIBURTON                                                114. shrs       32.51          3,705.57      49.60            5,654.40          (1,948.83)
          11    AFT                   HOME DEPOT                                                 61. shrs      182.52         11,133.42     185.07           11,289.27            (155.86)
                            Stock
          12    AFT                   LAUDER ESTEE                                               76. shrs      148.44         11,281.06     150.02           11,401.27            (120.21)
          13    AFT                   RAYTHEON                                                   27. shrs      175.34          4,734.18     208.42            5,627.34            (893.16)
          14    AFT                   S&P GLOBAL                                                 28. shrs      185.47          5,193.16     196.93            5,514.04            (320.88)
          15    AFT                   SCHLUMBERGER                                              190. shrs       46.28          8,793.20      66.87           12,705.82          (3,912.62)
          16    AFT                   SCHWAB                                                    199. shrs       45.63          9,079.38      54.99           10,943.01          (1,863.64)
          17    AFT                   TEXAS INSTRUMENTS                                         102. shrs      101.84         10,387.17     110.69           11,289.92            (902.75)
          18    AFT                   LAZARD INT STRATEGIC EQ                            13,272.984 shrs        14.97        198,696.57      15.85          210,376.41         (11,679.84)
                           Pooled
          19    AFT                   MAINGATE MLP FUND                                   9,964.912 shrs         7.40         73,740.35       8.33           83,049.77          (9,309.42)
                         Equity Funds
          20    AFT                   PIMCO COMM REAL RET                                12,719.432 shrs         6.06         77,079.76       6.97           88,602.23         (11,522.47)
          21    AFT          ETF      VANGUARD FTSE DEV MKT                                   4,800. shrs       40.66        195,148.80      44.10          211,701.60         (16,552.80)
                                                                                                                                                                                                                                            of 66




          22    AFT      Subtotals                                                                                       $   647,028.39                $    712,671.23 $       (65,642.84)
          23
          24    BFT                     ANHEUSER BUSCH                                         120. shrs $      76.41    $     9,168.60    $ 92.10     $     11,052.00 $        (1,883.40)
          25    BFT                     BLACKROCK                                               21. shrs       435.83          9,152.43     521.15           10,944.15          (1,791.72)
          26    BFT                     CELGENE                                                145. shrs        73.65         10,679.25      77.60           11,252.00            (572.75)
          27    BFT                     EBAY                                                   300. shrs        30.19          9,055.50      37.56           11,268.00          (2,212.50)
          28    BFT                     HALIBURTON                                             114. shrs        32.51          3,705.57      49.60            5,654.40          (1,948.83)
          29    BFT                     HOME DEPOT                                              61. shrs       182.52         11,133.42     185.07           11,289.27            (155.86)
                            Stock
          30    BFT                     LAUDER ESTEE                                            76. shrs       148.44         11,281.06     150.02           11,401.27            (120.21)
          31    BFT                     RAYTHEON                                                27. shrs       175.34          4,734.18     208.42            5,627.34            (893.16)
          32    BFT                     S&P GLOBAL                                              28. shrs       185.47          5,193.16     196.93            5,514.04            (320.88)
          33    BFT                     SCHLUMBERGER                                           190. shrs        46.28          8,793.20      66.87           12,705.82          (3,912.63)
          34    BFT                     SCHWAB                                                 199. shrs        45.63          9,079.38      54.99           10,943.01          (1,863.64)
          35    BFT                     TEXAS INSTRUMENTS                                      102. shrs       101.84         10,387.17     110.69           11,289.92            (902.75)
          36    BFT        Pooled       PIMCO COMM REAL RET                              13,001.278 shrs         6.06         78,787.74       7.01           91,133.24         (12,345.50)
          37    BFT         ETF         VANGUARD FTSE DEV MKT                                7,669. shrs        40.32        309,214.08      44.72          342,931.60         (33,717.52)
          38    BFT      Subtotals                                                                                       $   490,364.73                $    553,006.06 $       (62,641.34)
          39
          40             Grand Totals                                                                                    $ 1,137,393.12                $ 1,265,677.29    $ (128,284.18)
          41
          42 Notes:
          43     [1]     If not otherwise noted, information gathered from Aaron Fleck Trust and Barbara Fleck Trust monthly statements as provided by FWTB.
                 [2]     December 3, 2018 Share Price from Yahoo Finance and Investing.com calculated as the average of the open and close prices for the day. Market value calculated by
          44             number of shares held multiplied by December 3, 2018 calculated share price.
          45     [3]     Potential (tax-loss harvest) calculated by subtracting the FWTB reported equity cost from the December 3, 2018, market value.
                                                                                                                                                                                                        Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 50




Damage Schedules                                                                                                                                                                        Page 50 of 66
    May 15, 2023                                                                            THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


                                                                                     Schedule 2
          THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
                          First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG

                                                           Potential Tax Shield as of December 3, 20181

Plaintiffs' Marginal Tax rates1,2
             2018 Federal Capital Gains Rate                                            20.00%
             2018 Net Investment Income Tax                                              3.80%
             2018 Colorado Income Tax                                                    4.63%
             Plaintiff's Indicated Marginal Tax Rate                                    28.43%

           Grand Total Potential Tax Loss Harvest3                        $       (128,284.18)
           Estimated Loss of Tax Shield4 (rounded)                        $            36,471




Notes:
    [1]    Marginal, Capital Gains tax rates provided by April 22, 2019, email of Brittany Dreher, CPA, the plaintiffs tax preparer. Bates FWTB_0000773.
                                                                                                                                                                                                                                 of 66




    [2]
           The 2018 Federal Tax Rates remain substantially unchanged through what is known or knowable as of the date of this report, and are the expected benefit to the Plaintiffs.
    [3]    Potential (tax-loss harvest) calculated by subtracting the FWTB reported equity cost from the December 3, 2018, market value. See Schedule 1 for details.
    [4]    The estimated, foregone tax shield represents the potential reduction of the Plaintiffs' income taxes had FWTB followed the Plaintiffs' instructions to harvest the tax losses.
                                                                                                                                                                                             Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 51




    Damage Schedules                                                                                                                                                       Page 51 of 66
     May 15, 2023                                                                                                                      THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


        A           B                         C                             D                  E                F                 G                 H                      I             J               K               L                M                   N           O
1                                                                                                                                     Schedule 3
                                                           THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
                                                                           First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
2
3                                                                                      Potential Tax-Loss Harvest - Loss of Equity Value as of February 6, 20191
4
5                                                                                        Tax Loss Harvest Proceeds Anticipated                                        Available to                                  Increase/     Increase/ (Decr)                 Increase/ (Decr)
                                                                     Shares as of        12/3/2018 12/3/2018 Market Interest thru               Foregone               Reinvest      Shr Price Est. Shares           (Decr) in     in Value as of      Shr Price    in Value as of
6     Trust   Investment                Description                   12/3/2018          Shr Price2     Value2        1/2/20193                 Dividends4             1/3/2019      1/3/20195 Re-purchased           shares         1/3/2019 8        2/6/20196       2/6/2019
7     AFT                    ANHEUSER BUSCH                                  120. shrs $      76.41     $      9,168.60 $          16.80                          $       9,185.40 $ 66.34            138.5 shrs         18.46 $          1,224.60 $ 78.49         $      1,448.88
8     AFT                    BLACKROCK                                        21. shrs       435.83            9,152.43            16.78                (65.73)           9,103.48   381.51            23.9 shrs          2.86            1,091.77   416.06               1,190.64
9     AFT                    CELGENE                                         145. shrs        73.65           10,679.25            19.57                                 10,698.82    85.01           125.9 shrs        (19.15)          (1,627.63)   87.96              (1,684.11)
10    AFT                    EBAY                                            300. shrs        30.19            9,055.50            16.60                                  9,072.10    28.48           318.5 shrs         18.54              528.10    35.61                 660.31
11    AFT                    HALIBURTON                                      114. shrs        32.51            3,705.57             6.79                (20.52)           3,691.84    27.25           135.5 shrs         21.48              585.34    32.07                 688.88
12    AFT                    HOME DEPOT                                       61. shrs       182.52           11,133.42            20.41                                 11,153.83   170.23            65.5 shrs          4.52              769.79   184.64                 834.96
                  Stock
13    AFT                    LAUDER ESTEE                                     76. shrs       148.44           11,281.06            20.68                                 11,301.74   127.74            88.5 shrs         12.47            1,593.50   150.27               1,874.55
14    AFT                    RAYTHEON                                         27. shrs       175.34            4,734.18             8.68                                  4,742.86   153.35            30.9 shrs          3.93              602.41   174.96                 687.30
15    AFT                    S&P GLOBAL                                       28. shrs       185.47            5,193.16             9.52                                  5,202.68   166.83            31.2 shrs          3.19              531.44   193.18                 615.38
16    AFT                    SCHLUMBERGER                                    190. shrs        46.28            8,793.20            16.12                (95.00)           8,714.32    37.46           232.6 shrs         42.63            1,596.92    45.04               1,920.06
17    AFT                    SCHWAB                                          199. shrs        45.63            9,079.38            16.64                                  9,096.02    41.04           221.6 shrs         22.64              929.05    46.02               1,041.79
18    AFT                    TEXAS INSTRUMENTS                               102. shrs       101.84           10,387.17            19.04                                 10,406.21    90.36           115.2 shrs         13.16            1,189.49   106.33               1,399.72
19    AFT        Pooled      LAZARD INT STRATEGIC EQ7                 13,272.984 shrs         14.97          198,696.57           364.19           (2,689.64)           196,371.12    12.66        15,511.1 shrs      2,238.16           28,335.14    13.94              31,199.99
20    AFT        Equity      MAINGATE MLP FUND                         9,964.912 shrs          7.40           73,740.35           135.16                                 73,875.51     6.56        11,261.5 shrs      1,296.60            8,505.69     7.21               9,348.48
21    AFT        Funds       PIMCO COMM REAL RET                      12,719.432 shrs          6.06           77,079.76           141.28           (1,205.80)            76,015.24     5.60        13,574.1 shrs        854.72            4,786.42     5.93               5,068.48
22    AFT        ETF         VANGUARD FTSE DEV MKT7                        4,800. shrs        40.66          195,148.80           357.68           (1,857.11)           193,649.37    36.84         5,256.5 shrs        456.50           16,817.37    40.12              18,314.68
23    AFT     Subtotals                                                                                 $    647,028.39 $       1,185.94 $         (5,933.80) $         642,280.53                                              $        67,459.41                 $     74,609.98
24
25    BFT                    ANHEUSER BUSCH                                  120. shrs $      76.41     $      9,168.60 $          16.80                          $       9,185.40 $ 66.34            138.5 shrs         18.46 $          1,224.60 $ 78.49         $      1,448.88
26    BFT                    BLACKROCK                                        21. shrs       435.83            9,152.43            16.78                (65.73)           9,103.48   381.51            23.9 shrs          2.86            1,091.77   416.06               1,190.64
27    BFT                    CELGENE                                         145. shrs        73.65           10,679.25            19.57                                 10,698.82    85.01           125.9 shrs        (19.15)          (1,627.63)   87.96              (1,684.11)
28    BFT                    EBAY                                            300. shrs        30.19            9,055.50            16.60                                  9,072.10    28.48           318.5 shrs         18.54              528.10    35.61                 660.31
29    BFT                    HALIBURTON                                      114. shrs        32.51            3,705.57             6.79                (20.52)           3,691.84    27.25           135.5 shrs         21.48              585.34    32.07                 688.88
                                                                                                                                                                                                                                                                                                                          of 66




30    BFT                    HOME DEPOT                                       61. shrs       182.52           11,133.42            20.41                                 11,153.83   170.23            65.5 shrs          4.52              769.79   184.64                 834.96
                  Stock
31    BFT                    LAUDER ESTEE                                     76. shrs       148.44           11,281.06            20.68                                 11,301.74   127.74            88.5 shrs         12.47            1,593.50   150.27               1,874.55
32    BFT                    RAYTHEON                                         27. shrs       175.34            4,734.18             8.68                                  4,742.86   153.35            30.9 shrs          3.93              602.41   174.96                 687.30
33    BFT                    S&P GLOBAL                                       28. shrs       185.47            5,193.16             9.52                                  5,202.68   166.83            31.2 shrs          3.19              531.44   193.18                 615.38
34    BFT                    SCHLUMBERGER                                    190. shrs        46.28            8,793.20            16.12                (95.00)           8,714.32    37.46           232.6 shrs         42.63            1,596.92    45.04               1,920.06
35    BFT                    SCHWAB                                          199. shrs        45.63            9,079.38            16.64                                  9,096.02    41.04           221.6 shrs         22.64              929.05    46.02               1,041.79
36    BFT                    TEXAS INSTRUMENTS                               102. shrs       101.84           10,387.17            19.04                                 10,406.21    90.36           115.2 shrs         13.16            1,189.49   106.33               1,399.72
37    BFT       Pooled       PIMCO COMM REAL RET                      13,001.278 shrs          6.06           78,787.74           144.41           (1,232.52)            77,699.63     5.60        13,874.9 shrs        873.66            4,892.48     5.93               5,180.78
38    BFT        ETF         VANGUARD FTSE DEV MKT7                        7,669. shrs        40.32          309,214.08           566.75           (2,942.60)           306,838.23    36.84         8,328.9 shrs        659.94           24,312.27    40.12              26,476.88
39    BFT     Subtotals                                                                                 $    490,364.73 $         898.79 $         (4,356.37) $         486,907.15                                              $        38,219.54                 $     42,336.02
40
41            Grand Totals                                                                              $ 1,137,393.12      $   2,084.73    $     (10,290.17) $ 1,129,187.68                                                      $     105,678.95                 $   116,945.99
42
43 Notes:
44     [1]    See Report and Schedule 1 for details on the foregone tax-loss harvest.
45     [2]    December 3, 2018 Share Price from Yahoo Finance and Investing.com calculated as the average of the open and close prices for the day. Market value calculated by number of shares held multiplied by December 3, 2018 calculated share price.
46     [3]    Interest during wash sale wait period calculated at annual 2.23% (from Aaron and Barbara Fleck Trust December 2018 cash equivalent yield) for 30 days.
47     [4]    Certain dividends were received that would not have been received had FWTB followed the Plaintiffs' instructions to harvest the tax-losses at the beginning of December 2018. See Schedule 3a.
48     [5]    January 3, 2019, estimate share repurchase price from Yahoo Finance and Investing.com calculated as the average of the open and close share prices for the day.
49     [6]    February 6 2019, estimate share sale price either from the FWTB Trust Accounts' February 2019 statements or from Yahoo finance.
50     [7]    Neither Lazard Int Strategic EQ or Vanguard FTSE DEV MKT were sold on February 6, 2019 - the amounts shown reflect market values as of February 6, 2018.
51     [8]    This amount represents the Loss of Equity on reinvestment on January 3, 2019 with proceeds from December 3, 2018 due to failure to harvest tax-losses.
                                                                                                                                                                                                                                                                                      Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 52




     Damage Schedules                                                                                                                                                                                                                                         Page 52 of 66
May 15, 2023                                                                                       THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


                          A           B                        C                          D               E                 F                 G               H              I         J
                   1                                                  Schedule 3a
                         THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et
                                                                           al. v.
                   2                    First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
                                                                                                                            1
                   3         Foregone Dividends for Potential Tax-Loss Harvest - Loss of Equity Value as of February 6, 2019
                   4
                   5                                                                                          Basis for Foregone Dividends                        January 2019
                                                                                                     Dividend             For
                                                                                    Foregone         Declared       Shareholders of    Payment
                                                                                                                                  3
                   6   Trust Investment                  Description                Dividends2         Date           Record on             Date                     Notes
                    7  AFT                    ANHEUSER BUSCH                                         10/26/2018       11/28/2018            12/21/2018       No Dividends in Jan 19
                    8  AFT                    BLACKROCK                                    (65.73) 11/21/2018          12/7/2018            12/26/2018       No Dividends in Jan 19
                    9  AFT                    CELGENE                                 No Dividend                                                            No Dividends in Jan 19
                   10 AFT                     EBAY                                    No Dividend                                                            No Dividends in Jan 19
                   11 AFT                     HALIBURTON                                   (20.52) 11/8/2018            12/6/2018           12/27/2018       No Dividends in Jan 19
                   12 AFT                     HOME DEPOT                                             11/16/2018        11/29/2018           12/13/2018       No Dividends in Jan 19
                                  Stock
                   13 AFT                     LAUDER ESTEE                                           10/31/2018        11/30/2018           12/17/2018       No Dividends in Jan 19
                   14 AFT                     RAYTHEON                                               10/10/2018        11/16/2018           12/10/2018 Dec Dividend Paid in Jan 19
                   15 AFT                     S&P GLOBAL                                             10/30/2018        11/28/2018           12/12/2018       No Dividends in Jan 19
                   16 AFT                     SCHLUMBERGER                                 (95.00) 12/4/2018            12/5/2018            1/11/2018     Dec Dividend Paid in Jan 19
                   17 AFT                     SCHWAB                                  No Dividend                                                            No Dividends in Jan 19
                   18 AFT                     TEXAS INSTRUMENTS                       No Dividend                                                            No Dividends in Jan 19
                   19 AFT        Pooled       LAZARD INT STRATEGIC EQ                   (2,689.64) 12/21/2018          12/20/2018           12/24/2018       No Dividends in Jan 19
                   20 AFT        Equity       MAINGATE MLP FUND                       No Dividend                                                            No Dividends in Jan 19
                   21 AFT        Funds        PIMCO COMM REAL RET                       (1,205.80) 12/26/2018          12/24/2018           12/26/2018       No Dividends in Jan 19
                   22 AFT          ETF        VANGUARD FTSE DEV MKT                     (1,857.11) 12/20/2018          12/26/2018           12/28/2018       No Dividends in Jan 19
                                                                                                                                                                                                                                               of 66




                   23 AFT Subtotals                                                  $ (5,933.80)
                   24
                   25 BFT                     ANHEUSER BUSCH                                         10/26/2018        11/28/2018           12/21/2018       No Dividends in Jan 19
                   26 BFT                     BLACKROCK                                    (65.73) 11/21/2018           12/7/2018           12/26/2018       No Dividends in Jan 19
                   27 BFT                     CELGENE                                 No Dividend                                                            No Dividends in Jan 19
                   28 BFT                     EBAY                                    No Dividend                                                            No Dividends in Jan 19
                   29 BFT                     HALIBURTON                                   (20.52) 11/8/2018            12/6/2018           12/27/2018       No Dividends in Jan 19
                   30 BFT                     HOME DEPOT                                             11/16/2018        11/29/2018           12/13/2018       No Dividends in Jan 19
                                  Stock
                   31 BFT                     LAUDER ESTEE                                           10/31/2018        11/30/2018           12/17/2018       No Dividends in Jan 19
                   32 BFT                     RAYTHEON                                               10/10/2018        11/16/2018           12/10/2018 Dec Dividend Paid in Jan 19
                   33 BFT                     S&P GLOBAL                                             10/30/2018        11/28/2018           12/12/2018       No Dividends in Jan 19
                   34 BFT                     SCHLUMBERGER                                 (95.00) 12/4/2018            12/5/2018            1/11/2018     Dec Dividend Paid in Jan 19
                   35 BFT                     SCHWAB                                  No Dividend                                                            No Dividends in Jan 19
                   36 BFT                     TEXAS INSTRUMENTS                       No Dividend                                                            No Dividends in Jan 19
                   37 BFT        Pooled       PIMCO COMM REAL RET                       (1,232.52) 12/26/2018          12/24/2018           12/26/2018       No Dividends in Jan 19
                   38 BFT          ETF        VANGUARD FTSE DEV MKT                     (2,942.60) 12/20/2018          12/26/2018           12/28/2018       No Dividends in Jan 19
                   39 BFT Subtotals                                                  $ (4,356.37)
                   40        Grand Totals                                            $ (10,290.17)
                   41
                   42 Notes:
                   43   [1]  See Report and Schedules 1 and 3 for details on the foregone tax-loss harvest.
                        [2]  Certain dividends were received that would not have been received had FWTB followed the Plaintiffs' instructions to harvest the tax-losses at the beginning
                   44        of December 2018.
                        [3]  Where the date of record falls before 12/3/2018, the estimated sales date of the Loss Equities, the declared dividends would have still been received.
                             Therefore, these dividends are NOT considered foregone dividends, because the ownership on or before the date of record would have still existed and the
                             Trust Accounts would have still received these dividends. Where the date of record falls after 12/3/2018, the declared dividend would not have been
                             distributed to the Trust Accounts, as the sale of the Loss Equities would have occurred prior to the date of record. These dividends are discussed in my
                   45        report under Basis for Opinion 3 as the forgone dividends that reduce the overall proceeds for reinvestment.
                                                                                                                                                                                                           Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 53




Damage Schedules                                                                                                                                                                           Page 53 of 66
     May 15, 2023                                                                                                                     THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


       A          B                                C                                D               E                F                 G                   H           I                    J                  K             L             M            N                 O
1                                                                                                                                  Schedule 4
                                                           THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
                                                                           First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
2
3                                                                                         Potential Tax-Loss Harvest - Loss of Equity Value as of May 13, 20191
4                                                                                Value Effect from Loss Harvest as of
5                                                                                               2/6/2019
6                                                                                                                                                                    February 11, 2019 Reallocation2

                                                                                                                                      2/8/2019                      2/11/19
                                                                               Increase/                                             Proceeds                     Reallocation    2/11/19 Total
                                                                                                                                                                   Value from      Additional                                      Interim       Unit/           Implied Lost
                                                                                (Decr) in                   Increase/ (Decr) received from
                                                                                                              in Value as of                        2/11/2019       Sale of        Value from               2/11/19    2/11/19    Dividends     Share            Equity Value
                                                                               shares at                                               Sale of
                                                                              Repurchase    Shr Price             2/6/2019            Certain      Reallocation     Certain       Loss Harvest              Per Unit  Additional  Paid: April    Price          May 13, 20196 (May
                                                                                                             (February Poin-in-Time)                                             (February Point-in-Time)                                                           Point-in-Time)
7    Trust   Investment                      Description                      on 1/3/2019   2/6/2019                                 Securities    Purchase %2     Securities                                Value   Units/Shares   20193     5/8/20194,5
 8   AFT                   ANHEUSER BUSCH                                            18.46 $ 78.49           $         1,448.88 $ 1,448.88
 9   AFT                   BLACKROCK                                                   2.86    416.06                  1,190.64          1,190.64
10   AFT                   CELGENE                                                  (19.15)     87.96                 (1,684.11)        (1,684.11)
11   AFT                   EBAY                                                      18.54      35.61                     660.31           660.31
12   AFT                   HALIBURTON                                                21.48      32.07                     688.88           688.88
13   AFT                   HOME DEPOT                                                  4.52    184.64                     834.96           834.96
                Stock
14   AFT                   LAUDER ESTEE                                              12.47     150.27                  1,874.55          1,874.55
15   AFT                   RAYTHEON                                                    3.93    174.96                     687.30           687.30
16   AFT                   S&P GLOBAL                                                  3.19    193.18                     615.38           615.38
17   AFT                   SCHLUMBERGER                                              42.63      45.04                  1,920.06          1,920.06
18   AFT                   SCHWAB                                                    22.64      46.02                  1,041.79          1,041.79
19   AFT                   TEXAS INSTRUMENTS                                         13.16     106.33                  1,399.72          1,399.72
20   AFT                  LAZARD INT STRATEGIC EQ7                                2,238.16      13.94                31,199.99                                                           31,199.99                     2,238.16 shrs                    14.45             32,341.45
21   AFT                  MAINGATE MLP FUND8                                      1,296.60       7.21                  9,348.48          9,348.48
               Pooled
22   AFT                                         INST9                                                                                               50.00%         12,547.65            12,547.65            42.03      298.54 shrs $     34.93        45.18             13,522.98
             Equity Funds PARNASSUS CORE EQUITY
23   AFT                  PIMCO COMM REAL RET10                                      854.72          5.93              5,068.48          5,068.48
                                                                                                                                                                                                                                                                                                                           of 66




24   AFT                  TOUCHSTONE SANDS CAPITAL INST9                                                                                             50.00%         12,547.65            12,547.65            21.82      575.05 shrs                    24.09             13,853.02
25   AFT         ETF      VANGUARD FTSE DEV MKT7                                     456.50         40.12          18,314.68                                                             18,314.68                        456.5 shrs        79.89       41.02             18,803.13
26   AFT     Subtotals                                                                                       $     74,609.98 $ 25,095.30   100.00%      $ 25,095.30              $       74,609.98                                     $   114.82               $         78,520.59
27                                                                                   Retained Holdings       $     49,514.67 $ 25,095.30 Liquidated Holdings
28   BFT                  ANHEUSER BUSCH                                               18.46 $ 78.49         $      1,448.88 $ 1,448.88
29   BFT                  BLACKROCK                                                     2.86    416.06              1,190.64    1,190.64
30   BFT                  CELGENE                                                     (19.15)    87.96             (1,684.11)  (1,684.11)
31   BFT                  EBAY                                                         18.54     35.61                660.31      660.31
32   BFT                  HALIBURTON                                                   21.48     32.07                688.88      688.88
33   BFT                  HOME DEPOT                                                    4.52    184.64                834.96      834.96
                Stock
34   BFT                  LAUDER ESTEE                                                 12.47    150.27              1,874.55    1,874.55
35   BFT                  RAYTHEON                                                      3.93    174.96                687.30      687.30
36   BFT                  S&P GLOBAL                                                    3.19    193.18                615.38      615.38
37   BFT                  SCHLUMBERGER                                                 42.63     45.04              1,920.06    1,920.06
38   BFT                  SCHWAB                                                       22.64     46.02              1,041.79    1,041.79
39   BFT                  TEXAS INSTRUMENTS                                            13.16    106.33              1,399.72    1,399.72
40   BFT                  CLEARBRIDGE SMALL CAP GROWTH9                                                                                     12.50%         1,982.39                        1,982.39           35.93       55.17 shrs                    35.11               1,937.15
41   BFT       Pooled     PARNASSUS CORE EQUITY INST9                                                                                       43.75%         6,938.37                        6,938.37           42.03      165.08 shrs $     19.31        45.18               7,477.69
42   BFT     Equity Funds PIMCO COMM REAL RET10                                      873.66          5.93           5,180.78    5,180.78
43   BFT                  TOUCHSTONE SANDS CAPITAL INST9                                                                                    43.75%         6,938.37                        6,938.37           21.82      317.98 shrs                    24.09               7,660.19
44   BFT         ETF      VANGUARD FTSE DEV MKT7                                     659.94         40.12          26,476.88                                                             26,476.88                       659.94 shrs     115.49         41.02             27,186.32
45   BFT     Subtotals                                                                                       $     42,336.02    $ 15,859.14   100.00%      $ 15,859.14           $       42,336.02                                     $ 134.80                 $         44,261.35
46                                                                                   Retained Holdings       $     26,476.88    $ 15,859.14 Liquidated Holdings
47        Grand Totals                                                                                       $ 116,945.99 $ 40,954.44                             $ 40,954.44     $ 116,945.99                                         $ 249.62                 $ 122,781.95
48
49 Notes:
50   [1]  See Report and Schedule 1 for details on the foregone tax-loss harvest.
51   [2]  Reallocation purchase information from Trust Accounts' FWTB 02/01/19 - 02/28/19 statements. See Schedule 4a for details.
52   [3]  April Dividends based on Trust Accounts 04/01/19 -04/30/19 statements: Parnassus Div .117/shr, Vanguard FTSE Div .175/shr. No other dividends.
53   [4]  The shares were delivered to Pershing LLC on May 8, 2019.                                                                                                                                                Notes continued on following page.
54   [5]  Fund values as of May 8, 2019 from Yahoo Finance or based on the final Trust Accounts 04/01/19-04/30/19 statements value.
                                                                                                                                                                                                                                                                                       Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 54




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     May 15, 2023                                                                                                                         THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


       A           B                                 C                                 D               E                F                  G                 H                I                    J                  K           L            M            N                    O
1                                                                                                                                      Schedule 4
                                                             THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
                                                                             First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
2
3                                                                                           Potential Tax-Loss Harvest - Loss of Equity Value as of May 13, 20191
4                                                                                  Value Effect from Loss Harvest as of
5                                                                                                 2/6/2019
6                                                                                                                                                                           February 11, 2019 Reallocation2

                                                                                                                                      2/8/2019                           2/11/19
                                                                                  Increase/                                          Proceeds                          Reallocation      2/11/19 Total
                                                                                                                                                                        Value from        Additional                                      Interim       Unit/          Implied Lost
                                                                                   (Decr) in                Increase/ (Decr) received from
                                                                                                              in Value as of                     2/11/2019               Sale of          Value from               2/11/19    2/11/19    Dividends     Share           Equity Value
                                                                                  shares at                                            Sale of
                                                                                 Repurchase       Shr Price       2/6/2019            Certain   Reallocation             Certain         Loss Harvest              Per Unit  Additional  Paid: April    Price         May 13, 20196 (May
                                                                                                             (February Poin-in-Time)                                                    (February Point-in-Time)                                                           Point-in-Time)
7    Trust   Investment                       Description                        on 1/3/2019      2/6/2019                           Securities Purchase %2             Securities                                  Value   Units/Shares   20193     5/8/20194,5
 8
55    [6]    When the account was closed with FWTB, the marketable securities were transferred to Pershing LLC on various days from May 7 - 13, 2019.
56    [7]    LAZARD INT STRATEGIC EQ and VANGUARD FTSE DEV MKT were pooled equity funds held prior to December 3, 2018; the investments were held through the February 8-11, 2019 reallocation, and ultimately transferred to Pershing LLC in May 2019.
      [8]    MAINGATE MLP FUND was a pooled equity fund in the Portfolio on December 3, 2018. I included it as part of the tax-loss harvest analysis. However, the Portfolio MAINGATE investment was liquidated prior to the February 8-10, 2019 reallocation, as such I have allocated the
57           additional Harvest Value from MAINGATE to the two funds in which the Portfolio Managers reallocated to in February 2019.
      [9]    CLEARBRIDGE SMALL CAP GROWTH, PARNASSUS CORE EQUITY INST and TOUCHSTONE SANDS CAPITAL INST were the go-forward investment choices by the Portfolio managers for the net proceeds of the February 11, 2019 reallocation. See Schedule 4a for details
58           of the actual Trust Accounts purchases.
59    [10]   PIMCO COMM REAL RET was a pooled equity fund in the Portfolio on December 3, 2018; this investment was liquidated as part of the February 2019 reallocation of the Trust Accounts.
                                                                                                                                                                                                                                                                                                                                  of 66
                                                                                                                                                                                                                                                                                              Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 55




     Damage Schedules                                                                                                                                                                                                                                           Page 55 of 66
May 15, 2023                                                          THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG



                                            Schedule 4a
         THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
                                     Barbara G. Fleck, et al. v.
              First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
                             February 11, 2019 Realignment Purchases1
                                                                                                              Actual              % of
                                                                                      February 2019        Realignment        Realignment
         Trust     Investment                       Description                                                       2
                                                                                           Date             Purchases          Purchase
          AFT                     PARNASSUS CORE EQUITY INST                            2/11/2019          $    240,060          50.00%
                      Pooled
          AFT                     TOUCHSTONE SANDS CAPITAL INST                         2/11/2019               240,060          50.00%
          AFT      Subtotals                                                                               $    480,120         100.00%
          BFT                     CLEARBRIDGE SMALL CAP GROWTH                           2/11/2019                 78,840         12.50%
          BFT         Pooled      PARNASSUS CORE EQUITY INST                             2/11/2019                275,945         43.75%
          BFT                     TOUCHSTONE SANDS CAPITAL INST                          2/11/2019                275,945         43.75%
          BFT      Subtotals                                                                               $      630,730        100.00%
                                                                                                                                                                                             of 66




                   Grand Totals                                                                            $ 1,110,850

      Notes:
          [1]      Reallocation purchases from Trust Account FWTB 02/01/19 - 02/28/19 statements after selling off all individual common
                   stock securities and reinvesting in Pooled Equity Funds.
           [2]     Per FWTB_0003970 [AFT] and FWTB_0005570 [BFT]
                                                                                                                                                         Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 56




Damage Schedules                                                                                                                         Page 56 of 66
May 15, 2023                                                                         THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


                      A                                  B                                      C                    D              E                 F
               1                                                  Schedule 5
                    THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al.
                                                                        v.
               2                   First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
                                                                                                      1
               3                        Value of Equities Transferred on May 8, 2019, to Pershing LLC
               4
                                                                                                                                   Unit/        Equity Value
                                                                                           Units/Shares        Cost Basis         Share         Transferred to
                                                                                          Transferred to      Transferred to       Price        Pershing LLC
               5     Trust                          Description                             Pershing            Pershing         5/8/2019       May 13, 20192
                6    AFT     CIBC ATLAS DISCIPLINED EQUITY FUND                               656.968 shrs $         11,691.67   $ 20.61    $          13,540.11
                7    AFT     AMERICAN CENTURY INTERMEDIATE-TERM                           134,492.667 shrs        1,509,106.55     11.44            1,538,596.10
                8    AFT     BAIRD MIDCAP FUND - INST #76                                   7,830.065 shrs          158,762.96     21.74              170,225.61
                9    AFT     CAUSEWAY INTERNATIONAL VALUE FUND                              6,116.442 shrs           92,253.87     15.01               91,807.79
               10    AFT     DFA TAX MANAGED US SMALL CAP PORTFOLIO                         2,651.635 shrs          112,651.82     42.39              112,402.81
               11    AFT     DODGE & COX INCOME FUND #147                                  15,156.343 shrs          203,533.68     13.72              207,945.02
               12    AFT     JOHN HANCOCK US GLOBAL LEADERS                                  2,635.79 shrs          133,229.25     53.30              140,480.54
               13    AFT     ISHARES RUSSELL MID-CAP VALUE ETF                                    560. shrs          46,912.15     88.05               49,308.00
               14    AFT     ISHARES RUSSELL 2000 ETF                                             715. shrs         107,151.40    157.53              112,633.95
               15    AFT     JPMORGAN CHASE & CO ALERIAN ML ETN                                 4,955. shrs         112,131.65     24.90              123,379.51
               16    AFT     LAZARD INT STRATEGIC EQ                                       14,490.567 shrs          225,754.49     14.45              209,388.69
               17    AFT     OPPENHEIMER DEVELOPING MARKETS                                 3,094.435 shrs          128,241.08     42.41              131,234.99
                                                                                                                                                                                                                       of 66




               18    AFT     PARNASSUS CORE EQUITY INST                                     5,726.771 shrs          240,728.26     45.18              258,735.51
               19    AFT     TOUCHSTONE SANDS CAPITAL INST                                 11,001.833 shrs          240,060.00     24.09              260,963.48
               20    AFT     VANGUARD FTSE DEV MKT7                                             4,840. shrs         211,701.60     41.02              198,343.20
                     AFT     VIRTUS DUFF & PHELPS GLOBAL REAL ESTATE                        4,139.099 shrs          114,860.00     31.49              130,340.23
               21            SECURITIES FUND CLASS I #1860
               22    AFT     Wire and Check Disbursements                                                           402,011.44                        402,011.44
               23    AFT                                                                                      $   4,050,781.87              $       4,151,336.98
               24             Add Back Fees                                                                                                            27,640.73
               25            Ending Account Value Before Fees                                                                               $       4,178,977.71
               26            Annualized Estimated Return on Investment before Fees                                4.474%
               27            S&P 500 Expected Return and Value                                                     5.40%                    $       4,216,000.00
               28            IPS Expected LT Return and Value                                                      6.48%                    $       4,259,200.00
               29            S&P 500 Shortfall                                                                                              $          37,022.29
                                                                                         Shortfall Range
               30            IPS Expected LT Return Shortfall                                                                               $         107,863.02
               31
               32    BFT     AMERICAN CENTURY INTERMEDIATE-TERM                           143,362.633 shrs        1,607,511.09   $ 24.09    $       1,640,068.52
               33    BFT     CAUSEWAY INTERNATIONAL VALUE FUND                              10,502.97 shrs          158,415.57     24.09              157,649.58
               34    BFT     DODGE & COX INCOME FUND #147                                  14,943.637 shrs          200,876.80     24.09              205,026.71
               35    BFT     ISHARES RUSSELL 2000 ETF                                           1,405. shrs         208,997.41     24.09              221,329.65
               36    BFT     JPMORGAN CHASE & CO ALERIAN ML ETN                                 4,880. shrs         121,416.50     24.09              121,512.00
               37    BFT     JANUS HENDERSON ENTERPRISE FUND                                1,450.761 shrs          181,343.81     24.09              193,487.99
               38    BFT     LAZARD INT STRATEGIC EQ7                                       1,792.282 shrs           24,902.05     24.09               25,898.47
               39    BFT     OPPENHEIMER DEVELOPING MARKETS                                 2,999.349 shrs          130,977.61     24.09              127,202.39
                                                                                                                                                                                   Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 57




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May 15, 2023                                                                                 THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


                       A                                     B                                             C                      D              E                 F
               1                                                  Schedule 5
                    THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al.
                                                                        v.
               2                   First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
                                                                                                      1
               3                        Value of Equities Transferred on May 8, 2019, to Pershing LLC
               4
                                                                                                                                                Unit/        Equity Value
                                                                                                     Units/Shares          Cost Basis          Share         Transferred to
                                                                                                    Transferred to        Transferred to        Price        Pershing LLC
               5     Trust                             Description                                    Pershing              Pershing          5/8/2019       May 13, 20192
               40    BFT      CLEARBRIDGE SMALL CAP GROWTH                                             2,194.267 shrs           78,840.00       35.11               83,140.78
               41    BFT      PARNASSUS CORE EQUITY INST                                               6,582.828 shrs          276,713.16       45.18              297,412.17
               42    BFT      TOUCHSTONE SANDS CAPITAL INST                                           12,646.425 shrs          275,945.00       24.09              299,973.20
               43    BFT      VANGUARD FTSE DEV MKT7                                                       7,669. shrs         342,931.60       41.02              314,275.62
               44    BFT      Wire and Check Disbursements                                                                     399,470.38                          399,470.38
               45    BFT                                                                                                 $   4,008,340.98                $       4,086,447.46
               46              Add Back Fees                                                                                                                        27,342.39
               47             Ending Account Value Before Fees                                                                                           $       4,113,789.85
               48             Annualized Estimated Return on Investment before Fees                                           2.845%
               49             S&P 500 Expected Return and Value                                                                5.40%                     $       4,216,000.00
               50             IPS Expected LT Return and Value                                                                 6.48%                     $       4,259,200.00
               51             S&P 500 Shortfall                                                                                                          $         102,210.15
                                                                                                   Shortfall Range
                                                                                                                                                                                                                                    of 66




               52             IPS Expected LT Return Shortfall                                                                                           $         172,752.54
               53                                                                                                 Combined Portfolio Returns
               54            Combined Ending Account Returns and Values Before Fees                                       3.660%                         $ 8,292,767.56
               55            Combined Ending Account Returns and Values After Fees                                            2.972%                     $ 8,237,784.44
               56             S&P 500 Expected Return and Value                                                                5.40%                     $       8,432,000.00
               57             IPS Expected LT Return and Value                                                                 6.48%                     $       8,518,400.00
               58             S&P 500 Shortfall                                                                                                          $         139,232.44
                                                                                                       Combined Shortfall Range
               59             IPS Expected LT Return Shortfall                                                                                           $         280,615.56
               60
               61 Notes:
               62     [1]    Securities delivered to Pershing LLC from Trust Accounts 05/01/19-05/31/19 statements. See Report for details.
               63     [2]    Equity value transferred per FWTB_0003970 [AFT] and FWTB_0005570 [BFT].
                                                                                                                                                                                                Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 58




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Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 59
                                    of 66
      May 15, 2023                     THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


                         A                           B                   C                 D                   E
  1                                                      Schedule 6
         THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck
                                 and Barbara G. Fleck, et al. v.
  2         First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
  3                First Western Trust Bank Fees Charged to Trust Accounts
  4
                                              Investment                             Prejudgment
                                            Management and                            Interest to         Total Fees &
                                             Portfolio Fees                         Estimated Trial       Prejudgment
  5         Statement Period Ended              Charged           Total Portfolio        Date               Interest

 6                              Aaron H. Fleck Revocable Trust Account # 61-2671-02-4
 7                  5/31/2018           $              -   $ 4,023,134.70 $             -             $             -
 8                  6/30/2018                                 4,016,372.04              -                           -
 9                  7/31/2018                     1,668.28    4,067,632.48           840.13                    2,508.41
 10                 8/31/2018                          -      4,119,241.28              -                           -
 11                 9/30/2018                          -      4,120,737.18              -                           -
 12                10/31/2018                     4,043.52    3,927,261.90         1,919.40                    5,962.92
 13                11/30/2018                         0.43    3,940,131.34             0.20                        0.63
 14                12/31/2018                        43.61    3,823,556.49            19.88                       63.49
 15                 1/31/2019                     7,394.02    3,992,136.04         3,300.21                   10,694.23
 16                 2/28/2019                          -      4,071,142.59              -                           -
 17                 3/31/2019                          -      4,119,371.76              -                           -
 18                 4/30/2019                     6,873.79    4,183,161.36         2,883.07                    9,756.86
 19                 5/31/2019                     7,617.08        1,056.62         3,124.33                   10,741.41
 20                 6/30/2019                          -               -                                            -
 21              Relevant Totals        $        27,640.73                  $     12,087.22           $       39,727.95
 22 % Fees to Avg Total Portfolio Bal               0.685% $ 4,033,656.60
 24
 25                                Barbara G. Fleck Revocable Trust Account # 61-2671-01-6
 26                   5/31/2018             $              -   $ 4,000,926.62 $             -         $             -
 27                   6/30/2018                                   3,990,928.46              -                       -
 28                   7/31/2018                       1,660.42    4,040,176.01           836.17                2,496.59
 29                   8/31/2018                            -      4,082,496.43              -                       -
 30                   9/30/2018                            -      4,078,211.69              -                       -
 31                  10/31/2018                       4,013.04    3,879,392.99         1,904.93                5,917.97
 32                  11/30/2018                           0.43    3,890,450.19             0.20                    0.63
 33                  12/31/2018                          43.61    3,774,541.36            19.88                   63.49
 34                   1/31/2019                       7,311.11    3,934,035.79         3,263.21               10,574.32
 35                   2/28/2019                            -      4,014,182.00              -                       -
 36                   3/31/2019                            -      4,053,339.21              -                       -
 37                   4/30/2019                       6,776.84    4,113,371.09         2,842.40                9,619.24
 38                   5/31/2019                       7,536.94        1,126.29         3,091.46               10,628.40
 39                   6/30/2019                            -               -                                        -
 40              Relevant Totals            $        27,342.39                      $     11,958.26   $       39,300.65
 41 % Fees to Avg Total Portfolio Bal                    0.686% $ 3,987,670.99
 42                             Totals $          54,983.12                      $       24,045.48 $ 79,028.60
    ** Prejudgment Interest calculated at 8% per annum compounded annually to November 15, 2023. I have
 43 calculated prejudgment interest in these opinions for the convenience of the trier of fact.




      Damage Schedules                                                                                     Page 59 of 66
                      May 15, 2023                                                                                                                    THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


          A              B             C          D            E             F             G           H              I              J            K            L          M      N          O            P        Q              R           S          T            U           V        W               X
1                                                                                                                                                 Schedule 6a
                                                                                      THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
2                                                                                                     First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
3                                                                                                      Summary of Trust Account Activity from May 2018 through June 2019
4                                                                                    Activity                                                                                                                            Market Value of Portfolio

                                                                                                    Change in                                                                                                     Cur.
                                                                                       Realized      Accrued      Unrealized                 Distributions                      Cur. [Pooled Income              Yield      [All Other                Cur.                      Cur.
      Statement                                             Fees &         Cash          Gains       Income      Appreciation    Non-Cash        to/for                         Yield    Funds]                  Fixed    Investments]                Yield                     Total   Accrued
5    Period Ended Beginning Bal     Interest   Dividends   Expenses      Transfers     (Losses)      Balance    (Depreciation)    Activity    Beneficiary Cash & Equiv    %     Cash Fixed Income        %      Income       Equities        %       Equities Total Portfolio   Yield   Income     Total Valuation
 6 Aaron H. Fleck Revocable Trust Account # 61-2671-02-4
 7   5/31/2018     $          -                          $       -    $          -    $      -    $ 3,315.37 $   19,819.33 $          -    $        -    $ 176,099.07  4.4%     1.64% $ 1,276,863.30   31.8%     3.33% $ 2,566,856.96      63.9%       1.47% $ 4,019,819.33     2.07% $ 3,315.37   $ 4,023,134.70
 8   6/30/2018       4,023,134.70 1,140.31 10,508.67                                       17.04       22.50    (18,451.18)           -             -      181,558.38  4.5%     1.76%   1,276,800.37   31.8%     3.28%   2,554,675.42      63.7%       1.46%   4,013,034.17     2.05%   3,337.87     4,016,372.04
 9   7/31/2018       4,016,372.04   247.49    5,456.36     (1,668.28)                        -        143.81     47,081.06            -             -      181,309.86  4.5%     1.80%   1,281,363.68   31.5%     3.30%   2,601,477.26      64.0%       1.44%   4,064,150.80     2.04%   3,481.68     4,067,632.48
10   8/31/2018       4,067,632.48   276.82    3,267.90           -               -      4,406.28    1,414.62     42,243.18            -             -       42,690.42  1.0%     1.82%   2,060,760.08   50.1%     3.16%   2,010,894.48      48.9%       1.58%   4,114,344.98     2.38%   4,896.30     4,119,241.28
11   9/30/2018       4,119,241.28   197.87 10,793.96             -               -           -        608.90    (10,104.83)           -             -       43,584.07  1.1%     1.90%   2,057,187.99   50.0%     3.15%   2,014,459.92      49.0%       1.54%   4,115,231.98     2.35%   5,505.20     4,120,737.18
12  10/31/2018       4,120,737.18    65.72    7,114.21     (4,043.52)            -     (2,977.76)    (608.11)  (193,025.82)           -             -       42,534.03  1.1%     2.06%   2,044,142.52   52.1%     3.23%   1,835,688.26      46.8%       1.70%   3,922,364.81     2.50%   4,897.09     3,927,261.90
13  11/30/2018       3,927,261.90    72.31    4,850.66         (0.43)            -    (37,582.46)    (284.15)    45,813.51            -             -      291,433.31  7.4%     2.10%   1,965,732.95   49.9%     3.12%   1,678,352.14      42.6%       1.96%   3,935,518.40     2.55%   4,612.94     3,940,131.34
14  12/31/2018       3,940,131.34     163.66   19,458.90       (43.61)                 18,089.67      459.47   (154,702.94)                                 64,014.69  1.7%     2.23%   2,056,525.33   53.9%     3.18%   1,697,944.06      44.5%       2.34%   3,818,484.08     2.79%   5,072.41     3,823,556.49
15   1/31/2019       3,823,556.49     398.79    4,850.61    (7,394.02)                       -       (930.31)   171,654.48                                  57,623.49  1.4%     2.27%   2,082,354.45   52.2%     3.23%   1,848,016.00      46.3%       2.17%   3,987,993.94     2.72%   4,142.10     3,992,136.04
16   2/28/2019       3,992,136.04     120.14    4,021.97          -                        (2.56)   2,126.21     72,740.79            -             -       55,720.12  1.4%     2.28%   2,092,107.63   51.5%     3.12%   1,917,046.53      47.2%       1.69%   4,064,874.28     2.44%   6,268.31     4,071,142.59
17   3/31/2019       4,071,142.59     190.70    8,478.61          -              -       (911.38)    (189.37)    40,660.61            -             -       42,028.24  1.0%     2.30%   2,096,366.44   51.0%     3.06%   1,974,898.14      48.0%       1.64%   4,113,292.82     2.37%   6,078.94     4,119,371.76
18   4/30/2019       4,119,371.76      82.75    5,996.21    (6,873.79)           -           -     (1,043.46)    65,627.89                                  36,084.20  0.9%     2.30%   2,104,436.63   50.4%     2.95%   2,037,605.05      48.8%       1.59%   4,178,125.88     2.28%   5,035.48     4,183,161.36
19   5/31/2019       4,183,161.36      77.45    4,958.03    (7,617.08)           -      3,537.05   (3,978.86)  (129,356.08) (3,648,770.43) (400,954.82)                                                                                                                                 1,056.62         1,056.62
20   6/30/2019           1,056.62      18.45    1,038.17                                           (1,056.62)                                 (1,056.62)
21 Relevant Totals                  3,052.46   90,794.26   (27,640.73)                (15,424.12)                                          Averages                   2.53%     2.04%                  46.34%    3.18%                    51.13%       1.72%                    2.38%
22
23 Barbara G. Fleck Revocable Trust Account # 61-2671-01-6
24   5/31/2018     $          -                         $        -    $          -    $      -    $ 3,222.18 $   (2,295.56) $         -    $       -    $ 171,336.46     4.3%   1.64% $ 1,279,396.80   32.0%     3.33% $ 2,546,971.18      63.7%       1.50% $ 3,997,704.44     2.09% $ 3,222.18   $ 4,000,926.62
25   6/30/2018       4,000,926.62 1,011.60 13,404.02                                       17.04      111.24    (24,542.06)           -            -      179,532.28     4.5%   1.76%   1,279,367.80   32.1%     3.28%   2,528,694.96      63.4%       1.50%   3,987,595.04     2.08%   3,333.42     3,990,928.46
26   7/31/2018       3,990,928.46   241.23    4,187.00     (1,660.42)                        -        146.74     46,333.00            -            -      179,524.96     4.4%   1.80%   1,283,934.00   31.8%     3.30%   2,573,236.89      63.7%       1.48%   4,036,695.85     2.07%   3,480.16     4,040,176.01
27   8/31/2018       4,040,176.01   273.99    3,232.05           -               -     (9,951.15)   1,402.12     47,363.41            -            -       38,519.92     0.9%   1.82%   2,169,011.04   53.2%     3.16%   1,870,083.19      45.9%       1.37%   4,077,614.15     2.33%   4,882.28     4,082,496.43
28   9/30/2018       4,082,496.43   203.59 11,098.95             -               -       (342.40)   1,028.89    (16,273.77)           -            -       39,672.89     1.0%   1.90%   2,083,570.32   51.2%     3.15%   1,949,057.31      47.9%       1.60%   4,072,300.52     2.40%   5,911.17     4,078,211.69
29  10/31/2018       4,078,211.69    59.47    7,493.47     (4,013.04)            -     (2,977.76) (1,281.96)   (198,098.88)           -            -       39,275.49     1.0%   2.06%   2,070,015.62   53.4%     3.23%   1,765,472.67      45.6%       1.77%   3,874,763.78     2.55%   4,629.21     3,879,392.99
30  11/30/2018       3,879,392.99    66.70    4,588.38         (0.43)            -    (70,929.97)   1,981.70     75,350.82            -            -      141,101.80     3.6%   2.10%   2,056,499.64   53.0%     3.12%   1,686,237.84      43.4%       2.35%   3,883,839.28     2.75%   6,610.91     3,890,450.19
                                                                                                                                                                                                                                                                                                                                                  of 66




31    12/31/2018     3,890,450.19    126.64    23,333.19       (43.61)                  9,720.66   (1,869.62)  (147,176.08)                                83,899.66     2.2%   2.23%   2,109,314.51   56.0%     3.18%   1,576,585.91      41.8%       2.52%   3,769,800.08     2.88%   4,741.28     3,774,541.36
32     1/31/2019     3,774,541.37    219.13     4,698.84    (7,311.11)                               (691.74)   162,579.30                                 77,411.42     2.0%   2.27%   2,136,189.36   54.4%     3.23%   1,716,385.46      43.7%       2.32%   3,929,986.24     2.81%   4,049.55     3,934,035.79
33     2/28/2019     3,934,035.79    158.21     3,891.35          -              -      4,848.15    2,009.38     69,239.12            -            -       63,093.61     1.6%   2.28%   2,146,268.02   53.5%     3.12%   1,798,761.44      44.9%       1.68%   4,008,123.07     2.46%   6,058.93     4,014,182.00
34     3/31/2019     4,014,182.00    239.96     8,028.57          -              -      1,443.32      818.23     28,627.13            -            -       43,752.30     1.1%   2.30%   2,188,807.66   54.1%     3.06%   1,813,902.09      44.8%       1.68%   4,046,462.05     2.43%   6,877.16     4,053,339.21
35     4/30/2019     4,053,339.21     87.47     6,789.71    (6,776.84)           -           -     (1,615.09)    61,546.63                                 38,405.01     0.9%   2.30%   2,197,135.09   53.5%     2.30%   1,872,568.92      45.6%       1.63%   4,108,109.02     1.99%   5,262.07     4,113,371.09
36     5/31/2019     4,113,371.09     81.68     5,180.39    (7,536.94)           -      4,033.60   (4,135.78)  (102,653.06) (3,608,870.60) (398,344.09)                                                                                                                                 1,126.29         1,126.29
37     6/30/2019         1,126.29     19.65     1,106.64                                           (1,126.29)                                (1,126.29)
38 Relevant Totals                  2,789.32   97,032.56   (27,342.39)                (64,138.51)                                            Averages                    2.30% 2.04%                   48.17%    3.12%                    49.53%       1.78%                    2.40%
                                                                                                                                                                                                                                                                                                              Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 60




                      Damage Schedules                                                                                                                                                                                                                                   Page 60 of 66
              May 15, 2023                                                         THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


          L             M        N         O            P        Q             R                S         T              U              V             W                X
1                                                                           Schedule 6b
              THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
2                             First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
3                           Trust Account Performance by Asset Class from May 2018 through May 2019
4                                                                       Market Value of Portfolio

                                                                 Cur.
                             Cur.    [Pooled Income             Yield       [All Other                 Cur.                           Cur.
                             Yield       Funds]                 Fixed     Investments]                 Yield                          Total       Accrued
5    Cash & Equiv    %       Cash     Fixed Income      %      Income        Equities          %      Equities Total Portfolio        Yield       Income        Total Valuation
 6 Aaron H. Fleck Revocable Trust Account # 61-2671-02-4
 7 $ 176,099.07     4.4% 1.64% $ 1,276,863.30 31.8%             3.33% $     2,566,856.96      63.9%      1.47% $ 4,019,819.33          2.07% $       3,315.37    $ 4,023,134.70
 8    181,558.38    4.5% 1.76%      1,276,800.37 31.8%          3.28%       2,554,675.42      63.7%      1.46%   4,013,034.17          2.05%         3,337.87      4,016,372.04
 9    181,309.86    4.5% 1.80%      1,281,363.68 31.5%          3.30%       2,601,477.26      64.0%      1.44%   4,064,150.80          2.04%         3,481.68      4,067,632.48
10     42,690.42    1.0% 1.82%      2,060,760.08 50.1%          3.16%       2,010,894.48      48.9%      1.58%   4,114,344.98          2.38%         4,896.30      4,119,241.28
11     43,584.07    1.1% 1.90%      2,057,187.99 50.0%          3.15%       2,014,459.92      49.0%      1.54%   4,115,231.98          2.35%         5,505.20      4,120,737.18
12     42,534.03    1.1% 2.06%      2,044,142.52 52.1%          3.23%       1,835,688.26      46.8%      1.70%   3,922,364.81          2.50%         4,897.09      3,927,261.90
13    291,433.31    7.4% 2.10%      1,965,732.95 49.9%          3.12%       1,678,352.14      42.6%      1.96%   3,935,518.40          2.55%         4,612.94      3,940,131.34
                                                                                                                                                                                                                of 66




14     64,014.69    1.7% 2.23%      2,056,525.33 53.9%          3.18%       1,697,944.06      44.5%      2.34%   3,818,484.08          2.79%         5,072.41      3,823,556.49
15     57,623.49    1.4% 2.27%      2,082,354.45 52.2%          3.23%       1,848,016.00      46.3%      2.17%   3,987,993.94          2.72%         4,142.10      3,992,136.04
16     55,720.12    1.4% 2.28%      2,092,107.63 51.5%          3.12%       1,917,046.53      47.2%      1.69%   4,064,874.28          2.44%         6,268.31      4,071,142.59
17     42,028.24    1.0% 2.30%      2,096,366.44 51.0%          3.06%       1,974,898.14      48.0%      1.64%   4,113,292.82          2.37%         6,078.94      4,119,371.76
18     36,084.20    0.9% 2.30%      2,104,436.63 50.4%          2.95%       2,037,605.05      48.8%      1.59%   4,178,125.88          2.28%         5,035.48      4,183,161.36
19                                                                                                                                                   1,056.62          1,056.62
20
21                    2.53% 2.04%                     46.34%    3.18%                        51.13%      1.72%                         2.38%
22
23 Barbara G. Fleck Revocable Trust Account # 61-2671-01-6
24 $ 171,336.46     4.3% 1.64% $ 1,279,396.80 32.0%             3.33% $     2,546,971.18      63.7%      1.50% $ 3,997,704.44          2.09% $       3,222.18    $ 4,000,926.62
25    179,532.28    4.5% 1.76%       1,279,367.80 32.1%         3.28%       2,528,694.96      63.4%      1.50%   3,987,595.04          2.08%         3,333.42      3,990,928.46
26    179,524.96    4.4% 1.80%       1,283,934.00 31.8%         3.30%       2,573,236.89      63.7%      1.48%   4,036,695.85          2.07%         3,480.16      4,040,176.01
27     38,519.92    0.9% 1.82%       2,169,011.04 53.2%         3.16%       1,870,083.19      45.9%      1.37%   4,077,614.15          2.33%         4,882.28      4,082,496.43
28     39,672.89    1.0% 1.90%       2,083,570.32 51.2%         3.15%       1,949,057.31      47.9%      1.60%   4,072,300.52          2.40%         5,911.17      4,078,211.69
29     39,275.49    1.0% 2.06%       2,070,015.62 53.4%         3.23%       1,765,472.67      45.6%      1.77%   3,874,763.78          2.55%         4,629.21      3,879,392.99
30    141,101.80    3.6% 2.10%       2,056,499.64 53.0%         3.12%       1,686,237.84      43.4%      2.35%   3,883,839.28          2.75%         6,610.91      3,890,450.19
31     83,899.66    2.2% 2.23%       2,109,314.51 56.0%         3.18%       1,576,585.91      41.8%      2.52%   3,769,800.08          2.88%         4,741.28      3,774,541.36
                                                                                                                                                                            Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 61




              Damage Schedules                                                                                                                        Page 61 of 66
              May 15, 2023                                                             THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG


          L             M        N          O             P        Q               R                S         T              U              V             W                   X
1                                                                               Schedule 6b
              THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
2                             First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
3                           Trust Account Performance by Asset Class from May 2018 through May 2019
4                                                                         Market Value of Portfolio

                                                                   Cur.
                              Cur.    [Pooled Income              Yield         [All Other                 Cur.                           Cur.
                              Yield       Funds]                  Fixed       Investments]                 Yield                          Total       Accrued
5    Cash & Equiv       %     Cash     Fixed Income       %      Income          Equities          %      Equities Total Portfolio        Yield       Income        Total Valuation
32      77,411.42      2.0%   2.27%      2,136,189.36   54.4%     3.23%         1,716,385.46      43.7%      2.32%      3,929,986.24       2.81%         4,049.55         3,934,035.79
33      63,093.61      1.6%   2.28%      2,146,268.02   53.5%     3.12%         1,798,761.44      44.9%      1.68%      4,008,123.07       2.46%         6,058.93         4,014,182.00
34      43,752.30      1.1%   2.30%      2,188,807.66   54.1%     3.06%         1,813,902.09      44.8%      1.68%      4,046,462.05       2.43%         6,877.16         4,053,339.21
35      38,405.01      0.9%   2.30%      2,197,135.09   53.5%     2.30%         1,872,568.92      45.6%      1.63%      4,108,109.02       1.99%         5,262.07         4,113,371.09
36                                                                                                                                                       1,126.29             1,126.29
37
38                    2.30% 2.04%                       48.17%    3.12%                          49.53%      1.78%                         2.40%
                                                                                                                                                                                                                       of 66




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41                                                               Fleck Trust Account Performance 5/18 - 5/19
                                                                                                                         Weight of      Average       Weighted
42                   Account Name               Asset Class                              Avg Balance                     Portfolio       Yield         Yield
43                   AHF Trust    Cash and Equivalents                    $                 101,223.32                         2.53%       2.04%
44                   BHF Trust    Cash and Equivalents                                       91,293.82                         2.30%       2.04%
45                                 Total                                                        $    192,517.14                2.40%       2.04%           0.049%
46                   AHF Trust    Fixed Income/Pooled Income Funds        $               1,866,220.11                        46.34%       3.18%
47                   BHF Trust    Fixed Income/Pooled Income Funds                        1,916,625.82                        48.17%       3.12%
48                                 Total                                                        $ 3,782,845.96                47.22%       3.15%           1.487%
49                   AHF Trust    Equities                                $               2,061,492.85                        51.13%       1.72%
50                   BHF Trust    Equities                                                1,974,829.82                        49.53%       1.78%
51                                 Total                                                        $ 4,036,323.06                50.38%       1.75%           0.881%
52                                Total Portfolio Yield                   $                        8,011,686.16              100.00%                       2.417%
                                                                                                                                                                                   Case No. 1:21-cv-01073-CMA-NRN Document 107-1 filed 12/14/23 USDC Colorado pg 62




              Damage Schedules                                                                                                                            Page 62 of 66
         May 15, 2023                                                               THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG
     A                  B   C   D         E         F        G      H      I        J        K         L         M          N          O       P   Q   R   S       T       U
1                                                                                 Schedule 7a
                                    THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
2                                                   First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
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         Damage Schedules                                                                                                                                  Page 63 of 66
          May 15, 2023                                                               THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG
      A                  B   C   D         E         F        G      H      I        J        K         L         M          N          O       P   Q   R   S       T       U
 1                                                                                 Schedule 7a
                                     THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
 2                                                   First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
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          Damage Schedules                                                                                                                                  Page 64 of 66
         May 15, 2023                                                                 THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG
     A             B        C   D      E         F       G      H       I        J          K      L          M           N          O         P   Q   R   S        T      U
1                                                                                    Schedule 7b
                                    THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
2                                                   First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
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         Damage Schedules                                                                                                                                  Page 65 of 66
          May 15, 2023                                                                 THE AARON H. FLECK REVOCABLE TRUST, et al. Civil Action No.: 21-cv-01073-CAN-CPG
      A             B        C   D      E         F       G      H       I        J          K      L          M           N          O         P   Q   R   S        T      U
1                                                                                     Schedule 7b
                                     THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and Barbara G. Fleck, et al. v.
2                                                    First Western Trust Bank, et al. Civil Action No. 2021-cv-01073-CAN-CPG
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          Damage Schedules                                                                                                                                  Page 66 of 66
